       Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 1 of 66

2002 WL 32180622 (C.A.5)                                                                                       Page 1




For Opinion See 335 F.3d 376

                                              United States Court of Appeals,
Fifth Circuit.
                              Seth A BECKER, Plaintiff - Intervenor Defendant - Appellee,
                                                               v.
 TIDEWATER INC; Tidewater Incorporated; Twenty Grand Offshore Incorporated; Tidewater Marine, L.L.C., Defend-
                      ants - Third Party Plaintiffs - Intervenor Defendants - Appellees - Appellants,
R & B Falcon Drilling USA Inc; Pental Insurance Company, Ltd; Certain Underwriters at Lloyds Insurance Co; Defend-
                                                       ants - Appellants,
 Baker Hughes Inc; Baker Hughes Oilfield Operations Inc; Baker Oil Tools Inc, a division of Baker Hughes Oilfield Op-
erations Inc; Baker Oil Tools, a division of Baker Hughes Oilfield Operations Inc; Defendants - Third Party Defendants -
                                  Intervenor Plaintiff - Third Party Plaintiff - Appellant,
  Hydra Rig, a division of Tuboscope Vetco International LP; Hydradyne Hydraulics Inc; Coflexip Stena Offshore Inc.,
                         Defendants - Third Party Defendants - Third Party Plaintiff - Appellees.
                                                        No. 01-31420.
                                                        April 22, 2002.

          Original Brief of Baker Hughes Inc, Baker Hughes Oilfield Operations Inc., and Baker Oil Tools Inc.

Robert E. Kerrigan, Jr., Joseph L. McReynolds, Allen F. Campbell, Joseph E. Lee, III, Deutsch, Kerrigan & Stiles,
L.L.P., 755 Magazine Street, New Orleans, Louisiana (504)581-5141
STATEMENT REGARDING ORAL ARGUMENT

Aside from the $43 million jury award rendered below, this case presents an important and possibly res nova issue of
Jones Act interpretation: When is a shore-based worker “reassigned” to classic seaman's work and what evidence is suffi-
cient to allow a factfinder to determine whether the assignment to vessel work is substantial enough in terms of duration,
performance, regularity and continuity to qualify for Jones Act recovery? The United State Supreme Court left this ques-
tion open in Chandris v. Latsis; the question is now firmly before the Court in this appeal.

The sheer enormity of the jury verdict in this matter, which included a $29 million general damages award, also calls for
appellate relief. It is argued that the jury was so overwhelmed by passion, prejudice or some other improper motive in ar-
riving at its verdict, that the entire case should be re-tried. But additional errors of law contributed to the excessive award
by allowing for duplication in the general damages award. At least one such error raises a second question that may be
res nova in this Circuit: Does a separate jury award for “disfigurement and scarring” duplicate the damages awarded for
pain and suffering and mental anguish?

Finally, this case presents an important issue of maritime contract interpretation: Should an indemnity provision in a
maritime contract that is silent as to indemnity for gross negligence be construed to encompass gross negligence as a
matter of law? For all these reasons, undersigned counsel suggest that oral argument is warranted for a full presentation
and review of these issues.

Robert E. Kerrigan, Jr. (#7350)




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
       Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 2Page
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                             2




Joseph L. McReynolds (#1947)

Allen F. Campbell (#3815)

Joseph E. Lee, III (#26968)

Deutsch, Kerrigan & Stiles, L.L.P.

775 Magazine Street

New Orleans, Louisiana (504)581-5141


                                                  *vii TABLE OF CONTENTS


CERTIFICATE OF INTERESTED PERSONS ... ii

STATEMENT REGARDING ORAL ARGUMENT ... v

TABLE OF CONTENTS ... vii

TABLE OF AUTHORITIES ... ix

JURISDICTIONAL STATEMENT ... 1

STATEMENT OF THE ISSUES ... 1

Assignments of Error ... 1

Questions Presented for Review ... 2

STATEMENT OF THE CASE ... 4

A. Course of the Proceedings and Disposition in the District Court ... 4

B. Statement of the Facts ... 10

SUMMARY OF THE ARGUMENT ... 15

ARGUMENT ... 17

A. Seaman Status ... 17

1. Evolution of “Seaman” Status ... 18

2. No substantial connection to a vessel ... 24

3. Exclusion of Parr's testimony ... 26

B. The Jury's Damage Award is Excessive ... 29




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
        Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 3Page
2002 WL 32180622 (C.A.5)
                                                                          of 66
                                                                              3




1. General damages ... 29

*viii 2. The disfigurement award ... 37

3. Life Care award ... 40

4. Future medical expenses ... 41

5. Future lost wages ... 42

C. Tidewater's Gross Negligence ... 43

D. The Case Against the Manufacturers ... 47

CONCLUSION AND RELIEF SOUGHT ... 48

REVISED CERTIFICATE OF COMPLIANCE ... 51

                                             *ix TABLE OF AUTHORITIES


CASES

Armand v. State, Dep't of Health and Human Resources, 97 2958 (La. App. 1 Cir. 2/23/99), 729 So.2d 1085 ... 32

Alderete v. Missouri Pac. Ry. Co., No Docket Number. (Webb Cty., TX 1995) ... 35

Askanase v. Fatjo, 130 F.3d 657 (5th Cir. 1997) ... 46

Bannister v. Ullman, 287 F. 3d 394, 2002 WL 491919, (April 2, 2002) ... 18

Barrett v. Chevron, U.S.A., Inc., 781 F.2d 1067 ... 18-20, 22-24, 26, 28, 29

Brown v. Southern Baptist Hosp., 96-1990, 96-1991 (La. App. 4 Cir. 3/11/98), 715 So.2d 423 ... 38

Brunet v. United Gas Pipeline Co., 15 F.3d 500 (5th Cir. 1994) ... 44

Caldarera v Eastern Airlines, Inc., 705 F. 2d 778, 784 (5th Cir. 1983) ... 29, 30

Carumbo v. Cape Cod S.S. Co., 123 F.2d 991 (1st Cir. 1941) ... 19

Chandris v. Latsis, 515 U.S. 347, 132 L. Ed. 2d 314 (1995) ... v, 17, 19-22, 24, 26, 28

Chung v. New York City Transit Authority, 624 N.Y.S.2d 224, 213 A.D.2d 619 (N.Y.A.D. 2 Dept. 1995) ... 34, 35

Coastal Iron Works, Inc. v. Petty Ray Geophysical, 783 F.2d 577 (5th Cir. 1986) ... 46

Cullivan v. State Farm Mut. Auto. Ins. Co., 428 So.2d 1231 (La. App. 3 Cir. 1983) ... 32

Davis v. Odeco, Inc., 18 F.3d 1237 (5th Cir. 1994) ... 44




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
       Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 4Page
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                             4




*x Day v. South Line Equip. Co., 551 So.2d 774 (La. App. 1 Cir. 1989), writ denied, 553 So.2d 474 (La. 1989) ... 38

Dernette v. Falcon Drilling Co., Inc., 280 F.3d 492 (5th Cir. 2002) ... 25

Dixon v. International Harvester Co., 754 F. 2d 573 (5th Cir. 1985) ... 29-31, 36

Douglass v. Delta Air Lines, Inc., 897 F.2d 1336 (5th Cir. 1990) ... 29-31

Eiland v. Westinghouse Elec. Corp., 58 F.3d 176 (5th Cir. 1995) ... 31

Erie R. Co. v. Collins, 253 U.S. 77, 40 S.Ct. 450 (1920) ... 38

Foley v. Clark Equipment Co., 523 A.2d 379 (Pa. Supep 1987) ... 34

Gallarzo v. Hyster Co., Case No. 715474 (Orange Cry., CA 1997) ... 35

Gims v. Danos & Curole Marine Contractors, Inc., 1999 WL 983826 (E.D.La.) ... 23

Gough v. National Pipeline Co. of America, 996 F.2d 763 (5th Cir. 1993) ... 30

Guilbeau v. W.W. Henry Co., 85 F.3d 1149 (5th Cir. 1996) ... 18

Haley v. Pan Am. World Airways, Inc., 746 F.2d 311 (5th Cir. 1984) ... 30

Harbor Tug and Barge Co. v. Papai, 520 U.S. 548, 117 S.Ct. 1535, 137 L.Ed.2d 800 (1997) ... 21

Harris v. Southern Pac. Transp. Co., Case No. SCC 24504 (Los Angeles Cty., CA 1993) ... 35

Howell v. Posadas, Case No., 93 L 9302 (Cook Cty., IL 2000) ... 35

In the Matter of Torch, Inc., 1996 WL 185765 (E.D.La. 1996) ... 46

In the Matter of TT Boat Corp., 1999 WL 1442054, (E.D.La. 1999) ... 46

*xi Johnson v. Offshore Express, Inc., 845 F.2d 1347 (5th Cir. 1988) ... 39

Lebron v. United States, 279 F. 3d 371 (5th Cir. 2002) ... 30, 35, 40, 41

Lucas v. New York Transit Authority, 57 N.Y.S.2d 919, 163 A.D.2d 21 (N.Y.A.D. 1 Dept. 1990) ... 34

Manuel v. P.A.W. Drilling & Well Serv., Inc., 135 F.3d 344 (5th Cir. 1998) ... 23, 28

McDaniel v. Anheuser-Busch, Inc., 987 F. 2d 298 (5th Cir. 1993) ... 37

McDermott Intern., Inc. v. Wilander, 498 U.S. 337, 111 S.Ct. 807, 112 L.Ed.2d 866 (1991) ... 17, 18, 21

Offshore Co. v. Robison, 266 F.2d 769 (5th Cir. 1959) ... 19

Owen v. Kerr-McGee Corp., 698 F.2d 236 (5th Cir. 1983) ... 46

Palamo v. City of Austin, Texas, 178 F.3d 968, 981 (5th Cir. 1996) ... 36




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
       Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 5Page
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                             5




Raymond v. Mobil Oil Corp., 983 F. 2d 1528 (10th Cir. 1993) ... 18

Roberts v. Cardinal Services, Inc., 266 F. 3d 368 (5th Cir. 2001) ... 18

Rodriguez v. State, 634 N.Y.S.2d 93, 221 A.D.2d 277 (N.Y.A.D. 1 Dept. 1995) ... 34

Salinas v. O'Neill, 286 F. 3d 827, 2002 WL 453025 (5th Cir. 4/9/02) ... 31

Shea v. New York City Transit Authority, 735 N.Y.S.2d 609 (App. Div. 2001) ... 34, 35

Simeon v. T. Smith & Son, Inc., 852 F.2d 1421 (5th Cir. 1988) ... 30

Simpson v. State, Dep't of Transp. and Dev., 95 0115, 92 0116, 92 0117 (La. App. 1 Cir. 12/7/93), 636 So.2d 608 ... 32

Smith v. Juneau, 95-0724 (La. App. 4 Cir. 4/9/97), 692 So.2d 1365 ... 38

*xii Snearl v. Mercer, 99-1738, 99-1739 (La. App. 1 Cir. 2/16/01), 780 So.2d 563 ... 33, 36

Sosa v. M/V Lago Izabal, 736 F.2d 1028 (5th Cir. 1984) ... 39-41

St. Rornain v. Industrial Fabrication and Repair Service, Inc., 203 F.3d 376 (5th Cir. 2000) ... 44

Todd Shipyards Corp. v. Turbine Service, Inc., 674 F.2d 401 (5th, Cir. 1982) ... 46

Unnamed Civil Action, No Docket Number Given (Chataqua Cty., NY 2000) ... 35

Wallace v. Oceaneering Int'l, 727 F. 2d 427 (5th Cir. 1984) ... 17

Wells v. Dallas Independent School District, 793 F. 2d 679 (5th Cir. 1986) ... 37

Wheat v. United States, 860 F. 2d 1256 (5th Cir. 1988) ... 30

Willet v. Western Oceanic, Inc., 117 F.R.D. 379, 382 (E.D. La. 1987) ... 36

Williams v. Chevron U.S.A., Inc., 875 F.2d 801 (5th Cir. 1989) ... 31

Zeno v. Great Atlantic and Pacific Tea Co., 803 F.2d 178 (5th Cir. 1986) ... 31

Zerangue v. Delta Towers, Ltd., 820 F.2d 130 (5th Cir. 1987) ... 31

*xiii STATUTES

28 U.S.C. §1291 ... 1

28 U.S.C. §1333 ... 1

46 U.S.C. §688(a) ... v, 1, 4, 20, 22, 28, 48

Longshore and Harbor Workers' Compensation Act, 33 U.S.C. §903(a) ... 1

Rule 406 of the Federal Rules of Evidence ... 27




                                © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
       Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 6Page
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                             6




MISCELLANEOUS AUTHORITIES

1 MCCORMICK ON EVIDENCE § 185 ... 18, 27

22 AmJur 2d Damages § 256 ... 39

25 C.J.S. Damages § 66 ... 39

6A CORBIN ON CONTRACTS § 1472 (1964 ed.) ... 46

Dobbs, 2 THE LAW OF TORTS § 377 (West 2000) ... 38

Gerald W. Boston, 2 STEIN ON PERSONAL INJURY DAMAGES § 8:5 ... 39

Jerome H. Nates, et al., I DAMAGES IN TORT ACTIONS § 8.30 ... 39

MCCORMICK ON DAMAGES § 88 (West 1935) ... 38

                                           *1 JURISDICTIONAL STATEMENT

Suit in the district court asserted claims under the Jones Act, 46 U.S.C. §688(a)(“Jones Act”), and, alternatively, under
the Longshore and Harbor Workers' Compensation Act, 33 U.S.C. §903(a)(“LHWCA”), remedies that arise under admir-
                                                                        [FN1]
alty and maritime jurisdiction pursuant to 28 U.S.C. §1333. R,. 1:1,4.        Jurisdiction in this Court arises under 28
U.S.C. § 1291, from which final judgments of district courts may be appealed of right.

         FN1. References to the record are to the volume and page number, as in “R, 2:245.” References to the volume
         and pages of the transcript are designated as “T, 25:37.” References to the record excerpts are designated by
         their tab number in the Appendix, as in “RE 3.”

Following a jury trial, final judgment was entered on August 27, 2001. RE 5. It was amended on October 30, 2001 (RE
4), following the district court's denial of post-trial motions for relief on October 11,2001. RE 3. The judgments disposed
of all claims and defenses of the parties.

A timely notice of appeal was filed on November 8, 2001. RE 2.

                                              STATEMENT OF THE ISSUES

                                                   Assignments of Error

The judgment of the district court encompasses (1) errors of substantive law bearing on the issue of plaintiff's “seaman”
status and the employer's contractual indemnity obligations to the vessel owner; (2) excessive awards of general and spe-
cial damages that indicate an emotional rather than a rational disposition of the *2 case on the part of the jury; and (3) re-
versible errors in certain critical evidentiary rulings during the trial that contributed to the jury's erroneous findings and
excessive damage awards.

                                              Questions Presented for Review

1. Was the evidence insufficient as a matter of law to support the conclusion that the plaintiff, in his third summer intern-
ship with the same employer and with no previous sea-based work, had a substantial connection to a vessel to qualify for




                                © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
       Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 7Page
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                             7




“seaman” status under the Jones Act, when his injury occurred on the first day of a three-day gravel-packing job on an
offshore jack-up drilling rig?

2. Was the evidence insufficient as a matter of law to support the conclusion that plaintiff's appointment to the gravel-
packing job was a permanent, rather than a temporary, assignment to vessel work that constituted a regular and continu-
ous, rather than a temporary and sporadic, commitment of his labor within the meaning of Chandris v. Latsis and Barrett
v. Chevron, U.S.A., Inc.?

3. Did the district court err as a matter of law in denying the employer's motions for summary judgment and for judgment
as a matter of taw at the close of plaintiff's case on the issue of plaintiff's “seaman” status and allowing the case to go to
the jury?

4. Did the district court commit reversible error in refusing to admit evidence of plaintiff's temporary assignment to the
gravel-packing job for the jury's *3 consideration of all relevant circumstances bearing on the plaintiff's employment-con-
nection to a vessel and, in effect, improperly shift the burden to the employer to disprove plaintiff's “seaman” status?

5. Are the $43 million in general and special damages awarded by the jury for the bilateral amputation of plaintiff's legs
below the knees so excessive as to indicate a jury corrupted by bias, passion or prejudice, or other improper motive, and
so large as to warrant a new trial, rather than a mere reduction under this Court's “maximum recovery rule”?

6. Did the district court commit reversible error in granting summary judgment for the vessel owner and its insurers in
light of evidence that the actions of the vessel captain which caused the accident were “grossly negligent” and
“demonstrated a reckless disregard for the safety of [the] men.”?

7. Did the district court commit reversible error in refusing to charge the jury on the issue of the vessel owner's gross
negligence, in refusing to allow the employer to present evidence of the vessel's gross negligence to the jury, and in re-
fusing to allow the jury to decide the issue of the vessel's gross negligence as a question of fact?

8. Does the contract between the employer and the vessel owner exclude, by its silence, any indemnity obligations for in-
juries caused by the vessel owner's gross negligence as a matter of law?

*4 9. Did the district court commit reversible error in refusing to allow the employer's expert to testify about design de-
fects?

10. Did the district court abuse its discretion in refusing to grant the employer's post-trial motions for remittitur or a new
trial?

                                              STATEMENT DE THE CASE.

This is an appeal from a $43 million jury award of general and special damages to a petroleum engineering student seek-
ing Jones Act recovery against his employer, and others, for the bilateral amputation of his legs below the knees that oc-
curred in an accident on a jacked-up drilling rig in the Gulf of Mexico during his third summer internship.

While the amount of the award is alone a sufficient ground for relief on appeal, that the proceedings leading to the jury's
award should end in such a judgment is at least partly explained by certain critical rulings made by the district court that
themselves, singly and together, are grounds for reversal.

                            A. Course of the Proceedings and Disposition in the District Court




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
       Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 8Page
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                             8




Plaintiff, Seth Becker (hereinafter referred to by his first name, “Seth,” to avoid confusion with the name of his employ-
                                                                                                         [FN2]
er), sued his employer, Baker Hughes, Inc. (“Baker”), under the Jones Act claiming to be a “seaman.”           He included
a negligence *5 claim under general maritime law and an unseaworthiness claim against Tidewater Inc., the owner of the
vessel M/V REPUBLIC TIDE on which he was working at the time of the injury. He pleaded alternative recovery against
Tidewater under § 905(b) of the LHWCA. He also asserted negligence claims under general maritime law against. Cliffs.
Drilling Co. and R&B Falcon USA, (collectively “Falcon”), the respective owner and operator of the rig where the injury
occurred in the Gulf of Mexico.

        FN2. Seth later amended his complaint to add Baker Hughes Oilfield Operations, Inc., and Baker Oil Tools, Inc.,
        A Division of Baker Hughes Oitfield Operations, Inc. R, 2:231. Both are referred to as Baker.
                               [FN3]
Tidewater, and two affiliates,       asserted a third-party demand against Baker for contractual indemnity and defense
                                            [FN4]
under its Blanket Time Charter agreement.          Well before discovery had been completed, the district court granted
                                                                       [FN5]
Tidewater a summary judgment on its indemnity claim against Baker.             Baker had opposed Tidewater's motion on
                                                                                   [FN6]
the ground that the agreement did not contemplate indemnity for the fault alleged.

        FN3. Tidewater Marine, L.L.C. and Twenty Grand Offshore (collectively “Tidewater”), added as defendants by
        Seth's supplemental and amending complaint. R, 1:12, 77.

        FN4. R, 4:520.

        FN5. R, 8:1049 (Docket No. 221).

        FN6. R, 6:742. Baker also argued that the indemnity agreement was not enforceable under §905(b) of the LHW-
        CA.

Seth later amended his complaint to add as defendants Tidewater's underwriters, Pental Insurance Co. Ltd. and Certain
                                                [FN7]
Underwriters at Lloyd's *6 (“Underwriters”).           The Underwriters cross-claimed and then moved for summary judg-
                                                                                                         [FN8]
ment against Baker, asserting the same indemnity rights as Tidewater under the Blanket Time Charter.           At the time
the Underwriters filed their motion, evidence had emerged in discovery implicating Tidewater's gross negligence in caus-
ing the accident at the rig. Baker opposed the Underwriters' motion on the ground that Tidewater's gross negligence was
a disputed issue of material fact, citing legal authority that gross negligence was beyond the scope of the indemnity pro-
        [FN9]
vision.

        FN7. R, 9:1214.

        FN8. R, 10:1412(Docket No. 310).

        FN9. R, 11:1577 (Docket No. 347).

Baker's own motion for summary judgment, on the issue of Seth's status as a “seaman,” was set for hearing on the same
                                                                          [FN10]
day as the Underwriters' motion for summary judgment on indemnity.               The district court granted the Underwriters'
motion, holding as a matter of law that the language of the Blanket Time Charter, though silent as to gross negligence,
was nevertheless broad enough to encompass indemnity for gross negligence. RE 11:11-12. The court denied Baker's
motion, ruling that factual issues existed as to Seth's status. RE 11:27.

        FN10. R, 10:1430; R, 13:1884.




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
       Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 9Page
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                             9




Faced with indemnifying Tidewater's gross negligence, Baker filed third-party demands for product liability against Hy-
dra Rig and Hydradyne Hydraulics for *7 defects in the coflex hose and reel assembly installed in the M/V REPUBLIC
       [FN11]
TIDE.          Plaintiff then amended his complaint to assert similar product liability claims against Hydra Rig and Hy-
                                                                                                     [FN12]
dradyne Hydraulics (succeeded by Drexel Holdings, Inc.), and against Coflex Stena Offshore, Inc.,           the manufac-
turer of the coflex hose.

        FN11. R, 8:1076.

        FN12. R, 9:1225.
                                                            [FN13]
In the parties' joint submission of Requested Jury Charges,          Baker specifically requested an instruction on the is-
sue of gross negligence. R, 13:1956. Shortly before trial, Baker filed a motion asking the district court to reconsider the
summary judgments granted to Tidewater and the Underwriters and re-urged its request for a jury charge on gross negli-
gence. R, 13:1996. The motions were denied. RE 12.

        FN13. RE 15.

Baker also interposed a written objection to the line on the Proposed Verdict Form (R, 13:1964-68) allowing the jury to
allot a separate amount of damages for “disfigurement and scarring.” The objection states, “Baker objects to this line
claiming included in above.” R, 13:1968. Over Baker's objection, “disfigurement and scarring” was included in the final
Verdict Form as a distinct category of damages. The jury ultimately awarded Seth $7,000,000.00 for this category alone.
RE 6:2090.

Trial commenced on July 9, 2001. Seth's counsel called Jamie Parr, Baker's *8 operations coordinator, as a witness for
his case in chief. T, 26:449. On cross-examination, Baker's counsel sought to elicit testimony from Parr about Baker's
employment procedures in assigning workers to the M/V REPUBLIC TIDE for offshore gravel-packing jobs. Because
Parr, as the operations coordinator, was responsible for assigning men and equipment to the M/V REPUBLIC TIDE,
Baker's counsel asked Parr whether, under Baker's scheduling procedures for that position, Seth would have remained on
board the vessel after the job was finished. T, 26:470. Sustaining an objection by Seth's counsel, the district court refused
to allow Parr to answer that question on the grounds his testimony was inadmissible speculation. T, 26:475-76.

Seth's counsel also called, as pan of his case in chief, Captain Ronald Campana, an expert in vessel operations and boat
handling. Captain Campana had issued a report during pre-trial discovery in which he opined that Tidewater's captain
had been “grossly negligent in the performance of his duties.” Baker Proffer No. 1. The district court refused to allow
Campana's report into evidence and refused to allow Baker's counsel to question Captain Campana about the gross negli-
gence of Tidewater. T, 33:885-92. Campana's testimony also appears in the record as a proffer.
                                                            [FN14]
*9 Despite the express prohibition in the scheduling order,         plaintff's expert, Stephen Killingsworth, was allowed
to change his opinion from his pre-trial report. Instead of implicating the manufacturers, he testified that Baker was a
sophisticated user and the de facto manufacturer of the reel assembly with ultimate responsibility for all product defects.
[FN15]
         With this change in Killings worth's testimony, plaintiff did not oppose the manufacturer's motion for directed
verdict. T, 38:1304. Baker was allowed to proceed with its third-party claims against the manufacturers, but the district
court refused to allow Baker's expert in hydraulics, Walter Seyffert, to testify that there was a design defect in the hose
and reel assembly, because that opinion was not specifically phrased as such in his report. T, 40:1538-42.

        FN14. Scheduling order, R, 2:255-268, pp. 259-60. See the district court's comments at trial, at T, 40:1546-48.




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 10
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 10




        FN15. T, 33:928, 936-38, 955-54, 961-65.

At the close of plaintiff's case, Baker moved for judgment as a matter of law on the issue of Seth's seaman status. R,
14:2075; T, 38:1311-12. The motion was denied. RE 14:1312-16.

At the close of all the evidence, the court bifurcated the issues. The jury was asked to decide first whether Seth was
“seaman.” Seth's counsel made an impassioned plea to the jury to take up the torch on Seth's “own agony and his own
misery” and “[p]lease fight for him on the issue. Seth Becker is a seaman.” *10 T, 14:1704. Baker was left to defend the
compensation scheme that Congress had enacted for land-based workers under the LHWCA and to argue that Seth's rem-
edies under that scheme, and not under the Jones Act, were adequate and appropriate. T, 14:1705-07.

The jury found that Seth was a seaman and awarded him $29 million in general damages, including $7 million alone for
disfigurement and scarring. The jury also awarded Seth-$11 million in future medical and life care expenses, $3 million
in future lost wages, and $487,920.45 in past medical expenses. The jury assigned 65% of the fault to Baker, 30% of the
fault to Tidewater, and 5% to Falcon, and assigned none of the fault to the manufacturers.

Judgment was entered on the jury verdict on August 27, 2001. RE 5. Baker timely moved for a new trial, or remittitur, ar-
guing that the district court erred in ordering Baker to indemnify Tidewater and Tidewater's Underwriters, and that the
award of damages was excessive and an abuse of discretion. The motions were denied on October 11, 2001. RE 3. The
judgment was amended on October 30, 2001, to include judicial interest.

It is from these judgments that Baker has appealed. RE 4.

                                               B. Statement of the Facts

At the time of the accident in 1999, Seth was a 19 year-old engineering student at Montana Tech working toward a dual
degree in petroleum and mechanical *11 engineering. To learn about the petroleum industry and help defray the costs of
his education, Seth had for the past two summers worked as a summer intern for Baker with an eye toward securing a
possible permanent engineering position with Baker after graduation.

Seth had completed his first summer engineering internship in 1997 (T, 38:1288), working out of Baker's shop in Bossier
City, Louisiana, where he spent time observing and assisting Baker personnel on a handful of land-based rig jobs. None
of his work that first summer involved vessels. T, 38:1289-90. Seth's second summer internship in 1998 took him to
Baker's shop in Victoria, Texas, where, as in the previous summer, Seth did some field work, but participated only in
land-based rig jobs; he did no vessel work whatsoever. T, 38-1290.

Seth returned to Baker's shop in Broussard, Louisiana for a third summer engineering internship in 1999. T, 38:1291.
Seth testified that his work that summer was planned to concentrate on three areas: “[T]hey were going to start me out in
pumping, and then they were going to try to get me into the screen manufacturing for sand control. And then in the end
they were going to try and maybe let me see some fishing tools and hang around the regional engineers.” T, 38:1272.
Seth's testimony was corroborated by a work memorandum that outlined the activities planned for Seth that summer.
[FN16]
        According to Seth, none of his planned activities involved vessel-*12 based work. T, 38:1292-93.

        FN16. The memorandum was introduced without objection as Baker Ex. 2.

When Seth arrived in Broussard on May 24, Seth spent the first two weeks working in the shop, cleaning, steaming and
checking equipment that came in from the field. T, 38:1291, 1294. Two of his superiors told him “that they would try to
get [him] on a boat.” After a few days, an opportunity arose for Seth to observe a gravel-packing operation on a Vastar




                              © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 11
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 11




offshore fixed platform. David Gilley, the safety coordinator in the Broussard shop, gave Seth some offshore safety and
training courses before he left for the job. T, 38:1294. The safety courses consisted of some videos, personal instructions
about safety from some of the Baker workers, a written safety test, and water survival training. T, 38:1294.

Seth was a passenger in the boat ride to the Vastar platform. When he arrived, he observed and assisted in the work (T,
38:1294): “We all got on a work boat. We arrived on location. We loaded the equipment on the deck of the rig. We pro-
ceeded to set that equipment up, did the job, and rigged down and left via crewboat.” T, 38:1295.

On the trip back from the Vastar platform, a chance need arose “to replace two men that had been working too long on
the M/V REPUBLIC TIDE.” T, 38:1271. Seth was given the job, as another opportunity to observe and learn about
Baker's gravel-packing operations. T, 38:1271. In Seth's words, his “job basically was to help anyone; aid in any way
possible to learn . . . [and]” to “just get in there and bang *13 iron and learn as much as you can.” T, 38:1271. Ken Cre-
deur, Baker's supervisor on the M/V REPUBLIC TIDE, testified he had never worked with a summer intern before and
was not sure “exactly what Seth was supposed to do.” T, 26:381.

The M/V REPUBLIC TIDE is a “technology vessel” owned and operated by Tidewater under a Blanket Time Charter
with Baker. Under the charter, Tidewater is responsible for vessel operations and maintenance, while Baker is respons-
ible for the specialized equipment used in servicing oil wells. The M/V REPUBLIC TIDE was equipped with a reel as-
sembly that allowed a coflex hose, a dense but flexible steel hose used in gravel pack operations, to be spooled from the
vessel up on the rig and down to the well. T, 26:451-52. The reel assembly was manufactured by Hydra Rig and Hydra-
dyne Hydraulics with a quick disconnect safety feature to disconnect from the reel in the event of an emergency.

As the M/V REPUBLIC TIDE made its way to Falcon's jack-up drilling rig, No. 153, there was testimony that Captain
Daniel E. Givens, the second captain in command, spoke to someone on the rig and received permission to drop anchor.
T, 24:97. However, due to a leaking anchor windlass, Givens decided not to drop anchor when he arrived. T, 24:98-99.
The current around the rig kept increasing during the first day, and the Tidewater captains held the vessel steady and in
place with only the vessel's bow thruster and a couple of lines tied from the rig to the vessel. T, 24:108-09.

*14 In the meantime, the Baker hands had spooled the coflex hose from the reel assembly on the stem of the M/V RE-
PUBLIC TIDE and secured the coflex hose to the rig for the gravel pack operation. Four of the six Baker workers, in-
cluding Seth, had left the M/V REPUBLIC TIDE and were on the rig to assist in the operation. Several hours into the
job, however, the bow thruster on the M/V REPUBLIC TIDE lost power. T, 24:254.

The quick disconnect feature did not disconnect the coflex hose from the reel or allow the reel to spool because there was
air in the system. T, 40:1538-39. The M/V REPUBLIC TIDE radioed the rig that its bow thruster had failed and asked
the rig to disconnect the coflex hose. When the Baker hands on the drill floor learned that the bow thruster had failed,
they hurried to the hammer union where the coflex hose was connected to the rig. T, 24:190. But within moments of the
bow thruster failure, the port line from the rig to the stem of the vessel snapped. T, 24:260. At that point, Captain Steve
Lachney, the captain in command, decided to power up the vessel and break the remaining stem line to get the ship away
from the rig, but he did not warn anyone on the rig that he was about to break away. T, 24:265.

The moving vessel began to pull the hose across the deck. Unaware of the captain's decision to move the vessel, Seth and
the other Baker workers continued trying to disconnect the hose from the rig. When the hose began to move, Seth, who
was standing in the “bite” of the coflex line, was pinned by the hose to the backstop *15 on the deck. The heavy coflex
hose cut into his legs; both later had to be amputated below the knees.

Since the accident, Seth has undergone multiple surgeries, along with extensive therapy and rehabilitation. He experi-




                              © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 12
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 12




enced an infection in his left leg that lasted several months, but that has since cleared up. Fortunately, he successfully
completed his course work at Montana Tech and obtained a dual degree in petroleum and mechanical engineering.

                                            SUMMARY OF THE ARGUMENT

1. The evidence is not sufficient as a matter of law for any rational jury to conclude that Seth had a substantial temporal
connection to the M/V REPUBLIC TIDE, or had been permanently assigned or re-assigned to the vessel, to qualify for
Jones Act recovery. Seth was a land-based worker and his remedies are under the LHWCA, not the Jones Act. The dis-
trict court erred in denying Baker's motions for summary judgment and for judgment as a matter of law on the issue of
Seth's status as a “seaman.”

2. Even if there were sufficient evidence to raise a jury issue, the district court committed reversible error in excluding
from the jury's consideration, as part of the “total circumstances” bearing on Seth's employment, testimony from Baker's
Director of Operations that Seth would not have returned to work on the vessel following completion of the three-day
job. The testimony was not speculative, hut *16 was in fact probative and relevant to the issue of Seth's employment-con-
nection to sea-based work. A rational jury could reasonably have inferred flora this testimony that Seth's vessel assign-
ment was temporary and Sporadic, not permanent, and did not routinely expose him to the perils of the sea within the
meaning of the Jones Act.

3. The jury's award of $29 million in general damages exceeds the nearest award for similar injuries in this jurisdiction
by nearly 500 percent and is subject to remittitur under this Court's “maximum recovery rule.” The award also contains a
separate recovery for disfigurement that duplicates the recovery for mental pain and anguish. The special damage award
for future medical costs and life care is likewise excessive and includes amounts that duplicate amounts awarded for gen-
eral damages. Finally, the award for future lost wages is based on speculative assumptions about job opportunities that
are unlikely to materialize. Because the damages are so large, however, a new trial is the more appropriate remedy than a
mere reduction.

4. Baker is not obligated under its contract to indemnify Tidewater for the gross negligence of its captain. The district
court's grant of summary judgments on this issue and its refusal to permit Baker to introduce evidence or to charge the
jury on the issue of gross negligence was therefore reversible error and deprived Baker of substantial rights as a litigant.

5. Finally, the district court's refusal to let Baker's expert testify on design defects in the reel and hose assembly was re-
versible error. The ruling deprived Baker *17 of critical evidence on its third-party demands that resulted in an unfair and
prejudicial assessment of the case by the jury and again deprived Baker of substantial rights as a litigant.

                                                       ARGUMENT

                                                     A. Seaman Status

According to the Supreme Court, the issue of Jones Act “seaman” status is “better characterized as a mixed question of
               [FN17]
law and fact.”        If reasonable persons, applying the proper legal standard, could differ as to whether an employee is
a “member of the crew,” it is a question for the jury, but the jury must be permitted to consider all relevant circumstances
                                                                                 [FN18]
bearing on the duration and nature of the employment-connection to a vessel.              Where the facts and the law will
reasonably support only one conclusion, however, summary judgment or judgment as a matter of law (directed verdict) is
          [FN19]                                                                                          [FN20]
mandated.          This Court's review of mixed questions *18 pertaining to “seaman status” is plenary,            or de novo
  [FN21]                                                                            [FN22]
.        Questions pertaining to sufficiency of the evidence are reviewed de novo,          as are grants or denials of sum-
                 [FN23]
mary judgments.




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 13
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 13




         FN17. McDermott Intern., Inc. v Wilander, 498 U.S. 337, 356, 111 S.Ct. 807, 818, 112 L.Ed.2d 866 (1991):
         “When the underlying facts are established, and the rule of law is undisputed, the issue is whether the facts meet
         the statutory standard. . .It is for the court to define the statutory standard. . . If reasonable persons, applying the
         proper legal standard, could differ as to whether the employee was a [seaman], it is a question for the jury.”

         FN18. Chandris v. Latsis, 515 U.S. 347, 369, 115 S. Ct. 2172, 2190, 132 L. Ed. 2d 314 (1995): “In our view,
         ‘the total circumstances of an individual's employment must be weighed to determine whether he had a suffi-
         cient relation to the navigation of vessels and the perils attendant thereon.”’ (quoting Wallace v. Oceaneering
         Int'l, 727 F. 2d 427, 432 (5th Cir. 1984)).

         FN19. Wilander, 498 U.S. at 356, 111 S. Ct. at 818.

         FN20. Roberts v. Cardinal Services, Inc., 266 F. 3d 368, 373 (5th Cir. 2001).

         FN21. See Bannister v. Ullman, 287 F. 3d 394, 2002 WL 491919, (April 2, 2002)(legal conclusions are subject
         to plenary review and axe not subject to the same deference as findings of fact.)

         FN22. Guilbeau v. W.W. Henry Co., 85 F.3d 1149 (5th Cir. 1996).

         FN23. Raymond v. Mobil Oil Corp., 983 F. 2d 1528, 1534 (10th Cir. 1993).

                                               1. Evolution of “Seaman” Status
                                                                                                               [FN24]
The Supreme Court has recognized that remedies under the Jones Act and the LHWCA are mutually exclusive.
Seamen, regularly exposed to the perils of the sea, are covered under the Jones Act; maritime land-based employees are
compensated for injuries under the LHWCA.

         FN24. Wilander, 498 U.S. at 347, 111 S.Ct. at 813.
                                         [FN25]
However, as Judge Gee aptly observed,            tendentious litigation over the factual issue of seaman status, and its
greater rewards, has made the two schemes antagonistic: “So long as Jones Act benefits are more attractive than those of
the other marine compensation schemes, astute counsel will seek to qualify their clients as ‘seamen.’ A bright line rule is
called for, one that nudges coverage back toward the blue-water sailors for whom the Jones Act was meant.”

         FN25. Barrett v. Chevron, U.S.A., Inc. 781 F. 2d 1067, 1076 (eh banc) (Gee, J., concurring).

*19 Despite the best efforts of the courts, no bright line test has emerged. It is important therefore that juries not be asked
or allowed to pass judgment on the fairness of the respective compensation schemes under the pretext of resolving a dis-
puted issue of fact and that litigants not be put in the untenable position of having to defend one scheme over the other.
                                                                             [FN26]
To that end, this Court's definition, formulated in Offshore Co. v. Robison,         allowed the issue of seaman status to
be decided by a jury only when “there is evidence that the injured workman was assigned permanently to a vessel . . . or
                                                                                                        [FN27]
performed a substantial part of his work on the vessel.” Unlike the definitions formulated by the First        and Second
[FN28]
        Circuits, Robison's definition was phrased in the disjunctive, and arguably provided broader application for Jones
Act recovery. Later decisions held that for “substantial work” to be equivalent to a “permanent assignment” the evidence
must show that the employee performed a significant part of his work aboard a vessel with some degree of regularity and
            [FN29]
continuity.




                                © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 14
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 14




        FN26. 266 F. 2d 769, 779 (5th Cir. 1959)(emphasis added).

        FN27. Carumbo v. Cape Cod S. S. Co., 123 F.2d 991 (1st Cir. 1941)held that (a) the ship must be in navigation;
        (b) the worker must have a more or tess permanent connection to the ship; and (c) he must be aboard primarily
        to aid in navigation.

        FN28. The Second Circuit adopted Carumbo's test with the modification that the vessel connection be substan-
        tial in terms of its duration and nature. Chandris, 20 F. 3d at 57.

        FN29. Barrett, 281 F.2d at 1073-74.

This Court's en banc decision in Barrett attempted to quantify the duration of *20 the assignment necessary to allow sub-
mission of the issue to a jury by adding what the Supreme Court has described as “a strictly temporal gloss to the Jones
              [FN30]
Act inquiry”:

        FN30. Chandris v. Latsis, 515 U.S. 347, 366, 115 S. Ct. 2172, 2188, 132 L. Ed. 2d 314 (1995).

[I]f the employee's regularly assigned duties require him to divide his time between vessel and land (or platform) his
status as a crew member is determined ‘in the context of his entire employment’ with his current employer. This is not an
inflexible requirement, however, and does not preclude assessment of the extent of the employee's work aboard a vessel
over a shorter time period if the employee's permanent job assignment during his term of employment has changed. If the
plaintiff receives a new work assignment before his accident in which either his essential duties or his work location is
permanently changed, he is entitled to have the assessment of the substantiality of his vessel-related work made on the
                                        [FN31]
basis of his activities in his new job.

        FN31. Barrett, 781 F. 2d at 1075 (emphasis added; citations omitted).

Under the Barret formulation, substantiality is not established if the assignment results in a commitment to the vessel's
mission or welfare that is only temporary and sporadic, rather than regular and continuous. The assessment of substanti-
ality may be made on a longer or shorter period of employment, depending on the facts, but since Barrett, this Court “has
consistently declined to find seaman status where the employee spends less than 30 percent of his time aboard ship.”
[FN32]

        FN32. Chandris, 115 S. Ct., at 2188, and cases cited; see also this Court's recent discussion in Roberts, 266 F.
        3d, at 374-375: “[A]s a general rule, [a worker] must show [substantial duration] by demonstrating that 30 per-
        cent or more of his time is spent in service of that vessel.”

In 1995, after reviewing and synthesizing the definitions formulated primarily *21 in the First, Second, and Fifth Cir-
       [FN33]
cuits,         the Supreme Court formulated and pronounced a conjunctive definition of “seaman” in Chandris v. Latsis
[FN34]
         that requires a connection to a vessel that is substantial in both time and function:

        FN33. The Supreme Court weighed in on the legal controversy surrounding “seaman” status in McDermott In-
        ternational, Inc. v. Wilander, 498 U.S. 337, 356, 111 S. Ct. 807, 818, 112 L. Ed.2d 866 (1991). The court held
        that “[t]he key to seaman status is employment-related connection to a vessel in navigation,” and that the em-
        ployee's duties “must contribut[e] to the function of the vessel or to the accomplishment of its mission.” Wil-
        ander however did not address the “requisite connection to a vessel in any detail,” prompting the court to ad-
        dress that question four years later in Chandris. In Harbor Tug and Barge Co. v. Papai, 520 U.S. 548, 117 S. Ct.
        1535, 137 L. Ed.2d 800 (1997), a case of little practical relevance here, the court issued its third major decision




                              © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 15
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 15




        that defines “an identifiable group of vessels” as a group of vessels “under common ownership or control” of the
        same employer. Id. at 557, 117 S. Ct. at 1541.

        FN34. 515 U.S. 347, 366, 115 S. Ct. 2172, 2188, 132 L. Ed. 2d 314 (1995).

First, as we emphasized in Wilander, “an employee's duties must ‘contribut [e] to the function of the vessel or to the ac-
complishment of its mission.’

                                                           ***

Second, . . . a seaman must have a connection to a vessel in navigation (or to an identifiable group of such vessels) that is
                                                      [FN35]
substantial in terms of both its duration and nature.

        FN35. Chandris, 115 S. Ct., at 2189 (emphasis added).

The purpose of both prongs, the court explained, is to effectuate the remedies within the respective Congressional com-
pensation schemes: “The fundamental purpose of this substantial connection requirement is to give full effect to the re-
medial scheme created by Congress and to separate the sea-based maritime employees who are entitled to Jones Act pro-
tection from those land-based workers whose employment *22 does not regularly expose them to the perils of the sea.”
[FN36]

        FN36. Id., 115 S. Ct., at 2190 (emphasis added).

In formulating its definition, Chandris specifically rejected a “voyage” test for seaman stares, under which “anyone
working on board a vessel for the duration of a ‘voyage’ in furtherance of the vessel's mission [would have] the neces-
sary employment-related connection to qualify as a seaman.” Under the LHWCA, Congress had “established that a work-
                                                                                                                 [FN37]
er is no longer considered to be a seaman simply because he is doing a seaman's work at the time of injury.”
Where a worker's duties are divided between land-based and sea-based work, the Court specifically alluded to the Barrett
formulation as a workable and appropriate guideline: “Generally, the Fifth Circuit seems to have identified an appropri-
ate role of thumb for the ordinary case: A worker who spends less than about 30 percent of his time in the service of a
                                                                          [FN38]
vessel in navigation should not qualify as a seaman under the Jones Act.”

        FN37. Chandris, 515 U.S., at 358, 117 S.Ct., at 2184-85.

        FN38. Chandris, 515 U.S. at 371, 115 S.Ct. at 2190: “We agree with the Court of Appeal that seaman status is
        not merely a temporal concept, but we also believe that it necessarily includes a temporal element.”

In situations involving re-assignments, the Supreme Court said essentially what this Court had said in Barrett:
When a maritime worker's basic assignment changes, his seaman status may change as well. For example, we can ima-
gine situations in which *23 someone who had worked for years in an employer's shoreside headquarters is then reas-
signed to a ship in a classic seaman's job that involves a regular and continuous, rather than intermittent, commitment of
the worker's labor to the function of a vessel. Such a person should not be denied seaman status if injured shortly after
the reassignment . . . If a maritime employee receives a new work assignment in which his essential duties are changed,
he is entitled to have the assessment of the substantiality of his vessel-related work made on the basis of his activities in
                   [FN39]
his new position.


        FN39. Id. at 372, 117 S.Ct. at 2191-2192 (internal citations omitted).




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 16
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 16




Viewed in context, this comment is properly understood to address situations involving more or less permanent re-
                                                                                        [FN40]
assignments that meet the test for substantiality in terms of both duration and nature.        Otherwise, any duty assign-
ment that involves work on board a vessel, however temporary or sporadic, would make a worker injured on the first day
of his assignment eligible for Jones Act recovery. A temporary job assignment, ineligible for seaman status under Barrett
                                                                                                     [FN41]
, would otherwise be indistinguishable from a permanent, or regular and continuous, re-assignment,           *24 resulting
                                                                 [FN42]
in a de facto “voyage test” that Chandris specifically rejected.

        FN40. See, e.g., Manuel v. P.A.W. Drilling & Well Serv., Inc., 135 F.3d 344 (5th Cir. 1998)(worker's injury after
        working on board the vessel for two months following a re-assignment substantial enough in terms of duration
        to qualify for Jones Act “seaman” status).

        FN41. See, e.g., West v. David M. Lamulle Constr. Co., Inc., 1998 WL 151428 (E.D.La.). A land-based con-
        struction worker had been assigned to work on a barge flotilla that moved from one coastal construction job to
        another. The employer had a practice of routinely moving workers from one job assignment to another. The
        worker was injured on the first day. The only evidence that the worker's new assignment to the barge operation
        was permanent (substantial in duration) rather than temporary was the worker's self-serving testimony that “it
        was understood.” The district court held that the worker's connection to a vessel was not substantial in either
        nature or duration and granted summary judgment for the employer. See also Gims v. Danos & Curole Marine
        Contractors, Inc., 1999 WL 983826 (E.D.La.). Plaintiff spent ten months out of a year working on non-vessel
        fixed platforms interspersed with about two months of work on jack-up drilling vessels where he was injured.
        Plaintiff argued that he was a seaman because “he might have been permanently reassigned to work on [the ves-
        sel] after his injury occurred.” The district court disagreed and granted summary judgment to the employer, not-
        ing that plaintiff routinely split his time between vessel and platform work and that he had admitted in depos-
        ition that, according to normal company procedure, he likely would have worked only the customary 28-day
        shift on the jack-up vessel.

        FN42. “We believe it important to avoid “‘engrafting upon the statutory classification of a ‘seaman’ a judicial
        gloss so protean, elusive, or arbitrary as to permit a worker to walk into and out of coverage in the course of his
        regular duties.””' Chandris, 115 S. Ct., at 2186 (quoting Barrett v. Chevron U.S.A., Inc., 781 F. 2d at 1075).

                                         2. No substantial connection to a vessel

The district court denied Baker's motions for summary judgment and for judgment as a matter of law at the close of
                  [FN43]
plaintiff's case.        In denying the latter motion, the lower court commented that it thought the evidence was so over-
                                                                                  [FN44]
whelmingly in Seth's favor that the verdict should be directed for the plaintiff.

        FN43. RE 14.

        FN44. RE 14. The court read the above-quoted language from Chandris into the record, advising the attorneys to
        look closely at the case. RE 14.

To the contrary, and with all due respect to this district court, the evidence was in no way sufficient to support any reas-
onable conclusion other than Seth was a land-based student worker, who by chance opportunity was temporarily assigned
to the M/V REPUBLIC TIDE for a one-time gravel packing job, to observe, learn and work as part of his summer train-
ing and exposure to all of the field activities of Baker's oilfield services.

The only evidence of Seth's employment-connection to sea-based work *25 consisted of(l) his participation in an off-




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 17
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 17




shore training and safety course, (2) a one-day visit to a Vastar platform, (3) testimony that on his trip to the Falcon rig
for the gravel-pack job he was as much a member of the crew of the M/V REPUBLIC TIDE as anyone else, and (4) his
work aboard the vessel during the job..

Evidence that Seth was given training in offshore work and safety is not sufficient to establish seaman status. Even tem-
porary workers have to be trained if they are expected to assist in the function or mission of the vessel. Training and ex-
posure to Baker's oilfield activities was the very purpose of Seth's internship, and it is hoped that all student workers are
instructed in appropriate safety practices, onshore and off.

Seth's work on the Vastar platform does not establish seaman status. Fixed platforms are not vessels, and workers injured
                                                   [FN45]
on fixed platforms are covered under the LHWCA.

         FN45. See, e., Demette v. Falcon Drilling Co., Inc., 280 F.3d 492 (5th Cir. 2002).

Testimony that Seth was as much a part of the crew as any other is not sufficient to establish seaman status. The same
could be said of any worker assigned to the same crew position, whether the assignment were temporary or regular and
                                                                                                           [FN46]
continuous. A worker is not a seaman simply because he is doing the ship's work at *26 the time of injury.

         FN46. Chandris, 515 U.S., at 358, 117 S.Ct., at 2184-85: “[W]e do not believe that any maritime worker on a
         ship at sea as part of his employment is automatically a member of the crew within the meaning of the statutory
         scheme.” Id., 117 S.Ct. at 2187..

The mere fact that Seth was ordered to work a crew position aboard the M/V REPUBLIC TIDE is not sufficient as a mat-
ter of law to establish a substantial connection to that vessel. There is no evidence that Seth's planned activities were per-
manently changed or that his essential duties as an intern had changed. His assignment to the gravel-pack job was in fact
neither planned nor permanent. It arose by happenstance, to relieve two weary workers who needed rest. In light of the
work Seth performed over his previous summer internships with Baker, and the work planned for him that summer,
Seth's work aboard the M/V REPUBLIC TIDE comes nowhere near the kind of regular or continuous commitment of his
labor to the service of that vessel, that regularly exposed him to the perils of the sea, within the meaning of Barrett and
Chandris. His work was at best temporary and sporadic. His injury may have been the result of a truly Palsgraffian series
of unfortunate mistakes that happened to coincide with his first day on the job, but Seth was not a blue-water seaman un-
der the Jones Act.

                                              3. Exclusion of Parr's testimony

If the substantiality or permanence of Seth's assignment were indeed a triable issue, and Baker does not concede that it
was, the district court's exclusion of the *27 testimony of Baker's Operations Coordinator, Jamie Parr, was reversible er-
ror.

Parr explained that workers were assigned to the crew position filled by Seth on a rotation system, and the practice was
for them to leave the boat when the job was finished and return to the district office. T, 26:472, 476. It was possible that
Seth might have been re-assigned to another vessel later, but only if his name happened to be placed at the top of the ro-
tation schedule. T, 26:475. Because Parr could not say with certainty that Seth would not have returned to the vessel in
the future, the district court excluded his testimony as speculation. T, 26:474-75.

Testimony about future events is not inadmissible unless it rises to the level of “dubious projections into the future or
                        [FN47]
questionable surmises.”        As the operations coordinator, responsible for assigning workers on the M/V REPUBLIC




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 18
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 18




TIDE, Parr had the requisite knowledge and foundation to testify about Baker's scheduling practices. His testimony was
relevant and probative evidence under Rule 406 of the Federal Rules of Evidence, bearing on the total circumstances sur-
rounding Seth's employment-connection to a vessel. Parr's testimony supports the reasonable inference that Seth's assign-
ment was only temporary, and not substantial in duration, *28 regular or continuous, and should have been submitted for
                          [FN48]
the jury's consideration.

        FN47. According to McCormick, “Speculativeness usually arises with regard to dubious projections into the fu-
        ture or questionable surmises about what might have happened had the facts been different.” 1 MCCORMICK
        ON EVIDENCE § 185.

        FN48. “The jury should be permitted, when determining whether a maritime employee has the requisite employ-
        ment-related connection to a vessel in navigation, to consider all relevant circumstances bearing on the
        [elements of the status inquiry].” Chandris, 515 U.S. at 369, 115 S. Ct. at 2190.

It was plaintiff's burden to prove that the assignment to the M/V REPUBLIC TIDE was substantial in duration, perman-
                                                                                  [FN49]
ent, regular or continuous. It was not Baker's burden to prove that it was not.          The court's ruling improperly had
the effect of shifting the burden to Baker to disprove that Seth had not been permanently assigned to the vessel. The fact
that future vessel assignments may occur does not make an otherwise temporary or sporadic current assignment perman-
ent or substantial. Such a rule completely undercuts the rationale of Barren. Workers who spend 30 percent or less of
their time doing a ship's work, regardless of the number of future job assignments to a vessel, do not qualify for seaman
status. The district court's ruling shifted the burden of proof onto Baker and then made it an impossible one to carry.

        FN49. Manuel, 135 F. 3d at 347 (citing Chandris, at 368-72, 115 S.Ct. at 2189-91).

If the Supreme Court rejected the “voyage test” in order to edge Jones Act recovery back to those blue-water workers
regularly exposed to the perils of the sea, affirming the judgment on the evidence in this case will have precisely the op-
posite effect. Any job assignment, however temporary or sporadic, would be sufficient to *29 establish a substantial ves-
sel connection unless the employer can state with absolute certainty that no future assignments will ever be made again.
An affirmance on the basis of the evidence in this case will send the wrong signal to astute counsel to continue precisely
the kind of litigation that Judge Gee decried in Barrett.

The case, in short, should not have gone to the jury, whose damage award alone, as argued next, shows it was unable to
give a dispassionate or reasonable review of the evidence or the facts. It certainly should not have been submitted
without the testimony of Mr. Parr.

                                        B. The Jury's Damage Award is Excessive

The jury awarded $29 million in general damages and nearly $14.5 million in special damages. Both amounts are excess-
ive.

                                                   1. General damages

The standards of review applicable to excessive damages are well-known. A jury is given broad discretion in awarding
                                                                                         [FN50]
damages, and a jury's award is reversible as excessive, under the clear error standard,           only “on the strongest of
            [FN51]
showings.”          The award must be so large as to “shock the judicial conscience,” or so exaggerated as to indicate
“bias, passion, prejudice, corruption, or other improper motive,” or as *30 “clearly exceed[ing] that amount that any reas-
                                                            [FN52]
onable man [or woman] could feel the claimant entitled to.”




                              © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 19
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 19




        FN50. Douglass v. Delta Air Lines, Inc., 897 F. 2d 1336, 1339 (5th Cir. 1990); Caldarera v Eastern Airlines,
        Inc., 705 F. 2d 778, 784 (5th Cir. 1983).

        FN51. Dixon v. International Harvester Co., 754 F. 2d 573, 590 (5th Cir. 1985).

        FN52. Id.
                                                                                         [FN53]
Nonetheless, a jury's discretion in awarding damages, though broad, is not “boundless.”           As the late Judge Rubin
                                                                                                        [FN54]
remarked, “The sky is simply not the limit for jury verdicts, even those that have been once reviewed.”         Each case
ultimately is reviewed on its own facts, but when an award is challenged as excessive, this Court has found it useful to
“examine damage awards in analogous cases” as an objective frame of reference to determine whether the award is
                                            [FN55]
“disproportionate to the injury sustained.”        Further, under this Circuit's “maximum recovery rule,” such dispropor-
tion may be shown when “‘the award exceeds 133% of the highest previous recovery in the [relevant jurisdiction]”’ for a
                        [FN56]
factually similar case.

        FN53. Wheat v. United States, 860 F. 2d 1256, 1259 (5th Cir. 1988).

        FN54. Caldarera, 705 F. 2d at 7114.

        FN55. Wheat, 860 F. 2d at 1259; e.g., Gough v. National Pipeline Co. of America, 996 F.2d 763 (5th Cir. 1993)
        (citing an Illinois appellate decision involving similar injuries as the “best guidepost,” this court ordered a re-
        mittitur of the jury's award from $1.5 million to $600,000 as the maximum allowable recovery for severe emo-
        tional distress and posttraumatic stress disorder injuries, or a new trial); Simeon v. T. Smith & Son. Inc., 852
        F.2d 1421 (5th Cir. 1988)(again, this court further reduced the district court's remittitur of the jury's award of
        $1.25 million from $750,000 to $600,000 as the maximum recovery the jury reasonably could have allowed,
        based on offshore cases with roughly similar injuries); Dixon v. International Harvester Co., 754 F.2d 573 (5th
        Cir. 1985)(comparing two analogous cases involving bum victims, this court reduced the jury's award from $2.8
        million to $500,000.00, or a new trial).

        FN56. Lebron v. United States, 279 F. 3d 371 (5th Cir. 2002)(quoting Douglass, 897 F. 2d at 1344, n. 14 (citing
        Haley v. Pan Am. World Airways, Inc., 746 F.2d 311 (5th Cir. 1984)). A panel of this Court recently suggested
        that in jury trials a multiplier of 50 percent rather than 33 percent should be applied to the maximum allowable
        recovery so as to avoid substituting the reviewing court's judgment for that of the jury. Salinas v. O'Neill, 286 F.
        3d 827, 2002 WL 453025, fn. 6 (5th Cir. 4/9/02). Because the award here exceeds the highest previous award by
        500 percent, reduction is warranted regardless of the multiplier used.
                                                                       [FN57]
*31 Even without reference to analogous awards for similar injuries,           in those cases where “a jury's award exceeds
                                    [FN58]
the bounds of reasonable recovery,”         this Court has not hesitated to reduce the award to “‘the maximum amount
                                        [FN59]                                        [FN60]
the jury could properly have awarded,”'        or direct the district court to do so.

        FN57. Cf., Eiland v. Westinghouse Elec. Corp., 58 F.3d 176 (5th Cir. 1995)(jury's award reduced from $5 mil-
        lion to $3 million, or new trial ordered, without reference to analogous cases); Zerangue v. Delta Towers, Ltd.,
        820 F.2d 130, 134 (5th Cir. 1987)(damages reduced from $300,000.00 to $200,000 because the award was based
        on an “emotional reaction to the nature of [plaintiff's] experience rather than a reasoned view of what the evid-
        ence justifies to be the dollar damages which the defendant should be required to pay.”)

        FN58. Dixon, 754 F. 2d at 590 (5th Cir. 1985).




                              © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 20
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 20




         FN59. Zeno v. Great Atlantic and Pacific Tea Co., 803 F.2d 178, 181 (5th Cir. 1986); see also Eiland, 58 F.3d at
         183. As this court has noted, “[t]he ‘maximum recovery rule’ does not necessarily limit an award to the highest
         amount previously awarded in the state . . . [T]he maximum recovery rule does not become operative unless the
         award exceeds 133% of the highest previous recovery in the state.” Douglass v. Delta Air Lines, Inc., 897 F.2d
         1336, 1344 n. 14 (5th Cir. 1990)

         FN60. An appellate court's power to grant a remittitur is the same as the district court's. Dixon, op. cit; Williams
         v. Chevron U.S.A., Inc., 875 F.2d 801 (5th Cir. 1989).

This is one of those cases. Even without considering any analogous case, the jury's award of $29 million for past and
furore physical and mental pain and suffering (and disfigurement) is shockingly large. But when Seth's award is com-
pared to the awards affirmed or reduced in analogous Cases from this jurisdiction and elsewhere, the disproportion
between the award and the injuries shows that the jury's award was not based on a rational view of the evidence, but an
emotional one. The award is not *32 merely excessive; it is punitive, exceeding the highest previous award for similar in-
juries in this jurisdiction by nearly 500%.

For example, in four Louisiana cases awarding damages for double amputation of the legs, none involved an award high-
                                                                                  [FN61]
er than $6 million. In Armand v. State, Dep't of Health and Human Resources,              a healthy six-year-old child was
forced to undergo an emergency amputation of both legs and two of his fingers due to medical malpractice. The court
                                                [FN62]                                                [FN63]
awarded $4,000,000.00 in general damages.              In Cullivan v. State Farm Mut. Auto. Ins. Co.,        a 639-year-old
man suffered multiple leg and rib fractures and lung injuries and ultimately lost both legs to gangrene following an auto-
mobile accident. The trial court awarded plaintiff general damages of $500,000.00, consisting of $150,000.00 for past
pain and suffering and $350,000.00 for the loss of his legs. The court of appeal upheld the award, noting that it was not
“a clear abuse of the trial court's discretion.”

         FN61. 97 2958 (La. App. 1 Cir. 2/23/99), 729 So.2d 1085, writ denied 99-0842 (La. 5/14/99), 741 So.2d 661.

         FN62. The $4,000,000.00 award was reduced on appeal to $500,000.00 pursuant to the statutory cap under the
         Louisiana Medical Malpractice Act.

         FN63. 428 So.2d 1231 (La. App. 3 Cir. 1983), writ denied 433 So.2d 180 (La. 1983).
                                                [FN64]
In Simpson v. State, Dep't of Transp. and Dev.,        a fifteen-year-old boy suffered a traumatic amputations of both
legs, along with a severe closed head injury *33 and concussion, resulting in decreased learning potential, dexterity and
strength, following an automobile accident. Noting that the plaintiff was “a mere shell of the person he once was,” the
trial court awarded $6,000,000.00 in general damages. The appellate court affirmed.

         FN64. 95 0 t 15, 92 0116, 92 0117 (La. App. 1 Cir. 12/7/93), 636 So.2d 608, writs denied 94-0042, 94-0047,
         94-1005 (La. 5/6/94), 637 So.2d 472.
                  [FN65]
Snearl v. Mercer,        decided in February, 2001, is especially analogous. A 22-year-old construction worker suffered
bums over 51% of his body when he was trapped in a burning truck. He watched as the fire worked its way up his legs to
                                                                   [FN66]
his abdomen, leaving “skeletonized extremities below the knee.”              He eventually lost both legs as well as his penis.
He was forced to undergo numerous painful skin grafts, and the construction of a new penis out of skin and muscle taken
from his forearm. The appellate court affirmed the jury's award of $5 million in general damages, noting that the award
                                                                                         [FN67]
was “on the high side,” but not an abuse of discretion in light of plaintiff's injuries.




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 21
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 21




        FN65. 99-1738, 99-1739 (La. App. 1 Cir. 2/16/01), 780 So.2d 563.

        FN66. Id., at 589.

        FN67. Id., at 590.

The Louisiana cases are not anomalies. No case reported from other jurisdictions comes near to the amount of general
damages awarded in this case. In all but one of the cases, the jury awards were reduced either on post-trial motions or on
appeal. Significantly, in none of them did the reducing court look to prior awards.
                                           [FN68]
*34 For example, in Rodriguez v. State,           a mental patient had both of his legs severed when he jumped in front of a
subway. The trial court awarded $3.5 million in general damages, which included $1.5 million past pain and suffering,
$500,000.00 future pain and suffering and $1.5 million for permanent loss of his legs. The appellate court ordered a new
trial if plaintiff did not accept a reduction to $1.25. million for past pain and suffering, $500,000.00 for future pain and
suffering and $1.25 for permanent loss of his legs.

        FN68. 634 N.Y.S.2d 93, 221 A.D.2d 277 (N.Y.A.D. 1 Dept. 1995).
                                            [FN69]
Chung v. New York City Transit Authority           is another case in which the plaintiff's legs were severed by a subway
train. The jury awarded a staggering $62,226,600.00 million, which the trial court remitted to $5 million. The appellate
court reduced the award even further, to $2.7 million, and ordered a second trial on the issue of past pain and suffering.
At the second trial, the jury awarded $2.7 million for past pain and suffering. The trial court remitted that number to $1.5
million, and the appellate court further lowered the award to $600,000.00.

        FN69. 624 N.Y.S.2d 224, 213 A.D.2d 619 (N.Y.A.D. 2 Dept. 1995).
                                                      [FN70]
Even in Shea v. New York City Transit Authority,               cited by plaintiff in *35 opposition to Baker's motion for re-
mittitur, the trial court ordered a remittitur of the jury's award from $25,765,000.00 to $14,830,710.00 as the maximum
recovery. available to the plaintiff who also lost both legs in a subway accident. The judgment was reversed on appeal on
other grounds, but, again, the appellate court commented that even with. the remission the damage award was excessive:
“We note that the award of damages, even as reduced by the court, deviated materially from what would be reasonable
compensation.”

        FN70. In Lucas v. New York Transit Authority, 735 N.Y.S.2d 609 (App. Div. 2001), another mentally unstable
        plaintiff jumped in front of a subway train, which severed both of his legs below the knee. The appellate court
        held that the jury's award of $3 million for pain and suffering did not “shock the conscience.” In Foley v. Clark
        Equipment Co., 523 A.2d 379 (Pa. Super 1987), plaintiff was struck by a forklift, leading to the subsequent am-
        putation of both legs. The jury awarded $15 million. The appellate court remanded for a new trial on other
        grounds, but noted that it would otherwise have found the $15 million verdict excessive: “Were the plaintiff to
        invest the $15 million, he could generate an annual income of $900,000.00, far exceeding his earning capacity.”

Shea illustrates the wisdom of Lebron's ruling that only reported cases are relevant in analyzing an award under the
“maximum recovery” rule. None of the reported verdicts from other jurisdictions approaches the award in this case, ex-
cept the jury award in Chung, which was reduced on appeal. However, were this court to review analogous awards in un-
reported cases, it would find that only one award in one case approaches the amount in this case, and even that award is
                                                        [FN71]
nearly $12 million lower than the jury's award to Seth.

        FN71. Unnamed Civil Action, No Docket Number Given (Chataqua Cty., NY 2000)(a 52-year-old plaintiff had




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 22
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 22




        both legs amputated due to complications from medical malpractice; jury award of $17.2 million, consisting of
        $11 million past pain and suffering and $6.2 million future pain and suffering); Howell v. Posadas, Case No. 93
        L 9302 (Cook Cty., IL 2000) (45-year-old plaintiff's a loss of blood flow resulted in the surgical amputation of
        both legs above the knee; jury awarded $10,620,000.00 general damages); Gailarzo v. Hyster Co., Case No.
        715474 (Orange Cry., CA 1997) (49-year-old plaintiff awarded $3 million for loss of legs crushed by a forklift);
        Alderete v. Missouri Pac. Ry. Co., No Docket Number (Webb Cty., TX 1995)(thirteen-year-old plaintiff awar-
        ded $3,625,000.00 for loss of both legs after falling under a moving boxcar); Harris v. Southern Pac. Transp.
        Co., Case No. SCC 24504 (Los Angeles Cry., CA 1993)(train severed both of 34-year-old welder's legs below
        the knee; jury awarded $3.7 million, but the parties settled on appeal for $1.8 million); Palarno v. City of Austin,
        Texas, 178 F.3d 968, 981 (5th Cir. 1996); Willet v. Western Oceanic, Inc., 117 F.R.D. 379, 382 (E.D. La. 1987).

*36 The only argument advanced below to justify the jury's award was that Seth's injuries were unique. The district court
indeed denied the motions for remittitur on that basis. Seth's injuries were unquestionably extreme, but they were not any
more extreme than the pain endured by others with similar extreme injuries in other cases where this court reduced the
         [FN72]
damages.         While one may argue, rather grotesquely, that legs severed by a train are worthy of less compensation
than legs severed by a corex cable, there has been no attempt to distinguish the suffering endured by the young man in
Snearl from that endured by Seth, because frankly no rational distinction can be made.

        FN72. cf, Dixon, 754 F. 2d at 589, where this Court noted that the extreme pain and suffering endured by the
        plaintiff “was initially as intense as the human body and mind can bear” and continued for several months.
        Plaintiff had been pierced in the abdomen by a sapling in a tractor accident and lost both testicles and all of the
        skin on his penis and abdomen from the navel to the groin. As noted supra, this Court reduced the award from
        $2.8 million to $500,000.

Seth's suffering, predictably and understandably, was bound to engender the natural sympathies of any jury. But even
taking those sympathies into account, it is patently obvious that the award is extraordinarily high. The sheer magnitude of
the award raises both eyebrows, indicating a jury overwhelmed by passion, prejudice, bias or perhaps even anger against
the defendants for having put Seth, a true innocent, into harm's way without paying more attention to his safety. But
emotion is not a *37 proper motive on which to base an award. The award in this case is so disproportionate that reduc-
                                                                   [FN73]
tion is not an adequate remedy and a new trial should be ordered.

        FN73. Wells v. Dallas Independent School District, 793 F. 2d 679, 683-684 (5th Cir. 1986)(“[A]t some point on
        the scale an excessive award becomes so large that it can no longer be considered merely excessive. At that
        point, when an award is ‘so exaggerated as to indicate bias, passion, prejudice, or corruption, or other improper
        motive,”’ remittitur becomes inadequate and an unqualified new trial should be granted.

                                               2. The disfigurement award

The verdict form submitted to the jury contained a separate line-item for “Disfigurement and Scarring.” Baker made a
timely and proper objection to this line-item as already included in the line-items for past and future physical and mental
                    [FN74]
pain and suffering.         The objection was overruled. Thus, in addition to $22 million awarded for past and future
mental and physical pain and suffering and disability, the jury awarded an additional $7 million for “disfigurement and
scarring.” The inclusion of a separate line-item for disfigurement and scarring invited the jury to make an erroneous and
impermissible double award for the same damages.

        FN74. Baker's written objection was made on the verdict form itself: “Baker objects to this line claiming in-
        cluded in above.” RE 15:1968. This was sufficient to preserve the issue on appeal. See McDaniel v. Anheuser-




                              © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 23
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 23




        Busch, Inc., 987 F. 2d 298, 307 (5th Cir. 1993).

Since at least the early part of the twentieth century, courts have allowed recovery for tortious disfigurement and scar-
                                                                                 [FN75]
ring, but generally only as a subset or *38 form of mental anguish or suffering.         Research has found no decision
from this Court or the Louisiana Supreme Court that squarely addresses the precise issue of double recovery.

        FN75. See, e.g., Erie R. Co. v. Collins, 253 U.S. 77, 85-86, 40 S.Ct. 450, 453 (1920) (allowing recovery for the
        “shame or humiliation” and “mental pain” stemming from “personal mutilation or disfiguration”); see also, Mc-
        CORMICK ON DAMAGES § 88 (West 1935) (recognizing “disfigurement” as part of the damages recoverable
        for pain and suffering and mental anguish).

However, the Louisiana Fourth Circuit Court of Appeal has twice overturned a disfigurement and scarring award as an
impermissible double recovery of mental and physical pain and suffering: “[D]isfigurement and scarring has as an integ-
                                                                                                         [FN76]
ral part of their substance the mental pain and anguish that accompany such disfigurement and scarring.”        In a case
involving a leg amputation, the First Circuit Court of Appeal likewise held that damages for disfigurement and scarring
                                                                   [FN77]
were at least partly encompassed by other awards to the plaintiff.        Doctrinal jurisprudence confirms the rationale
of these cases that disfigurement and scarring damages stem from the mental pain and anguish a plaintiff suffers as a res-
                 [FN78]
ult of the tort.

        FN76. Smith v. Juneau, 95-0724 (La. App. 4 Cir. 4/9/97), 692 So.2d 1365, 1385; accord, Brown v. Southern
        Baptist Hosp., 96-1990, 96-1991 (La. App. 4 Cir. 3/11/98), 715 So.2d 423,434, writs denied, 98-1186, 98-1348
        (La. 5/29/98), 720 So.2d 672.

        FN77. Day v. South Line Equip. Co., 551 So.2d 774, 787-88 (La. App. 1 Cir. 1989), writ denied, 553 So.2d 474
        (La. 1989) (plaintiff received $500,000.00 for physical and mental pain and suffering, $400,000.00 for lost fu-
        ture earnings and earning capacity, and $1 million for disfigurement and scarring; court of appeal reduced dis-
        figurement and scarring award to $625,000.00).

        FN78. See, e.g., Dobbs, 2 THE LAW OF TORTS § 377 (West 2000) (“Any form of unpleasant emotional reac-
        tions to the injury or its consequences, so long as it is proximately related to the tort, is a basis for the pain and
        suffering recovery. Disfigurement, for example, may cause mental pain or embarrassment . . .”); 22 AmJur 2d
        Damages § 256 (“Damages may be awarded for the embarrassment or humiliation that results from scarring or
        disfigurement,”); 25 C.J.S. Damages § 66 (“[M]ental pain in contemplation of a permanent mutilation or disfig-
        urement of the person may be considered as an element of damage”); Gerald W. Boston, 2 STEIN ON PER-
        SONAL INJURY DAMAGES § 8:5 (“The mental anguish, the sense of loss and burden, and the inconvenience
        [suffered by] a person who is substantially crippled in body or limb . . . are all included in the concept of pain
        and suffering”); Id. § 8:2 (“the term pain and suffering covers disfigurement and deformity”); Jerome H. Nates,
        et al., I DAMAGES IN TORT ACTIONS § 8.30 (characterizing “disfigurement” as simply a basis for recovery
        of “loss of enjoyment of life” damages).

*39 In opposition to the post-trial motions, plaintiff cited several cases as support for the proposition that disfigurement
                                                               [FN79]
and scarring can be awarded as a separate item of damages,             but those cases are distinguishable. For example, in
                                   [FN80]
Johnson v. Offshore Express, Inc.,        the issue of double recovery was never raised, and the award contained no sep-
arate recovery for mental pain and anguish, as there was in this case.

        FN79. Opp. at pp. 4-5; R,15:2443-44.




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 24
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 24




        FN80. 845 F.2d 1347 (5th Cir. 1988).
                                                         [FN81]
Research has found no Jones Act case squarely on point,          but there is precedent in this Court that a seaman is not
entitled to recover the same damages twice simply by separating them out into differently named categories. In Sosa v.
                    [FN82]
M/V Lago Izabal,           a badly burned and partially paralyzed seaman was awarded $6,000.00 per year for
“rehabilitative items” designed to make him more comfortable and independent as part of future medical expenses. This
Court reversed and *40 remanded to the trial court for reconsideration, noting that “[t]o the extent that these rehabilitat-
ive items are not medical expenses but merely serve to alleviate physical suffering or mental anguish, they duplicate the
                                       [FN83]
$10 million pain and suffering award.”

        FN81. The Jones Act case cited by plaintiff, Johnson v. Offshore Express, Inc., 845 F.2d 1347 (5th Cir. 1988), is
        distinguishable.

        FN82. 736 F.2d 1028 (5th Cir. 1984).

        FN83. Sosa, 736 F. 2d at 1034.

In this case, adding a separate line-item in the verdict form for disfigurement and scarring invited the jury to make a sep-
arate award for that item and resulted in an impermissible double recovery for the same physical and mental pain or dis-
ability already included in separate line-items. The award should therefore be reversed.

                                                      3. Life Care award

As noted in Sosa, above, duplicate awards for mental anguish, masquerading as future medical costs, are not recoverable.
                                                                   [FN84]
This Court reached the same conclusion in Lebron v. United States,         where it questioned “whether part of the med-
ical expense award may duplicate part of the awards for intangible harms.”

        FN84. 279 F.3d 321,329 (5th Cir. 2002). The award there “included equestrian and aquatic therapy, which the
        court . . . suggest[ed] . . . was [partly] compensating for the emotional harms caused by the defendant's negli-
        gence.” The court remanded the case “for a determination of which items were compensable medical expenses
        and which duplicated the intangible awards.”

Here, the jury awarded $11 million for future medical and life care expenses, based largely on the testimony of plaintiff's
life care expert, Anthony Choppa, and plaintiffs economist, Dr. Douglas Womack, who projected future medical ex-
                                                                                                         [FN85]
penses *41 to range between $6.9 million and $10.6 million. The Life Care Plan prepared by Dr. Choppa            however
contains a number of projected future medical expenses that serve only to ameliorate plaintiff's future mental suffering
and are therefore not recoverable under Sosa and Lebron. For example, the Plan includes the following items:

        FN85. See Choppa Life Care Plan, Exhibit P1-32, pp. 7, 15-16; Tr. at 1039, 1051-54.

Sports prostheses (18,000.00 per leg at least every     $1,620,227.00
five years for 30 years)
Maintenance on sports prostheses ($250.00 per leg       $ 12,975.00
per year for 30 years)
3-wheel motorcycle kit                                  $ 15,000.00
Health club membership ($34.00 per month for 30         $ 14,804.00
years)




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 25
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 25




Mono ski ($8,000.00 every five years for 26 years)      $ 42,365.00
Maintenance on mono ski ($500.00 per year for 26        $ 15,886.00
years)
Ski school                                              $ 5,000.00
Power chair                                             $ 98,636.00
Chore Service/Maid                                      $ 228,867.00
Gen. maintenance worker                                 $ 57,727.00
Wheelchair acc. home                                    $ 23,500.00
Job site modification                                   $ 4,500.00
Van                                                     $ 37,625.00
Van maintenance                                         $ 3,527.00
Hand controls                                           $ 23,604.00
TOTAL                                                   $2,204,243.00

Under Sosa, at least $2.2 million of the Life Care Plan duplicates the general damages award.

                                                4. Future medical expenses

*42 The projected future medical expenses also include costs for above-the-knee prosthetics based on the testimony from
Dr. Smith that Seth will probably need above-the-knee amputations at some point in the future, although Dr. Smith could
not say when exactly over the course of Seth's life that “probability” would occur. According to Dr. Meier, a board certi-
fied specialist in _physical medicine and rehabilitation with over 25 years experience in treating amputees, Seth should
never have to lose eider of his legs above the knees.

Whether or not the jury was within its discretion to credit Dr. Smith over Dr. Meier about the need for future amputa-
tions, the projected costs of future above-the-knee prosthetics are wildly inflated and speculative. Those costs were cal-
culated on the assumption of 10% annual increases beginning in three years and continuing for the next fifty years, with
a maximum future cost projected to reach one million dollars per leg for prosthetics that today cost no more than $45,000
each. These amounts should be deducted from the jury's award.

                                                    5. Future lost wages

The jury's award of $3 million in lost wages was based on the testimony of Dr. Womack, who projected future lost earn-
ings of roughly $3.1 million. It was undisputed that plaintiff will be able to find employment at a salary of $24,000.00
per year. Dr. Womack opined however that but for the accident Seth would have earned the highest salary for a petro-
                                                                                                         [FN86]
leum engineer in the United States, or $58,000.00 a year, *43 for the first five years of employment.             In the fifth
year of Seth's employment, Dr. Womack assumed that Seth's salary would increase to $150,000. That figure was based
on the assumptions made by other experts that Seth would be entitled to certain completion bonuses, after working in the
                                                                          [FN87]
field for several years, or would accept employment in the Middle East.          Dr. Womack nearly, tripled his projection
of Seth's future earning capacity based on speculation about job opportunities that Seth might be offered and might ac-
                                  [FN88]
cept five years after graduation,        with no certainty that such job opportunities were likely even to occur.

         FN86. T, 36:1142.




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 26
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 26




         FN87. T, 36:1150.

         FN88. T, 38:1210-12.

Upon request during cross-examination, Baker's expert showed the jury that calculations of the present value of a starting
                                                                                                   [FN89]
annual salary of $56,000.00, projected over Seth's expected work life, totaled only $1,174,000.00.        Baker suggests
this amount as the most that a reasonable jury could award for lost future wages, and the jury's award should be reduced
accordingly. Any greater award would be based on impermissible speculation.

         FN89. T, 38:1405.

                                             C. Tidewater's Gross Negligence
                                                                                           [FN90]
A district court's decision to exclude evidence is reviewed for abuse of *44 discretion.            An erroneous evidentiary
                                                                      [FN91]
ruling is reversible when it deprives a party of a substantial right.

         FN90. St. Romain v. Industrial Fabrication and Repair Service, Inc., 203 F.3d 376, 381 (5th Cir. 2000); Davis v.
         Odeco, Inc., 18 F.3d 1237, 1247 (5th Cir. 1994).

         FN91. Brunet v. United Gas Pipeline Co., 15 F.3d 500, 505 (5th Cir. 1994).

The Blanket Time Charter between Baker and Tidewater contains a reciprocal indemnity agreement obligating Baker and
Tidewater to indemnify each other for the other's negligence. Baker is required to indemnify Tidewater for “any liability
for injury to, illness or death of [any Baker employees], . . . however said injury, illness or death arises or occurs, wheth-
                                                                                                               [FN92]
er through the negligence in whole or in part of [Tidewater], unseaworthiness of any vessel or otherwise.”

         FN92. Baker Ex. 4, Blanket Time Charter, ¶ XIV. But for the recent decision in Demette v. Falcon Drilling
         Company, Inc., 280 F.3d 492 (5th Cir. 2002), the indemnity agreement is arguably not enforceable under §
         905(b) of the LHWCA as a matter of law. To the extent Demette is not applicable to the facts of this case, Baker
         re-urges its immunity under that provision as an additional defense to the indemnity claims.

The contract is silent as to Baker's obligation to indemnify for Tidewater's gross negligence. Evidence of Tidewater's
gross negligence emerged during discovery, after the district court had granted Tidewater's summary judgment but before
Tidewater's Underwriters had filed their motion for summary judgment. Ronald Campana, plaintiff's maritime expert, is-
sued an expert report that stated that “Captain Givens was grossly negligent in the performance of his duties in not in-
forming the O.I.M. that his vessel was not anchored.” Baker Proffer No. 1, *45 Campana Expert Report, p. 6.

Baker asserted Tidewater's gross negligence as a disputed issue of material fact in opposition to the Underwriters' mo-
tion, and moved for reconsideration of Tidewater's summary judgment before trial. The district court declined to consider
the evidence, declined to reconsider its prior summary judgment and granted the Underwriters' motion. The effect of the
summary judgments was to rule the testimony inadmissible or irrelevant to the issue of Baker's indemnity obligations.

At trial, the district court refused to charge the jury on gross negligence or let the jury even consider the issue. Accord-
ingly, Baker placed Campana's testimony into the record as a proffer. RE 17:885-892. Campana testified that the Tidewa-
ter's captain “never achieved the standards” of good seamanship, but “fell well below the standards.” RE 17:889. Com-
pana explained that he used the phrase “gross negligence as an adverb defining the term negligence,” (RE 17:889) and
that, “without any legal context whatsoever,” was of the opinion “that Captain Given was grossly negligent in the per-
formance of his duties in not informing the OIM that his vessel was not anchored.” RE 17:890. He also agreed that “the




                                © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 27
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 27




conduct of the Tidewater captain demonstrated a reckless disregard for the safety of men.” R.E 17:890.
                                                     [FN93]
In response to a specific question from the judge,            Compana replied:

        FN93. “Does that mean a lot of negligence or does it mean total disregard for human life?”

*46 I mean it was - in degrees of negligence, it was the highest type of negligence in the performance of his duties in not
telling the rig he wasn't anchored. You have a little negligence and you have a lot of negligence, I appreciate that, but
from our terms as a seaman, the very minimum he could have done was tell the rig he wasn't anchored. The fact that he
                                                                               [FN94]
didn't do so was the highest form of disregard for the standards of the trade.

        FN94. T, 33:894 (emphasis added).

The District Court for the Eastern District of Louisiana has twice held that, when an indemnity provision in a maritime
                                                                                                     [FN95]
contract is silent as to the indemnitee's gross negligence, “[s]uch silence dictates its exclusion.”         This Court
defined gross negligence in the maritime context in Todd Shipyards Corp. v. Turbine Service, Inc.:

        FN95. In the Matter of Torch, Inc., 1996 WL 185765 (E.D.La. 1996) (denying indemnitee's motion for summary
        judgment); In the Matter of TT Boat Corp., 1999 WL 1442054, p. 6 (E.D.La. 1999): “The Court will not read
        ‘gross negligence’ into an indemnity provision in which it is not specifically covered.” See cases cited therein
        supporting the district court's rationale.

Gross negligence, which will invalidate an exemption from liability, has been defined as “. . . harm willfully inflicted or
caused by gross or wanton negligence.” 6A CORBIN ON CONTRACTS § 1472 (1964 ed.) The type of negligence,
                                                                             [FN96]
“ordinary” or “gross”, depends on the particular circumstances of each case.

        FN96. 674 F.2d 401, 411 (5th Cir. 1982); accord, Coastal Iron Works, Inc. v. Petty Ray Geophysical, 783 F.2d
        577, 582 (5th Cir. 1986).
                                                                [FN97]
An expert's opinion as to a legal conclusion is not admissible,        but Campana's testimony that the inactions of Tide-
water's captain showed “the highest form of disregard for the standards of the trade” were certainly probative of the de-
gree of *47 Tidewater's negligence and should have been admitted for the jury's consideration. A reasonable juror could
properly infer from that testimony that Tidewater was guilty of gross negligence. Its exclusion therefore deprived Baker
of a substantial defense to Tidewater's indemnity claim and, as with the exclusion of Parr's testimony, was reversible er-
ror. The summary judgments granted to Tidewater and its insurers should therefore be reversed and the case remanded
for a new trial on the issue of Tidewater's gross negligence.

        FN97. Owen v. Kerr-McGee Corp., 698 F.2d 236,240 (5th Cir. 1983)); accord., Askanase v. Fatjo, 130 F.3d
        657, 673 (5th Cir. 1997).

                                          D. The Case Against the Manufacturers

The district court's evidentiary rulings allowing Killingsworth to change his testimony at trial, in a classic sandbag man-
euver, to implicate Baker as the “ultimate manufacturer” liable for the defective corex hose and reel assembly, was preju-
                   [FN98]
dicial and unfair.        It was completely inconsistent with the pre-trial scheduling order. The court's later ruling refus-
ing to allow Baker's expert to testify on the issue of design defect, under the pretext that his report did not contain that
precise phrase, was also patently unfair and prejudicial to Baker's case against the manufacturers. The combination of
these rulings was reversible error and deprived Baker of substantial rights as a litigant.




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 28
2002 WL 32180622 (C.A.5)
                                                                         of 66
                                                                      Page 28




        FN98. Killingsworth's testimony on Baker's “ultimate responsibility” was an inadmissible legal conclusion un-
        der Rule 704 of the Rules of Evidence. See Owen v. Kerr-McGee Corp., 698 F.2d at 240.

                                      *48 CONCLUSION AND RELIEF SOUGHT

For the foregoing reasons, Baker requests the following relief:

1. The judgment be reversed and rendered in Baker's favor on the issue of Seth's seaman status. The evidence was insuf-
ficient as a matter of law to support a finding that Seth had a substantial connection to a vessel in navigation or that his
assignment to vessel work was permanent or constituted a regular or continuous commitment of his labor to qualify for
Jones Act recovery. Seth's remedies were under the LHWCA.

2. Alternatively, the judgment be reversed and the case remanded for a new trial on the issue of seaman status, with an
order that the testimony from Jamie Parr about Baker's scheduling and employee rotation system be admitted for consid-
eration of Seth's employment-connection to the M/V REPUBLIC TIDE.

3. The summary judgments in favor of Tidewater and Tidewater's Underwriters be reversed and the case remanded for a
new trial on the issue of Tidewater's gross negligence.

4. The judgment on Baker's third-party demand should be reversed and the case remanded for a new trial on the issue of
product defect.

5. Finally, the judgment be reversed and the case remanded for a new trial on the issue of Seth's damages, or, alternat-
ively, the damages be reduced in accordance with the maximum recovery rule.

Seth A BECKER, Plaintiff - Intervenor Defendant - Appellee, v. TIDEWATER INC; Tidewater Incorporated; Twenty
Grand Offshore Incorporated; Tidewater Marine, L.L.C., Defendants - Third Party Plaintiffs - Intervenor Defendants -
Appellees - Appellants, R & B Falcon Drilling USA Inc; Pental Insurance Company, Ltd; Certain Underwriters at Lloyds
Insurance Co; Defendants - Appellants, Baker Hughes Inc; Baker Hughes Oilfield Operations Inc; Baker Oil Tools Inc, a
2002 WL 32180622 (C.A.5 ) (Appellate Brief )

END OF DOCUMENT




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 29 of 66

2002 WL 32180621 (C.A.5)                                                                                 Page 1




For Opinion See 335 F.3d 376

                                        United States Court of Appeals,
Fifth Circuit.
                         Seth A. BECKER, Plaintiff - Intervenor Defendant - Appellee,
                                                           v.
                                      TIDEWATER INC., et al., Defendants,
Tidewater Incorporated; Twenty Grand Offshore Incorporated; Tidewater Marine LLC, Defendants - Third Party
                           Plaintiffs - Intervenor Defendants - Appellees - Appellants,
  R & B Falcon Drilling USA, Inc.; Pental Insurance Company, Ltd; Certain Underwriters at Lloyds Insurance
                                            Co., Defendants - Appellants,
  Hydra Rig, a division of Tuboscope Vetco International LP, Defendant - Third Party Defendant - Third Party
                                                 Plaintiff - Appellee,
                  Hydradyne Hydraulics, Inc., Defendant - Third Party Defendant - Appellee,
                                                           v.
                  Coflexip Stena Offshore Inc., Defendant - Third Party Defendant - Appellee,
                                                           v.
 Baker Hughes Inc.; Baker Hughes Oilfield Operations, Inc., Defendants - Intervenor Defendants - Appellants,
andBaker Oil Tools, Inc., a division of Baker Hughes Oilfield Operations, Inc., Defendant - Third Party Defend-
                           ant - Intervenor Plaintiff - Third Party Plaintiff - Appellant,
   Baker Oil Tools, a division of Baker Hughes Oilfield Operations, Inc., Third Party Defendant - Appellant.
                                     Nos. 01-31420, 01-31421 and 01-31422.
                                                    June 26, 2002.

On Appeal from the United States District Court for the Western District of Louisiana Civ. A. 99-1198

  Appellee Brief of Tidewater Inc., Tidewater Marine, L.L.C., Twenty Grand Offshore, Inc. and Their Under-
                                                   writers

Cliffe E. Laborde III, James D. Hollier, Laborde & Neuner, P.O. Drawer 52828, Lafayette, LA 70505-2828,
(337) 237-7000
STATEMENT REGARDING ORAL ARGUMENT

While there are several issues in this appeal on which the Court may be aided by oral argument, the three issues
addressed by Tidewater are resolvable on the briefs. Should the Court desire oral argument, however, Tidewater
will be pleased to participate.

                                        *iv TABLE OF CONTENTS


CERTIFICATE OF INTERESTED PERSONS ... i

STATEMENT REGARDING ORAL ARGUMENT ... iii




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 30 ofPage
2002 WL 32180621 (C.A.5)
                                                                        66 2




TABLE OF CONTENTS ... iv

TABLE OF AUTHORITIES ... vi

STATEMENT OF THE ISSUES ... 1

STATEMENT OF THE CASE ... 2

STATEMENT OF FACTS ... 5

SLFMMARY OF THE ARGUMENT ... 9

ARGUMENT ... 12

I. Seaman Status ... 12

A. Jury Finding that Plaintiff was a Seaman has Sound Evidentiary Basis ... 12

B. Baker Liable as Time Charterer Regardless Of Plaintiff's Status ... 15

II. Baker Owes Tidewater Defense and Indemnity ... 17

A. District Court Did Not Exclude Evidence ... 20

B. Insufficient Evidence to Warrant Jury Charge ... 26

III. Record Evidence Supports Jury Finding of Falcon Fault ... 30

CONCLUSION ... 37

*v CERTIFICATE OF SERVICE ... 39

CERTIFICATE OF COMPLIANCE ... 41

                                       *vi TABLE OF AUTHORITIES


Askanase v. Fatjo, 130 F.3d 657 (5th Cir. 1997) ... 24

Bannister v. Ullman, 287 F.3d 394 (5th Cir. 2002) ... 13

Campbell v. Seacoast Products, Inc., 581 F.2d 98 (5th Cir. 1978) ... 13

Coastal Iron Works, Inc. v. Petty Ray Geophysical, Div. of Geosource, Inc., 783 F.2d 577 (5th Cir. 1986) ... 28

Cooper Industries, Inc. v. Tarmac Roofing Systems, Inc., 276 F.3d 704 (5th Cir. 2002) ... 26

Cooper v. Offshore Exp., Inc., 717 F.Supp. 1180 (W. D. La. 1989), affirmed, 915 F.2d 1569 (5th Cir. 1990) ...
15, 16

Davis v. Odeco, Inc., 18 F.3d 1237 (5th Cir. 1994) ... 24




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 31 ofPage
2002 WL 32180621 (C.A.5)
                                                                        66 3




Demette v. Falcon Drilling Company, Inc., 253 F.3d 840 (5th Cir. 2001) ... 19

Demette v. Falcon Drilling Company, Inc., 280 F.3d 492 (5th Cir. 2002) ... 20

Federal Barge Lines, Inc. v. SCNO Barge Lines, Inc., 711 F.2d 110 (8th Cir. 1983) ... 16

Gautreaux v. Scurlock Marine, Inc., 107 F.3d 331 (5th Cir. 1997) ... 17

Kerr-McGee Corp, v. Ma Ju Marine Services, Inc., 830 F.2d 1332 (5th Cir. 1987) ... 16

McDermott Intern., Inc. v. Wilander, 498 U.S. 337, 111 S.Ct. 807, 112 L.Ed.2d 866 (1991) ... 12

Moore v. Phillips Petroleum, 912 F.2d 789 (5th Cir. 1990) ... 15

Owen v. Kerr-McGee Corp., 698 F.2d 236 (5th Cir. 1983) ... 24

Rodriguez v. Riddell Sports, Inc., 242 F.3d 567 (5th Cir. 2001) ... 26

*vii Scindia Steam Nav. Co., Ltd. v. De Los Santos, 451 U.S. 156, 101 S.Ct. 1614, 68 L.Ed.2d 1(1981) ... 17

Serbin v. Bora Corp., Ltd., 96 F.3d 66 (3rd Cir. 1996) ... 17

Snyder v. Whittaker Corporation, 839 F.2d 1085 (5th Cir. 1988) ... 34

St. Romain v. Industrial Fabrication and Repair Service, Inc., 203 F.3d 376 (5th Cir. 2000) ... 23, 24

Wagner v. McDermott, Inc., 79 F.3d 20 (5th Cir. 1996), cert. denied, 519 U.S. 945, 117 S.Ct. 333, 136 L.Ed.2d
246 (1996) ... 20

STATUTES

F.R.C.P. 54(b) ... 3, 19

33 U.S.C. § 905(b) ... 2, 16, 17, 18, 20

33 U.S.C. § 905(c) ... 19, 20

F.R.E. 802 ... 25

                                       *1 STATEMENT OF THE ISSUES

1. The jury found that plaintiff was a Jones Act seaman, on evidence that plaintiff had been assigned by Baker to
work as one of the essential members of the crew of an offshore supply vessel. Should the jury's verdict be dis-
turbed?
2. Tidewater claimed that Baker owed defense and indemnity to Tidewater under the Time Charter between the
parties. Baker contested the indemnity clause by arguing that Tidewater was guilty of gross negligence and that
the district court excluded expert testimony supporting Baker's defense. Did the district court err in enforcing the
indemnity clause where (1) the expert testified that his descriptive use of the term gross negligence was not in-
tended to convey a legal standard, and (2) Baker failed to present evidence from the expert after being invited to
do so by the district court?




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 32 ofPage
2002 WL 32180621 (C.A.5)
                                                                        66 4




3. Falcon's Offshore Installation Manager (“OIM”), who was primarily responsible for the safety of personnel on
the Falcon drilling rig, admitted to several critical mistakes by Falcon employees before plaintiff's accident. Did
those admissions give the jury a reasonable evidentiary basis for concluding that Falcon was partially at fault in
causing plaintiff's accident?

                                        *2 STATEMENT OF THE CASE

Seth Becker lost both of his legs just below the knees in an accident that occurred while he was working on a
well stimulation job in the Gulfof Mexico. Suit was filed on his behalf against the following parties:
(1) Baker Hughes, Inc., and plaintiff's employer, Baker Oil Tools, Inc., a Division of Baker Hughes Oilfield Op-
erations, Inc. (“Baker”) for negligence under the Jones Act and general maritime law, and alternatively, under
33 U.S.C. §905(b) of the Longshore and Harbor Workers' Compensation Act (“LHWCA”).
(2) Twenty Grand Offshore, Inc., and Tidewater Marine, L.L.C., (“Tidewater”), as owner and operator of the M/
V Republic Tide, an offshore supply vessel under time charter to Baker, for unsea worth iness and general mari-
time law negligence; alternatively, under 33 U.S.C. §905(b) of the LHWCA. Plaintiff subsequently joined Tide-
water's underwriters as defendants.
(3) R & B Falcon Drilling, USA, Inc. (“Falcon”), the owner and operator of the jack-up drilling unit on which
plaintiff was injured, for general maritime law negligence.
(4) Energy Resource Technology, Inc. (“ERT”), the well operator, for platform-based negligence.
(5) Coflexip Stena Offshore, Inc. (“Coflexip”), Hydradyne Hydraulics, Inc. (“Hydradyne”) and Hydra Rig, a di-
vision of Tuboscope Vetco International, L.P. (“Hydra Rig”), the manufacturers of the coflex hose and reel as-
sembly installed by Baker on the M/V Republic Tide, for a defective product.

Tidewater filed a cross claim against Baker for contractual defense and indemnity under the terms of the Time
                                                                                                  [FN1]
Charter in effect between Tidewater and *3 Baker at the time of the accident. (R, 4: 520-522).           The district
court granted summary judgment on this cross claim prior to trial. Tidewater moved to certify the district court's
ruling as a final judgment under F.R.C.P. 54(b), but the district court refused to do so. (R, 8: 1049; R, 9: 1312).

         FN1. References to the record are to the volume and page number, as in “(R, 1: 77)”. References to the
         transcript are also designated by volume and page number, such as “(T, II: 168)”. Record excerpts are
         designated such as “(RE 1)”.

When plaintiff amended his complaint to add Tidewater's underwriters as defendants, those underwriters filed a
similar cross claim against Baker for contractual defense and indemnity, and followed that pleading with a mo-
                             [FN2]
tion for summary judgment.          The district court granted underwriters' motion. (R, 9: 1214-1217; R, 9:
1292-1296; R, 10: 1412-1428; R, 13: 1884).

         FN2. Plaintiff's amended complaint named Certain Underwriters at Lloyds Insurance Company as a de-
         fendant. Tidewater answered on behalf of Certain Underwriters at Lloyds, Subscribing to Risk No. LEO
         106200, and the Judgment and Amended Judgment contain the corrected reference. (R, 9:1292-1296; R,
         14:2224-2231; R, 16:2509-2517).

Notwithstanding the district court's rulings, Baker persisted in its refusal to honor its contractual obligation to
defend and indemnify Tidewater and its underwriters, and continued to fight application of the indemnity clause
of the Time Charter. Consequently, Tidewater defended itself at the trial, during which Baker stood alone in
seeking to have Tidewater found guilty of gross negligence so that Baker could try to use that finding to evade
its indemnity obligation.




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 33 ofPage
2002 WL 32180621 (C.A.5)
                                                                        66 5




*4 With complete agreement of the parties, the district court bifurcated the question of plaintiff's status from the
other issues in the case. (T, XIII-A: 1669-1670). After the jury found plaintiff to be a seaman, the jury was
charged on the remaining issues and deliberated on liability, apportionment, and damages. The jury found that
65% of the responsibility lay with Baker, 30% with Tidewater, and 5% with Falcon. Coflexip, Hydra Rig and
                             [FN3]
Hydradyne were exonerated.         Plaintiffs damage award exceeded $43 million. (R, 14: 2088-2091).

        FN3. ERT's oral motion for judgment as a matter of law was granted at trial, and it was dismissed from
        the case. (R, 14: 2074).

Judgment was entered in favor of plaintiff on the jury verdict. Judgment was also entered in favor of Tidewater
and its underwriters on the contractual indemnity claim against Baker on that portion of the damage award that
                                       [FN4]
had been rendered against Tidewater.         (R, 14: 2224-2231). The district court denied post-trial motions by
the defendants on various issues. (R, 16:2507).

        FN4. The judgment was subsequently amended on October 30, 2001 to include judicial interest. (R, 16:
        2509-2517).

The defendants' appeal the damage award as excessive. Baker appeals the jury determination that plaintiff was a
seaman and renews its challenge to the contractual indemnity obligation it owes to Tidewater. Falcon challenges
the evidentiary basis for the jury's imposition of liability on Falcon.

                                         *5 STATEMENT OF FACTS

The M/V Republic Tide, a 226-foot special purpose supply vessel owned and operated by Tidewater, was work-
ing for Baker under a Time Charter and was assisting with Baker's well stimulation operations being conducted
for ERT at the time in question. (T, I: 75-77; T, II: 135-136). Under the Time Charter, Baker was responsible for
maintaining and operating equipment that Baker had installed on the vessel so that Baker could perform special-
ized services on oil and gas wells, while Tidewater was in charge of the operation, navigation, and maintenance
of the vessel. (T, II: 168, 187; T, III: 450, 462).

The Baker equipment on the vessel included pumps, tanks, and a reel assembly around which was wound a
stainless steel coflex hose. The coflex hose could be spooled out from the reel so that Baker materials stored in
tanks on the vessel could be pumped directly from the vessel to the wellhead. (T, II: 176-177; T, III: 367-368,
411). There was a “quick release” mechanism on the reel assembly that was supposed to immediately disconnect
the cofiex hose from the reel in the event of an emergency, which in turn would allow the vessel to move away
from the rig. (T, II: 128-129). Baker's well stimulation work was performed by its crew of six Baker employees,
each of whom was assigned by Baker to live *6 and work aboard the M/V Republic Tide. (T, III: 452-453). The
Tidewater crew complement consisted of eight persons who were likewise assigned to the vessel.

Plaintiff boarded the vessel with the other Baker employees the day before his accident on a crew change. (RE
2-Tidewater Trial Exhibit 3C). Once the fresh Baker crew was aboard the vessel, the M/V Republic Tide depar-
ted Port Fouchon for a Falcon jack-up drilling rig in East Cameron Block 38 in the Gulf of Mexico. (RE
2-Tidewater Trial Exhibit 3C). On arrival at the location, the vessel attempted to set her anchor. During that ef-
fort, a seal ruptured on the anchor windlass, causing a major leak of hydraulic fluid, and the attempt was abor-
ted. (T, II: 98-99). The captain decided to hold the bow of the vessel in position with the bow thruster, a com-
mon practice on such jobs, while the vessel's stem was moored to the rig with two, 4-inch polypropylene lines,
secured at both port and starboard. (T, II: 101-102, 167).




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 34 ofPage
2002 WL 32180621 (C.A.5)
                                                                        66 6




The captain was stationed at the vessel's stem controls. Four of the Baker crewmen, including the plaintiff, were
lifted up to the Falcon rig by a personnel basket so they could set up the Baker equipment on the rig. The other
two Baker crewmen remained aboard the vessel and prepared for the pumping operation. (T, VIII: 1421-22). The
coflex hose was spooled off of the reel assembly and lifted up to the drilling rig with the Falcon crane. The
coflex hose was snaked along the *7 catwalk on the main deck and up the V-door to the drill floor, where it was
connected to the well manifold so that Baker could conduct pumping operations directly from the vessel into the
well. (T, II: 176-177).

At approximately 9:30 a.m., without any prior warning, the bow thruster on the M/V Republic Tide throttled
                                            [FN5]
down to idle speed. (T, II: 254, 258, 295).       The vessel captain immediately contacted the Falcon crane op-
erator by radio to report the problem, and instructed the Tidewater engineer on the vessel to check on the
thruster. (T, II: 255, 258-259). The captain attempted to hold the vessel's position and heading using the two
main engines, but he was having difficulty overcoming the seas that were pushing the vessel over to starboard.
The pressure of the current against the vessel caused the port stem line to part. (T, II: 259-260).

        FN5. While Falcon claimed that the M/V Republic Tide reported bow thruster problems before it even
        arrived on location, the Baker and Tidewater personnel denied this allegation. (T, II: 161-162, 219-220,
        294-295; T, III: 340, 390; T, VIII: 1473-1474).

The captain then instructed the Baker hands on the vessel to activate the quick release on Baker's reel assembly
to disconnect the cofiex hose from the vessel. However, the quick release did not work, and the cofiex hose grew
increasingly tight as the seas continued to push the vessel over to starboard. (T, II: 270-271). The captain radi-
oed the Falcon crane operator a second time, and told him that the cofiex hose needed to be disconnected from
the rig, since the captain *8 was not certain how long he would be able to hold the vessel in position. (T, II: 265;
T, IV: 663-664).

Donald Frederick, Falcon's toolpusher, was standing on the drill floor with the Baker crew members when the
bow thruster throttled down. (T, IV: 630). Frederick was immediately informed over the intercom by the Falcon
crane operator of the vessel's situation and that the coflex hose needed to be disconnected on the rig. (T, IV:
663-664). Frederick knew at that moment that he had an emergency on his hands. (T, IV: 646, 657).

All four of the Baker crewmen aboard the rig immediately left the drill floor, walked down the stairway to the
main deck and proceeded along the catwalk to a hammer union where the coflex hose was connected. (T, II:
189-190; T, IV: 631-633). Although Frederick knew that the rig under his command was faced with an emer-
gency, he watched as the Baker crewmen marched directly into harm's way, and Frederick made no effort to
warn the Baker crewmen of the danger that any second the coflex hose might be pulled tight by the vessel. (T,
IV: 646, 657, 684-685). While the Baker crewmen were trying to disconnect the coflex hose from the hammer
union, the hose was pulled tight, pinning the plaintiff against a backstop on the rig, causing severe injuries to
him.

                                    *9 SUMMARY OF THE ARGUMENT

Tidewater addresses three issues in this brief: (1) seaman status; (2) the district court's judgment that Baker owes
Tidewater defense and indemnity under the Time Charter; and (3) Falcon's fault. On these three issues, the jury
findings and the district court's judgment should be affirmed.

                                                 I. Seaman Status




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 35 ofPage
2002 WL 32180621 (C.A.5)
                                                                        66 7




Baker was conducting well stimulation activities from the M/V Republic Tide, a supply vessel which had been
rigged and outfitted to Baker's specifications for that purpose. Plaintiff was assigned to the vessel as one of six
essential members of the Baker crew that was required to perform well stimulation work. Plaintiff boarded the
vessel on a regular crew change with his other Baker co-workers. Plaintiff understood that he was assigned to
this vessel for the duration of the job and until he received a new assignment.

The record evidence is legally sufficient to justify the jury's verdict that plaintiff was a seaman under the Jones
Act. Baker argues that the jury verdict should be set aside so that plaintiffs remedy against Baker is limited to
compensation benefits under the LHWCA. However, even if plaintiff is a longshoreman, Baker is liable to the
same extent in its capacity as time charterer of *10 the vessel, because Baker retained operational control over
the Baker equipment and employees aboard the vessel.

                                                   II. Indemnity

The Time Charter between Tidewater and Baker contains an indemnity provision which requires Baker to de-
fend and indemnify Tidewater for claims by Baker employees caused in whole or in part either by Tidewater's
negligence or the unseaworthiness of its vessel. The district court ruled on four different occasions that Baker
was contractually obligated to Tidewater for defense and indemnity. Baker argues - without support from any
other party - that Tidewater's negligence amounted to gross negligence, which Baker claims is not covered by
the indemnity provision of the Time Charter. Baker contends that the district court excluded testimony from an
expert that would have supported a finding of gross negligence against Tidewater. However, the expert clearly
explained that he did not intend to characterize Tidewater's conduct as reckless, willful or intentional, and did
not use the term “gross negligence” in his report in any legal manner whatsoever. The record confirms that
rather than improperly excluding evidence, the district court actually invited Baker to question the expert in
front of the jury. Baker declined, and chose instead to present the expert's *11 report as a proffer. As a result,
there was no evidence put before the jury which justified a jury charge or an interrogatory on gross negligence.

                                               III. Falcon Liability

The jury found Falcon five percent at fault for plaintiff's injuries. Donald Frederick, Falcon's OIM, was respons-
ible for the safety of all personnel aboard the rig, and recognized that he had an emergency on his hands three to
five minutes before plaintiff's accident. During that critical interval, Frederick watched as plaintiff and his co-
workers proceeded into an area of imminent danger on the rig, and Frederick made no attempt to warn or convey
the existence of an emergency to them. Frederick also admitted a critical mistake in failing to utilize the superior
vantage point of the Falcon crane operator, who from his position in the crane was able to track the movement of
the vessel and the consequent tightening of the coflex hose. Frederick's testimony provided a sufficient basis for
the jury's conclusion that Falcon was partially at fault in causing the accident.

                                                *12 ARGUMENT

Tidewater addresses three issues on this appeal: (1) Record evidence supporting the jury's verdict that plaintiff
was a seaman; (2) The district court's ruling that Baker owes Tidewater and its underwriters contractual defense
and indemnity; and, (3) Record evidence supporting the jury's finding of liability against Falcon.

                                              I. SEAMAN STATUS

                  A. Jury Finding that Plaintiff was a Seaman has Sound Evidentiary Basis




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 36 ofPage
2002 WL 32180621 (C.A.5)
                                                                        66 8




Under the Jones Act, if reasonable persons applying the proper legal standard could disagree as to whether a
plaintiff is a member of the crew of a vessel, then plaintiffs status is a question for the jury. McDermott Intern.,
Inc. v. Wilander, 498 U.S. 337, 356, 111 S.Ct. 807, 818, 112 L.Ed.2d 866 (1991). Given that essential facts were
in dispute regarding plaintiff's status, the district court was correct in submitting the question to the jury, the po-
sition Baker supported during trial. (T, VIII: 1654, 1658). The jury was properly charged, there were no objec-
tions to the instructions, and the jury found plaintiff to be a Jones Act seaman. (T, XIII-A: 1669; T, IX: 1730).
Because that finding is supported by record evidence, it cannot be disturbed on appeal.

*13 Aggrieved by the jury's determination that plaintiff was a seaman, Baker appeals that finding and contends
that the standard of review is de novo. (Baker brief p. 18, citing Bannister v. Ullman, 287 F.3d 394 (5th Cir.
2002)). Baker is wrong. The applicable standard of review for sufficiency of the evidence in a Jones Act claim is
whether there is a reasonable evidentiary basis for the jury's verdict. Campbell v. Seacoast Products, Inc., 581
F.2d 98, 99 (5th Cir. 1978). That standard is satisfied here.

Baker was the time charterer of the MN Republic Tide, a special purpose supply vessel that had been completely
rigged out with Baker equipment installed aboard the vessel to Baker specifications. (T, I: 76; T, III: 450-452,
457). After the vessel was modified with the Baker equipment, offshore well servicing operations were per-
formed by Baker using its equipment and crewmen aboard the vessel. The six Baker employees who lived and
worked aboard the M/V Republic Tide operated and maintained the Baker equipment. (T, III: 462). Baker ad-
mits that five out of its six crewmen were seamen, but Baker - and Baker alone - contends that plaintiff does not
qualify for seaman status because he had only been working for Baker the last three summers. (R, 13: 2064, pp.
16-17).

Evidence was introduced which established that plaintiff was assigned to the MN Republic Tide on June 7,
1999, and he reported to the vessel with his *14 fellow crewmen on a scheduled crew change. (T, II: 238, RE 2).
Although plaintiff was new to the vessel, he was an essential member of the Baker crew assigned to work aboard
the vessel. (T, III: 479-480; T, VIII: 1434, 1439). Plaintiff ate, slept, and worked aboard the vessel, and was
willing to do anything and everything that his supervisors and co-workers instructed him to do. The Tidewater
captains considered plaintiff to be a member of the vessel's crew. (T, II: 168,252).

When plaintiff was reassigned to the M/V Republic Tide, Baker informed him that he would remain aboard the
vessel for the duration of the well stimulation job, and probably for other jobs on the vessel. Plaintiff testified
that he was expecting his assignment on the M/V Republic Tide to last until he became thoroughly familiar with
offshore pumping operations. (T, VII: 1272).

Because conflicting evidence was introduced regarding the duration of plaintiff's work aboard the vessel, the
district court submitted the status question to the jury. (T, VIII: 1658). The jury found plaintiff to be a seaman,
and properly so. That finding, supported as it is by record evidence, cannot be disturbed on appeal.

Baker's challenge to the jury finding that plaintiff was a seaman is a curious one. Baker contends that even
though plaintiff was one of the six essential persons required to complete its crew complement during a well
stimulation job, *15 plaintiff had a status different than his Baker co-workers aboard the vessel, the eight Tide-
water crew members, and even the Baker employee whose place plaintiff took aboard the vessel. Baker centers
its argument on the fact that plaintiff had only worked for Baker for the last three summers, while plaintiff was
pursuing a college degree. (Baker brief, p. 2, 24). Baker tried to single out plaintiff for disparate treatment under
the circumstances, and the jury disagreed, finding plaintiff to be a seaman. That finding is supported by the law




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 37 ofPage
2002 WL 32180621 (C.A.5)
                                                                        66 9




and the evidence, and cannot be disturbed.

                     B. Baker Liable as Time Charterer Regardless of Plaintiff's Status

Baker argues that it is insulated from liability under the LHWCA because plaintiff was a longshoreman, not a
seaman. (Baker brief, p. 15). Even should plaintiff be singled out on appeal as a longshoreman, Baker is no less
liable to plaintiff in its capacity as time charterer of the vessel. Because Baker was both the time charterer of the
vessel and the employer of the plaintiff, Baker owed the plaintiff a duty in both capacities. The two duties are
separately owed and do not affect one another. Moore v. Phillips Petroleum, 912 F.2d 789, 791 (5th Cir. 1990).

A time charterer who has no control over the vessel generally has no liability for negligence of the crew or un-
seaworthiness of the vessel. *16Cooper v. Offshore Exp., Inc., 717 F.Supp. 1180, 1186 (W. D. La. 1989), af-
firmed, 915 F.2d 1569 (5th Cir. 1990). But that is not the case here, for the parties to the charter clearly intended
otherwise. Under §905(b) of the LHWCA, a time charterer is liable if the cause of the harm is within the charter-
er's sphere of control and responsibility or has been transferred to the charterer by the clear language of the
charter agreement. Kerr-McGee Corp. v. Ma Ju Marine Services, Inc., 830 F.2d 1332, 1343 (5th Cir. 1987).

The Time Charter in this case was not a “fully found” charter. Federal Barge Lines, Inc. v. SCNO Barge Lines,
Inc., 711 F.2d 110, 112 (8th Cir. 1983); Cooper, 717 F. Supp. at 1186. Instead, the charter was a non-traditional
arrangement, because Baker, as time charterer, retained operational control over the Baker equipment installed
aboard the vessel. Baker also assigned Baker employees to live and work aboard the vessel and operate Baker
equipment for well stimulation activities conducted by Baker from the Tidewater vessel. (T, III: 462). Inasmuch
as Baker was contractually responsible for operating and maintaining its equipment, Baker is liable for the negli-
gent breach of those responsibilities under §905(b). Kerr - McGee Corp., 830 F.2d at 1343. The jury finding that
Baker was negligent permits this Court to affirm Baker's responsibility either as plaintiff's Jones Act employer,
or as time charterer under *17 §905(b). The standard of negligence - ordinary care under the circumstances - is
          [FN6]
the same.         Gautreaux v. Scurlock Marine, Inc., 107 F.3d 331, 338-339 (5th Cir. 1997); Scindia Steam Nav.
Co., Ltd. v. De Los Santos, 451 U.S. 156, 167, 101 S.Ct. 1614, 1622, 68 L.Ed.2d 1 (1981), and Serbin v. Bora
Corp., Ltd., 96 F.3d 66, 71 (3rd Cir. 1996). Therefore, even if plaintiff does not qualify for seaman status, Baker
is no less liable to plaintiff in its capacity as time charterer of the vessel.

         FN6. While the standard of causation is more liberal under the Jones Act, the degree of causation is not
         an issue on this appeal.

                       II. BAKER OWES TIDEWATER DEFENSE AND INDEMNITY

Whether plaintiff's status is as a seaman or a longshoreman, the Time Charter obligates Baker to defend and in-
demnify Tidewater for plaintiff's claims, because plaintiff claimed - and the jury found - that his damages were
caused in part by Tidewater's negligence and by the unseaworthiness of the MN Republic Tide, precisely what
                             [FN7]
the Time Charter specified.         Baker's refusal to honor this *18 obligation prompted Tidewater to file a cross
claim, on which the district court granted summary judgment. (R, 4: 520-522; R, 5: 677-712; R, 6: 810-835).

         FN7. The relevant text provides “None of the OWNER INDEMNITEES shall have any liability, for in-
         jury to, illness or death of the personnel or employees of CHARTERER [Baker Oil Tools], of CHAR-
         TERER's invitees, of CHARTERER's sublessee(s) of the vessel, or of CHARTERER's contractors or
         subcontractors (other than any of the OWNER INDEMNITEES), however said injury, illness, or death
         arises or occurs, whether through the negligence in whole or in part of any of the OWNER INDEMNIT-




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 38 of
2002 WL 32180621 (C.A.5)
                                                                        66
                                                                     Page 10




        EES, unseaworthiness of any vessel or otherwise; and CHARTERER shall protect, defend, indemnify
        and hold harmless the OWNER INDEMNITEES from and against all claims, suits, losses, liabilities,
        expenses, demands, costs (including reasonable attorneys' fees) and/or damages as a result of such ill-
        ness, injury or death.” (R, 5:695-710).

Baker sought to avoid indemnity by arguing that (1) plaintiff was a longshoreman and 33 U.S.C. § 905(b) voided
contractual defense and indemnity clauses; and (2) the unseaworthiness of the M/V Republic Tide voided the in-
demnity obligation. The district court rejected both arguments after Tidewater established that the indemnity
clause was valid regardless of plaintiff's status, and that the Time Charter by its terms required Baker to indem-
nify Tidewater for unsea worthiness claims. (R, 5: 677-712; R, 6: 810-835; R, 8: 1049).

When plaintiff joined Tidewater's underwriters as defendants in the case, they called upon Baker for indemnity
under the Time Charter, and later moved for summary judgment. (R, 10:1412-1428). Baker opposed, this time
contending that Tidewater's gross negligence voided Baker's contractual obligation, even though plaintiff had
never alleged that Tidewater was guilty of gross negligence. (R, 11:1577-1587). Baker premised its argument on
a line from the sixth page of the report of plaintiff's marine expert, Ronald Campana, who concluded that the
vessel captain was grossly negligent in failing to advise rig personnel that he had not dropped anchor when the
vessel arrived at the rig. The district court recognized that Baker had not been called upon to indemnify Tidewa-
ter (or its *19 underwriters) for gross negligence because plaintiff never alleged that Tidewater was guilty of
gross negligence. (R, 13: 2064, pp. 9-12). The motion was granted. (R, 13: 1884). On the eve of trial, Baker filed
a Motion for Reconsideration of this ruling, and that motion was denied. (T, A: 133-135; R, 13: 1996-2004).
[FN8]

        FN8. After trial, Baker again challenged the district court's ruling that Baker owed contractual defense
        and indemnity to Tidewater. This time, Baker focused on its status argument, citing as authority the dis-
        sent in the panel opinion in Demette v. Falcon Drilling Company, Inc., 253 F.3d 840 (5th Cir. 2001).
        Baker argued that plaintiff was not a seaman and was not the right type of longshoreman, and that
        therefore, 33 U.S.C. § 905(c) was not applicable to plaintiff. The district court rejected Baker's argu-
        ment. (R, 13: 1996-2004; R, 13: 2065).

Because the district court declined Tidewater's request to certify the judgments as final under F.R.C.P. 54 (b),
the judgments remained subject to reconsideration anytime before entry of final judgment. (R, 9:1312). Baker's
refusal to accept the district court's rulings required Tidewater to defend the case at trial and on this appeal.

In its brief, Baker finally concedes that the Time Charter is a maritime contract containing reciprocal indemnity
obligations, and for the first time, Baker does not challenge its obligation to defend and indemnify Tidewater for
ordinary negligence. Instead, Baker contends on appeal that the district court excluded evidence of gross negli-
gence and that the improperly excluded evidence would have justified a jury instruction as well as a jury inter-
                                     [FN9]
rogatory on gross *20 negligence.           (Baker brief, p. 44-47). Baker's complaints are not well-founded be-
cause the district court did not improperly exclude evidence, and the expert's testimony did not warrant a jury
charge on gross negligence.

        FN9. In a footnote, Baker also suggests to this Court that §905(b) invalidates its indemnity obligation in
        the event plaintiff is a longshoreman. Once again, Baker is wrong because §905(c) specifically allows
        indemnity if: (1) the longshoreman is covered by the OCSLA; (2) the indemnity provisions are recip-
        rocal; and (3) the contract is between the longshoreman's employer and the vessel. 33 U.S.C. §905(c);




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 39 of
2002 WL 32180621 (C.A.5)
                                                                        66
                                                                     Page 11




        Wagner v. McDermott, Inc., 79 F.3d 20, 22 (5th Cir. 1996), cert. denied, 519 U.S. 945, 117 S. Ct. 333
        (1996). All three requirements are met here. Tidewater established as much in the district court. (R, 5:
        677-712; R, 6: 810-835; R, 10: 1412-1425; R, 13: 1905-1912). Given this Court's recent decision in De-
        mette v. Falcon Drilling Company, Inc., 280 F.3d 492 (5th Cir. 2002), Tidewater's position on this issue
        is even stronger.

                                  A. District Court Did Not Exclude Evidence

The history surrounding Campana's opinion regarding gross negligence is necessary to understand the ruling re-
garding his testimony. At the beginning of trial, the district court set forth the ground rules on this issue:
The Court: This is what we're going to do: At the conclusion of this trial after all the evidence is heard I will
make that decision. If there is some testimony of gross negligence and I feel it should go to the jury, I will allow
it. If not, I won't.

(T, A: 135; RE 3).

The district court later considered Tidewater's motion in limine which sought to prohibit Campana from testify-
ing before the jury to the legal conclusion *21 that Tidewater was guilty of gross negligence. The district court
deferred ruling on the motion until Campana was called to the stand. (T, A: 144-145).

At trial, Campana was questioned in the presence of the jury by plaintiff, Falcon and Tidewater, and he freely
expressed his views on Tidewater's conduct. At one point, Campana offered a legal conclusion that invaded the
province of the jury, and at Tidewater's request, the district court admonished the jury to disregard that testi-
mony. (T, V: 877-878).

When its turn arrived, Baker elected not to question Campana in the presence of the jury:
Mr. Galloway: Your Honor, I have some questions for Captain Campana, but as we discussed, I think yester-
day....
The Court: No problem.
Mr. Galloway: I would like to do them after everybody else has asked their questions and out of the pres-
ence of the jury.
The Court: And those are the only questions you have?
Mr. Galloway: Correct.
The Court: You don't have any others before the jury?
*22 Mr. Galloway: Correct.

(T, V: 879; RE 3). (emphasis added).

When the other parties completed their questioning, the jury was excused, and Baker examined Campana. (T, V:
885-892). Campana was questioned extensively about his opinions in the case, and Baker ultimately focused on
Campana's lone statement at page 6 of his report on gross negligence. (T, V: 892). Baker then advised the dis-
trict court that it was done:
Mr. Galloway: I have nothing further, your Honor, other than I would like to proffer, as Baker Proffer
Number 1, Captain Campana's report where he refers to gross negligence.

(T, V: 893; RE 3). (emphasis added).




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 40 of
2002 WL 32180621 (C.A.5)
                                                                        66
                                                                     Page 12




The district court proceeded to conduct its own examination of the expert outside the jury's presence, during
which Campana clarified that he used the word “gross” as an adverb, and not in any legal sense whatsoever. (T,
V: 894-895). Having listened to Baker's entire examination of Campana, the district court told Baker that it
would allow the jury to hear all of the questions Baker posed to Campana during Baker's examination, save the
one question that called for Campana to give a legal conclusion on gross negligence.
*23 The Court: I want you to know that there are many questions that you had, Mr. Galloway, that I
would have allowed you to ask in front of the jury. I just would not have allow[ed] you to ask the final
question, “Was that gross negligence?” Do you understand?
Mr. Galloway: I understand that.

(T, V: 895; RE 3). (emphasis added).

The district court articulated its concern to the expert:
The Court: What I don't want to do is invade the province of the jury to make a determination on negligence or
gross negligence or whatever. That's why I didn't allow you to testify that in your opinion the captain was negli-
gent. The jury determines if the captain is negligent or not negligent.

(T, V: 894-895; RE 3).

The only testimony by Campana that the district court specifically disallowed was his legal conclusion that
Tidewater was guilty of gross negligence. This ruling was correct, and it is telling that Baker did not object to
this ruling at trial.

A district court's decision to exclude evidence is reviewed for abuse of discretion. (Baker Brief, p. 43-44, fn.
90). *24St. Romain v. Industrial Fabrication and Repair Service, Inc., 203 F.3d 376 (5th Cir. 2000); Davis v.
Odeco, Inc., 18 F.3d 1237 (5th Cir. 1994). That standard applies to the district court's refusal to allow Campana
to testify to the legal conclusion that Tidewater was guilty of gross negligence. But since Baker concedes in
brief that an expert's opinion on a legal conclusion is not admissible, the district court cannot be guilty of an ab-
use of discretion when the challenged evidentiary ruling is correct. (Baker Brief p. 46, fn. 97, citing Owen v.
Kerr-McGee Corp., 698 F.2d 236, 240 (5th Cir. 1983) and Askanase v. Fatjo, 130 F.3d 657, 673 (5th Cir. 1997)
).

Baker's next contention is that the district court excluded Baker's examination of Campana before the jury.
Baker is factually incorrect, because Baker never tried to examine Campana before the jury, nor was Baker's ex-
amination of Campana offered by Baker as a proffer. When the jury was returned to the courtroom, the parties
were given the opportunity to further question Campana:
The Court: Are there any other questions of Captain Campana from the plaintiff?.
Mr. Roy: No, sir.
The Court: From any of the defendants?
Mr. Galloway: No, your Honor.

*25 (T, V: 896; RE 3) (emphasis added). The only evidence specifically offered by Baker as a proffer was
Campana's report, which is inadmissable hearsay. F.R.E. 802. (T, V: 893). In sum, Baker was given liberty to
question Campana about the underlying factual basis for every one of the opinions expressed in his report, but
Baker chose not to do so.

Baker's failure to examine Campana in front of the jury is fatal to its argument on this appeal, for there is no rul-




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 41 of
2002 WL 32180621 (C.A.5)
                                                                        66
                                                                     Page 13




ing of record for this Court to review, because the district court made it plain that Baker's examination of Cam-
pana could have been put before the jury. (T, V: 895). It is disingenuous for Baker to now blame the district
court for improperly excluding evidence that Baker never even tried to present to the jury.

Baker lodged no objection to an evidentiary ruling of the district court, failed to examine Campana in the pres-
ence of the jury after being invited to do so by the district court, failed to specifically offer its examination of
Campana as a proffer, and simply proffered an inadmissible expert report. Charging the district court with abuse
of discretion under these circumstances is baseless, for no discretion was exercised. While there is a serious
question as to whether Baker has preserved the “exclusion issue” for review on appeal, Baker's failure to object
to any action by the district court on this point makes the standard of review at *26 best plain error. Rodriguez v.
Riddell Sports. Inc., 242 F.3d 567, 579 (5th Cir. 2001). (T, V: 879, 894-896). Baker's appeal falls woefully short
of that standard.

                               B. Insufficient Evidence to Warrant Jury Charge

Baker next argues that the district court should have charged the jury and submitted a jury interrogatory on gross
negligence based upon the Campana testimony that Baker failed to present to the jury. Baker's failure to put its
examination of Campana before the jury is fatal to its requested jury instruction and interrogatory, because that
is the only testimony on which Baker relied in asking the district court for a gross negligence charge against
Tidewater. (T, V: 892). A trial court's refusal to charge the jury on either a claim or an issue is reversible error
only if there existed a legally sufficient evidentiary basis which justified submitting the issue to the jury. Cooper
Industries, Inc., v. Tarmac Roofing Systems, Inc., 276 F.3d 704, 709 (5th Cir. 2002). No such basis existed here.

The evidence of Tidewater's negligence was presented during trial principally through the testimony of Cam-
pana, the Tidewater captains and the Tidewater engineer, Clarence Polk. (T, II:90-174, T, II:245-331, T, VIII:
1458-1487). At the close of the evidence, the district court was of the view that the *27 evidence presented did
not warrant a jury interrogatory on Tidewater's gross negligence:
The Court: This Court certainly feels, after hearing all the testimony, that--the days of the testimony--there is no
gross negligence on the part of Tidewater. It's not even a close call.

(T, VIII: 1641; RE 3). (emphasis added).

At the charge conference, the district court once again considered Baker's request for a jury instruction and jury
interrogatory on gross negligence:
The Court: Page 35 is the gross negligence charge. This is Baker's charge requesting that the court allow the jury
to be charged on and in a line be on the jury verdict form for gross negligence of Tidewater.
This Court has already ruled that, based on the facts and the evidence of this case, especially through the testi-
mony of Mr. Polk, I believe, who was the engineer who said that the -- and I found him very credible. I find him
extremely credible. He said that the anchor worked up until the time that they were out there. He thought it
worked. He went to put it --in fact, dropped the anchor and that's when he found out there was some problems
with the anchor which made the vessel unseaworthy.
*28 But because of that and because of his testimony, it does not make Tidewater grossly negligent. He also
testified as the engineer that the bow thrusters worked and were working properly except for the time of this ac-
cident, and he had no warning that -- of either of these -- either the anchor or the bow thruster going out in ad-
vance of them malfunctioning.

(T, XIII-A: 1681-1682; RE 3).




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 42 of
2002 WL 32180621 (C.A.5)
                                                                        66
                                                                     Page 14




The district court later reiterated this view to the parties during jury deliberations, outside the presence of the
jury:
The Court: I think this case was too clear, and there is no gross negligence. I thought that from the beginning
and it's gotten stronger as we've gone along including the people that Baker put on the stand like Mr. Polk.

(T, IX: 1854; RE 3).

Even Campana's testimony on “gross negligence” does not support Baker's requested jury charge. Gross negli-
gence in a maritime context means harm willfully inflicted or caused by gross or wanton negligence. Coastal
Iron Works, Inc. v. Petty Ray Geophysical, Div. of Geosource, Inc., 783 F.2d 577, 582 (5th Cir. 1986). Campana
was clear in his testimony outside the jury's presence that Tidewater's negligence did not rise to the level of will-
fulness or reckless *29 disregard. When questioned by Baker, Campana clarified that he used the phrase “gross
negligence” in his report only “as an adverb” “without any legal context whatsoever.” (T, V: 889-890). When
pressed, Campana stated that the actions of the Tidewater captain did not exhibit “reckless disregard.” (T, V:
891). During the district court's follow-up examination outside the jury's presence, Campana further clarified
what he had in mind when he used the term on page 6 of his report:
Mr. Campana: To be gross negligence on behalf of a vessel's master legally would have to be wanton and reck-
less and intentional. And I don't use that term in that manner in any way, shape or form.

(T, V: 895; RE 3). (emphasis added). In sum, even the Campana testimony that Baker neglected to present to
the jury fails to support Baker's plea for a gross negligence charge.

Baker contends on appeal that Tidewater was guilty of gross negligence because rig personnel were not in-
formed that the anchor had not been set. Baker never made that argument to the jury, and for a simple reason.
The fact that the vessel was not anchored was known by Baker supervisors, and none of them saw fit to advise
rig personnel that the anchor had not been set. (T, II: 230-231; T, III: 405). It would have been incongruous for
Baker to argue to the jury that *30 Tidewater - but not Baker - was guilty of gross negligence because Tidewater
did not relay information of which both Tidewater and Baker were equally aware. No jury would buy that argu-
ment. This Court shouldn't either.

               III. RECORD EVIDENCE SUPPORTS JURY FINDING OF FALCON FAULT

The jury verdict apportioning part of the liability to Falcon was justified, although Falcon claims it should fall
for lack of evidence. (Falcon brief, p. 17). Falcon is wrong.

The testimony of Donald Frederick, Falcon's OIM, is sufficient in and of itself to provide the evidentiary basis
for Falcon's liability. (T, IV: 611). As the OIM, Frederick holds a license issued by the United States Coast
Guard, which charges him with responsibility for the safety of personnel aboard the drilling rig. (T, IV: 702,
704-705). Frederick was stationed on the drill floor of the rig when the M/V Republic Tide's bow thruster lost
throttle. He was immediately informed by his crane operator that (1) the Republic Tide's bow thruster was down;
(2) the boat captain was uncertain how much longer he could hold the vessel in position; and (3) the captain was
requesting that the coflex hose be disconnected from the rig. (T, IV: 628, 630-631, 663-664). At that point, Fred-
erick recognized that an emergency situation existed on the Falcon rig, and admitted that he was aware that *31
personnel on the main deck of the drilling rig were at serious risk because of the potential for violent movement
of the corex hose. (T, IV: 646, 657).

Instead of taking action, Frederick simply watched as plaintiff and the other three Baker crewmen left the drill




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 43 of
2002 WL 32180621 (C.A.5)
                                                                        66
                                                                     Page 15




floor to go down to the main deck to disconnect the corex hose. (T, IV: 631-33, 660). Although Frederick recog-
nized that the Baker hands were proceeding into an area of imminent danger, Frederick made no attempt to warn
the Baker crewmen or to convey the existence of an emergency to them. (T, IV: 684-685). Instead, Frederick re-
mained on the drill floor for some time before descending the stairway to the main deck and ducking out of
harm's way. (T, IV: 634-636, 642).

Frederick admitted his responsibility to closely monitor an emergency situation once he became aware of its ex-
                       [FN10]
istence. (T, IV: 669).        His testimony that he “never thought” of warning the Baker crewmen of the im-
pending danger makes plain that he failed in this responsibility. (T, IV: 647). The jury verdict reflects that fail-
ure.

        FN10. Steve Adams, Frederick's shore-based supervisor, acknowledged that he would have issued a
        warning to the Baker crewmen if he had been provided with the information known to Frederick in the
        minutes before the accident. (T, IV: 705-706). Mickey Hoffpauir, the company man employed by ERT,
        also testified that he would not have allowed the Baker crew to work in that area under the circum-
        stances unless someone on the rig was monitoring the movement of the vessel. (T, IV: 844-845).

*32 This Court should note - as the jury most certainly did - that plaintiff was not injured when the bow thruster
of the M/V Republic Tide went down, or when the quick release mechanism on the coflex reel failed to discon-
nect the hose. Rather, plaintiff's accident did not occur until three to five minutes later, after Frederick became
aware of the emergency and allowed the Baker crewmen to proceed to the main deck and position themselves in
the only place on the rig where they were at risk for injury if the coflex hose were to move. (T, IV: 649). During
that critical interval, Frederick failed to warn the Baker crew to stay clear of the coflex hose. He also failed to
take ready advantage of the superior vantage point enjoyed by the Falcon crane operator in the cab of the Falcon
crane who was in the best position to track movement of the vessel and the danger that the hose presented on the
rig. Frederick's trial testimony illustrates this point:
Q: Did you think to ask him, John, how much slack is in that hose? Keep us posted on where that boat is because
I got men right on my deck working on that hose? Did you think to call him and ask that?
A: No.
Q: Should you have, sir?
A: Could have.
Q: I know you could have. Should you have, as the OIM on that vessel, given the circumstances that existed at
the time?
*33 A: Yes.
Q: But you didn't do that, did you?
A: No, sir.

(T, IV: 663; RE 4).

                                                       ***

Q: And clearly the failure to use the crane operator as your eyes and ears at that particular moment under the
emergency circumstances that existed was a critical mistake, wasn't it, sir?
A: Yes.

(T, IV: 670; RE 4).




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 44 of
2002 WL 32180621 (C.A.5)
                                                                        66
                                                                     Page 16




Frederick also conceded that he and Falcon's crane operator were in the best position to determine whether
plaintiff and the Baker crewmen were in danger prior to the accident:
Q: After this emergency arose, who was in the best position to determine whether men working on this hammer
union at that location by the backstop were in -- were at risk for movement of that hose? You on the rig floor,
the crane operator up in the crane, or the captain in the doghouse of this boat?

                                                      ***

A: Two people had the best seeing. I could have seen it if I would have looked out there, and the crane operator
could have probably seen it.

(T, IV: 685-686; RE 4).

*34 A simple warning to the Baker crewmen by the Falcon OIM or the Falcon crane operator would have aver-
ted this accident, notwithstanding the equipment problems on the M/V Republic Tide or negligence on the part
of Baker. Falcon's argument that the jury's conclusion is based purely on speculation displays disregard for re-
cord evidence. The jury was within its authority in reasonably inferring from the evidence that Falcon's failure to
warn the Baker crewmen of the danger was a causal factor in this accident. Snyder v. Whittaker Corporation,
839 F.2d 1085, 1090 (5th Cir. 1988); (“This court will not disturb a jury verdict based on substantial evidence
and reasonable inferences.”). When the bow thruster throttled down and the quick release did not work, the Fal-
con OIM and the Falcon crane operator were in the best position to protect the Baker crewmen by looking for
movement of the vessel, watching the coflex hose, warning rig workers of the danger and clearing the area if ne-
cessary. Falcon had a duty to protect the Baker crewmen from danger, and failed to do so. Plaintiff's injury res-
ulted.

These facts and circumstances justified the jury's finding of breach of duty and causation on the part of Falcon.
Frederick's credibility was an integral element of the jury verdict, for his trial testimony was one of only three
pieces of evidence specially requested by the jury during deliberations. (T, IX: 1856).

Frederick's first attempt to justify his failure to warn the Baker crewmen of the danger was that he assumed that
the MN Republic Tide's anchor was set when *35 the bow thruster went down. (T, IV: 645). Under cross, Fred-
erick admitted that he did not know whether or not the vessel was anchored when the bow thruster failed, and
even acknowledged that had he known the anchor was not set, he would not have acted any differently in re-
sponding to the emergency. (T, IV: 650-652).

Frederick also testified on direct that he did not fully appreciate the danger, because the only information
provided to him by Falcon's crane operator was that the M/V Republic Tide had lost her thruster. (T, IV:
629-630, 645). On cross, Frederick admitted that his crane operator advised him not only that the bow thruster
was down, but that the captain did not know how much longer he could hold the vessel in position, and that the
coflex hose needed to be disconnected from the rig. (T, IV: 663-664).

Frederick then testified that he expected the vessel crew to activate the quick release on the coftex reel, which
would free the hose from the vessel and avert the danger. (T, IV: 676, 682-683). However, Frederick was con-
fronted with his deposition testimony that prior to the accident, he did not even know that the coflex reel on the
boat was equipped with a quick release mechanism. (T, IV: 682-683).

The Court need only review Frederick's cross examination at trial to see that Frederick rarely admitted the truth




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 45 of
2002 WL 32180621 (C.A.5)
                                                                        66
                                                                     Page 17




until he was confronted and impeached with *36 prior testimony. (T, IV: 650-671, 682-686). His performance
did not advance Falcon's defense.

In no wise was the assessment of fault against Falcon based upon mere speculation or hypothetical conjecture of
what the Falcon crane operator should have done under the circumstances, as Falcon argues. The jury needed to
look no farther than Frederick, the OIM who had primary responsibility for the safety of workers aboard the
drilling rig, to find Falcon partially liable. Falcon's liability must be affirmed, because it has a legally sufficient
evidentiary basis.

                                                *37 CONCLUSION

The jury finding that plaintiff was a seaman has a sound evidentiary basis. There was evidence on both sides of
the issue, and reasonable minds could differ on the conclusion. The district court properly submitted the ques-
tion to the jury, and there is no basis to disturb that finding on appeal.

The district court's disallowance of expert testimony on a legal conclusion was proper, and certainly no abuse of
discretion. Baker's additional contention that the district court excluded testimony is factually incorrect, and the
issue was not properly preserved for review. At best, that issue is subject to the plain error standard of review, a
standard which Baker carmot meet.

Falcon's challenge to the sufficiency of the evidence falls short because there is a reasonable evidentiary basis
for the jury's finding.

On these three issues, the judgment should be affirmed.

Seth A. BECKER, Plaintiff - Intervenor Defendant - Appellee, v. TIDEWATER INC., et al., Defendants, Tide-
water Incorporated; Twenty Grand Offshore Incorporated; Tidewater Marine LLC, Defendants - Third Party
Plaintiffs - Intervenor Defendants - Appellees - Appellants, R & B Falcon Drilling USA, Inc.; Pental Insurance
Company, Ltd; Certain Underwriters at Lloyds Insurance Co., Defendants - Appellants, Hydra Rig, a division of
Tuboscope Vetco International LP,
2002 WL 32180621 (C.A.5 ) (Appellate Brief )

END OF DOCUMENT




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 46 of 66

                                                                                                        Page 1
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




                                                                      banc.

             United States Court of Appeals,                                  As Revised July 24, 2003.
                       Fifth Circuit.
     Seth A. BECKER, Plaintiff–Intervenor Defend-                  Injured employee sued employer oilfield company
                      ant–Appellee,                           under Jones Act, and, in the alternative, under Long-
                             v.                               shore and Harbor Workers' Compensation Act
         TIDEWATER, INC., et al., Defendants,                 (LHWCA). Employer filed third-party demands against
Tidewater Incorporated, Twenty Grand Offshore Incor-          manufacturers of coflex hose and reel assembly in-
 porated, Tidewater Marine, L.L.C., Defendants–Third          stalled on vessel. Following jury trial, the United States
           Party Plaintiffs–Intervenor Defend-                District Court for the Western District of Louisiana,
               ants–Appellees–Appellants,                     Richard T. Haik, Sr., Chief Judge, entered judgment for
R&B Falcon Drilling USA, Inc., Pental Insurance Com-          employee, and determined that manufacturers were not
  pany, Ltd., Certain Underwriters at Lloyd's Insurance       liable. Employer appealed. The Court of Appeals,
              Co., Defendants–Appellants,                     Benavides, Circuit Judge, held that employee did not
Hydra Rig, a division of Tuboscope Vetco International,       become seaman when he was assigned to technological
  L.P., Defendant–Third Party Defendant–Third Party           vessel, so as to be protected by Jones Act.
                   Plaintiff–Appellee,
                                                                  So ordered.
Hydradyne Hydraulics, Inc., Defendant–Third Party De-
                    fendant–Appellee,                                             West Headnotes
                             v.
 Coflexip Stena Offshore, Inc., Defendant–Third Party         [1] Workers' Compensation 413           2085
                  Defendant–Appellee,
                             v.                               413 Workers' Compensation
Baker Hughes, Inc., Baker Hughes Oilfield Operations,              413XX Effect of Act on Other Statutory or Com-
  Inc., Defendants–Intervenor Defendants–Appellants,          mon-Law Rights of Action and Defenses
                            and                                     413XX(A) Between Employer and Employee
 Baker Oil Tools, Inc., a division of Baker Hughes Oil-                    413XX(A)1 Exclusiveness of Remedies Af-
 field Operations, Inc., Defendant–Third Party Defend-        forded by Acts
          ant–Intervenor Plaintiff–Third Party                                  413k2085 k. Federal Acts. Most Cited
                   Plaintiff–Appellant,                       Cases
  Baker Oil Tools, a division of Baker Hughes Oilfield            The Jones Act and the LHWCA are mutually ex-
   Operations, Inc., Third Party Defendant–Appellant.         clusive compensation regimes. Longshore and Harbor
                                                              Workers' Compensation Act, § 1 et seq., 33 U.S.C.A. §
                  No. 01–31420.                               901 et seq.; Jones Act, 46 App.U.S.C.A. § 688.
                  June 19, 2003.
  Rehearing and Rehearing En Banc Denied July 21,             [2] Workers' Compensation 413           2085
                          FN*
                    2002.
                                                              413 Workers' Compensation
        FN* Judge Dennis is recused in this matter on              413XX Effect of Act on Other Statutory or Com-
        the basis of his interest in Transocean Sedco         mon-Law Rights of Action and Defenses
        Forex, Inc., parent corporation of R&B Falcon               413XX(A) Between Employer and Employee
        Drilling, and therefore did not participate in the               413XX(A)1 Exclusiveness of Remedies Af-
        consideration of the petition for rehearing en        forded by Acts




                              © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 47 of 66
                                                                       Page 2
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




                  413k2085 k. Federal Acts. Most Cited           Civ.Proc.Rule 56(c), 28 U.S.C.A.
Cases
    If a plaintiff satisfies the criteria for being a sea-       [5] Federal Courts 170B        617
man, he is covered by the Jones Act and not the LHW-
                                                                 170B Federal Courts
CA; if he does not, he is protected only by the LHWCA.
                                                                    170BVIII Courts of Appeals
Longshore and Harbor Workers' Compensation Act, § 1
                                                                          170BVIII(D) Presentation and Reservation in
et seq., 33 U.S.C.A. § 901 et seq.; Jones Act, 46
                                                                 Lower Court of Grounds of Review
App.U.S.C.A. § 688.
                                                                           170BVIII(D)1 Issues and Questions in Lower
[3] Seamen 348        29(5.16)                                   Court
                                                                             170Bk617 k. Sufficiency of Presentation of
348 Seamen                                                       Questions. Most Cited Cases
    348k29 Personal Injuries                                         The Court of Appeals is not required to treat any
         348k29(5.16) k. Questions for Jury. Most Cited          purported concession as binding.
Cases
     Although a determination of whether an injured              [6] Seamen 348       29(1)
worker is a seaman under the Jones Act is a mixed
                                                                 348 Seamen
question of law and fact and it is usually inappropriate
                                                                    348k29 Personal Injuries
to take the question from the jury, judgment as a matter
                                                                       348k29(1) k. In General. Most Cited Cases
of law is mandated where the facts and the law will
                                                                     The Jones Act provides a cause of action permitting
reasonably support only one conclusion. Jones Act, 46
                                                                 unlimited damages against the negligence of a plaintiff's
App.U.S.C.A. § 688.
                                                                 employer. Jones Act, 46 App.U.S.C.A. § 688(a).
[4] Federal Courts 170B          617
                                                                 [7] Seamen 348       29(5.4)
170B Federal Courts
                                                                 348 Seamen
    170BVIII Courts of Appeals
                                                                     348k29 Personal Injuries
          170BVIII(D) Presentation and Reservation in
                                                                        348k29(5.4) k. Persons Against Whom Suit May
Lower Court of Grounds of Review
                                                                 Be Brought. Most Cited Cases
           170BVIII(D)1 Issues and Questions in Lower
                                                                      A Jones Act seaman may sue the owner of any ves-
Court
                                                                 sel on which he is working for a breach of the warranty
             170Bk617 k. Sufficiency of Presentation of
                                                                 of seaworthiness, regardless of whether the vessel is
Questions. Most Cited Cases
                                                                 owned by his employer. Jones Act, 46 App.U.S.C.A. §
     Employer did not waive argument that injured em-
                                                                 688.
ployee was not seaman as matter of law for purposes of
Jones Act, when employer admitted, in response to em-            [8] Seamen 348       29(5.4)
ployee's post-trial motion for judgment, that seaman
status was issue of fact for jury to determine, where any        348 Seamen
such statements were uttered after district court in-               348k29 Personal Injuries
formed counsel that either it would hold that employee                 348k29(5.4) k. Persons Against Whom Suit May
was seaman as matter of law or issue would go to jury,           Be Brought. Most Cited Cases
and where, with respect to this issue, employer filed                A Jones Act seaman may sue third parties for gen-
motion for summary judgment, moved for judgment as               eral maritime law negligence. Jones Act, 46
matter of law at close of employee's case and at close of        App.U.S.C.A. § 688.
all evidence, and moved for judgment notwithstanding
verdict. Jones Act, 46 App.U.S.C.A. § 688; Fed.Rules             [9] Shipping 354       84(1)




                                 © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 48 of 66
                                                                       Page 3
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




354 Shipping                                                   in General
    354V Rights and Liabilities of Vessels and Owners                354k78 Torts
in General                                                              354k84 Injuries to Stevedores and Other Inde-
      354k78 Torts                                             pendent Contractors and Their Employees
         354k84 Injuries to Stevedores and Other Inde-                        354k84(1) k. In General; Liability. Most
pendent Contractors and Their Employees                        Cited Cases
              354k84(1) k. In General; Liability. Most             The LHWCA permits a restrictive theory of negli-
Cited Cases                                                    gence against a vessel as a third party to recover dam-
                                                               ages for injuries caused by vessel negligence. Long-
Workers' Compensation 413          2085                        shore and Harbor Workers' Compensation Act, § 5(b),
                                                               33 U.S.C.A. § 905(b).
413 Workers' Compensation
     413XX Effect of Act on Other Statutory or Com-            [12] Shipping 354      84(1)
mon-Law Rights of Action and Defenses
       413XX(A) Between Employer and Employee                  354 Shipping
           413XX(A)1 Exclusiveness of Remedies Af-                  354V Rights and Liabilities of Vessels and Owners
forded by Acts                                                 in General
                413k2085 k. Federal Acts. Most Cited                  354k78 Torts
Cases                                                                     354k84 Injuries to Stevedores and Other Inde-
    The LHWCA provides a cause of action for injuries          pendent Contractors and Their Employees
sustained by a broad range of land-based maritime                              354k84(1) k. In General; Liability. Most
workers, excluding seamen covered by the Jones Act.            Cited Cases
Longshore and Harbor Workers' Compensation Act, § 1                 An LHWCA plaintiff may sue nonvessel third
et seq., 33 U.S.C.A. § 901 et seq.; Jones Act, 46              parties under general maritime law tort principles.
App.U.S.C.A. § 688.                                            Longshore and Harbor Workers' Compensation Act, § 1
                                                               et seq., 33 U.S.C.A. § 901 et seq.
[10] Workers' Compensation 413          260
                                                               [13] Shipping 354      84(1)
413 Workers' Compensation
   413V Employees Within Acts                                  354 Shipping
       413V(B) Particular Classes of Persons in General             354V Rights and Liabilities of Vessels and Owners
           413k260 k. Seamen, Fishermen, Stevedores,           in General
and Other Maritime Employees. Most Cited Cases                        354k78 Torts
    The LHWCA provides a no-fault workers' com-                          354k84 Injuries to Stevedores and Other Inde-
pensation scheme against a worker's employer for the           pendent Contractors and Their Employees
death or disability of anyone engaged in maritime em-                         354k84(1) k. In General; Liability. Most
ployment to receive medical costs, prejudgment interest,       Cited Cases
and two-thirds of the worker's salary for as long as the            Recovery pursuant to general maritime law is avail-
disability persists. Longshore and Harbor Workers'             able only from defendants outside the scope of the LH-
Compensation Act, §§ 5, 7(a), 8(a), 33 U.S.C.A. §§ 905,        WCA's statutory scheme. Longshore and Harbor Work-
907(a), 908(a).                                                ers' Compensation Act, § 5(b), 33 U.S.C.A. § 905(b).

[11] Shipping 354      84(1)                                   [14] Shipping 354      84(3.2)

354 Shipping                                                   354 Shipping
    354V Rights and Liabilities of Vessels and Owners              354V Rights and Liabilities of Vessels and Owners




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 49 of 66
                                                                       Page 4
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




in General                                                     protected by Jones Act, where employee filled one of
       354k78 Torts                                            vessel's crew positions and engaged in vessel's work
          354k84 Injuries to Stevedores and Other Inde-        while on board. Jones Act, 46 App.U.S.C.A. § 688.
pendent Contractors and Their Employees
              354k84(3) Dangerous or Defective Condi-          [18] Seamen 348        2
tion of Vessel, Appliances, or Places for Work
                                                               348 Seamen
                  354k84(3.2) k. Vessels and Places for
                                                                   348k2 k. Who Are Seamen. Most Cited Cases
Work. Most Cited Cases
                                                                    The requirement that a worker must have a substan-
     An LHWCA worker, unlike a Jones Act seaman,
                                                               tial connection to a vessel in order to be a seaman
does not have a cause of action for unseaworthiness.
                                                               covered by the Jones Act is intended to separate the sea-
Longshore and Harbor Workers' Compensation Act, §
                                                               based maritime employees who are entitled to Jones Act
5(b), 33 U.S.C.A. § 905(b); Jones Act, 46 App.U.S.C.A.
                                                               protection from those land-based workers who have
§ 688.
                                                               only a transitory or sporadic connection to a vessel in
[15] Seamen 348        2                                       navigation. Jones Act, 46 App.U.S.C.A. § 688.

348 Seamen                                                     [19] Seamen 348        2
   348k2 k. Who Are Seamen. Most Cited Cases
                                                               348 Seamen
     For an individual worker to be a seaman, and there-
                                                                  348k2 k. Who Are Seamen. Most Cited Cases
fore entitled to the protections of the Jones Act, the
                                                                    The total circumstances of an individual's employ-
worker's duties must contribute to the function of the
                                                               ment must be weighed to determine whether he had a
vessel or to the accomplishment of its mission, and the
                                                               sufficient relation to the navigation of vessels, and the
employee must have a connection to a vessel in naviga-
                                                               perils attendant thereon, to be a seaman covered by the
tion, or to an identifiable group of such vessels, that is
                                                               Jones Act. Jones Act, 46 App.U.S.C.A. § 688.
substantial in terms of both duration and nature. Jones
Act, 46 App.U.S.C.A. § 688.                                    [20] Seamen 348        2
[16] Seamen 348        2                                       348 Seamen
                                                                   348k2 k. Who Are Seamen. Most Cited Cases
348 Seamen
                                                                    The duration of a worker's connection to a vessel
   348k2 k. Who Are Seamen. Most Cited Cases
                                                               and the nature of the worker's activities, taken together,
     For an employee's duties to contribute to the func-
                                                               determine whether a maritime employee is a seaman
tion of a vessel or to the accomplishment of its mission,
                                                               protected by the Jones Act, since the ultimate inquiry is
as required for the employee to be a seaman protected
                                                               whether the worker in question is a member of the ves-
by the Jones Act, the employee need only show that he
                                                               sel's crew or simply a land-based employee who hap-
does the ship's work; this threshold requirement is very
                                                               pens to be working on the vessel at a given time. Jones
broad, encompassing all who work at sea in the service
                                                               Act, 46 App.U.S.C.A. § 688.
of a ship. Jones Act, 46 App.U.S.C.A. § 688.
                                                               [21] Seamen 348        2
[17] Seamen 348        2
                                                               348 Seamen
348 Seamen
                                                                   348k2 k. Who Are Seamen. Most Cited Cases
    348k2 k. Who Are Seamen. Most Cited Cases
                                                                    The requirement that a worker must have a substan-
     Oilfield company employee's duties contributed to
                                                               tial connection to a vessel in order to be a seaman
function of technology vessel or to accomplishment of
                                                               covered by the Jones Act constitutes a status-based
its mission, as required for employee to be “seaman”
                                                               standard, that is, it is not the employee's particular job




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 50 of 66
                                                                       Page 5
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




that is determinative of seaman status, but the employ-           348k2 k. Who Are Seamen. Most Cited Cases
ee's connection to a vessel. Jones Act, 46 App.U.S.C.A.            A worker who, over the course of his employment,
§ 688.                                                        has worked in the service of a vessel in navigation well
                                                              under 30% of his time may still qualify for seaman
[22] Seamen 348        2                                      status if he has been reassigned to a new position that
                                                              meets this temporal requirement. Jones Act, 46
348 Seamen
                                                              App.U.S.C.A. § 688.
   348k2 k. Who Are Seamen. Most Cited Cases
    While seaman status under the Jones Act is not            [27] Seamen 348        2
simply a temporal concept, the amount of time a worker
spends aboard a vessel in navigation is helpful in de-        348 Seamen
termining if that worker has attained seaman status.             348k2 k. Who Are Seamen. Most Cited Cases
Jones Act, 46 App.U.S.C.A. § 688.                                  For an employee to qualify for the protections of
                                                              the Jones Act as a seaman based upon a reassignment to
[23] Seamen 348        2                                      a new position that meets the requirement that the em-
                                                              ployee spends 30% of his time in service of a vessel, the
348 Seamen
                                                              employee must undergo a substantial change in status,
   348k2 k. Who Are Seamen. Most Cited Cases
                                                              not simply serve on a boat sporadically; merely serving
    As a general rule, a worker must show substantial
                                                              an assignment on a vessel in navigation does not alter a
duration, as required for the worker to be protected as a
                                                              worker's status. Jones Act, 46 App.U.S.C.A. § 688.
seaman under the Jones Act, by demonstrating that 30%
or more of his time is spent in service of that vessel.       [28] Seamen 348        2
Jones Act, 46 App.U.S.C.A. § 688.
                                                              348 Seamen
[24] Seamen 348        2                                         348k2 k. Who Are Seamen. Most Cited Cases
                                                                   Intern employed by oilfield company did not be-
348 Seamen
                                                              come “seaman” when he was assigned to technological
   348k2 k. Who Are Seamen. Most Cited Cases
                                                              vessel, so as to be protected by Jones Act despite not
    An employee who has worked for years in an em-
                                                              having spent 30% of his time in service of vessel, where
ployer's shoreside headquarters and who is then reas-
                                                              intern's superiors wanted him to gain exposure to vari-
signed to a ship in a classic seaman's job qualifies for
                                                              ous work areas over summer, many of which had noth-
seaman status under the Jones Act even if he is injured
                                                              ing to do with navigation, intern was hired to “fill in”
shortly after reassignment. Jones Act, 46 App.U.S.C.A.
                                                              for another individual on vessel and told to “learn as
§ 688.
                                                              much as you can,” and intern's assignment to vessel did
[25] Seamen 348        2                                      not alter company's overall plan for intern, consisting
                                                              almost exclusively of land-based work. Jones Act, 46
348 Seamen                                                    App.U.S.C.A. § 688.
   348k2 k. Who Are Seamen. Most Cited Cases
    A worker who has been reassigned to a land-based          [29] Seamen 348        29(5.12)
job cannot claim seaman status under the Jones Act
                                                              348 Seamen
based on prior service at sea. Jones Act, 46
                                                                 348k29 Personal Injuries
App.U.S.C.A. § 688.
                                                                       348k29(5.12) k. Presumptions and Burden of
[26] Seamen 348        2                                      Proof. Most Cited Cases
                                                                  The Jones Act plaintiff bears the burden of proof
348 Seamen                                                    for establishing seaman status. Jones Act, 46




                              © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 51 of 66
                                                                       Page 6
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




App.U.S.C.A. § 688.                                                 Testimony that oilfield company employee was as
                                                               much a part of vessel's crew as any other person was in-
[30] Seamen 348        2                                       sufficient to establish that employee was “seaman” pro-
                                                               tected by Jones Act. Jones Act, 46 App.U.S.C.A. § 688.
348 Seamen
    348k2 k. Who Are Seamen. Most Cited Cases                  [34] Seamen 348       2
     Fact that employee of oilfield company was given
training in offshore work and safety was insufficient to       348 Seamen
establish that he was “seaman” protected by Jones Act.            348k2 k. Who Are Seamen. Most Cited Cases
Jones Act, 46 App.U.S.C.A. § 688.                                  Seaman status does not attach to a worker, such that
                                                               he is protected by the Jones Act, simply because he is
[31] Seamen 348        2                                       necessary to the vessel's mission at the time of injury.
                                                               Jones Act, 46 App.U.S.C.A. § 688.
348 Seamen
   348k2 k. Who Are Seamen. Most Cited Cases                   [35] Seamen 348       2
    Fact that employee worked on oil platform did not
establish that he was “seaman” covered by Jones Act.           348 Seamen
Jones Act, 46 App.U.S.C.A. § 688.                                 348k2 k. Who Are Seamen. Most Cited Cases
                                                                    Seaman status under the Jones Act is not coextens-
[32] Shipping 354          1                                   ive with seaman's risks. Jones Act, 46 App.U.S.C.A. §
                                                               688.
354 Shipping
   354I Regulation in General                                  [36] Shipping 354         84(1)
       354k1 k. What Constitutes a Vessel. Most Cited
Cases                                                          354 Shipping
                                                                   354V Rights and Liabilities of Vessels and Owners
Shipping 354        84(1)                                      in General
                                                                      354k78 Torts
354 Shipping
                                                                         354k84 Injuries to Stevedores and Other Inde-
    354V Rights and Liabilities of Vessels and Owners
                                                               pendent Contractors and Their Employees
in General
                                                                              354k84(1) k. In General; Liability. Most
       354k78 Torts
                                                               Cited Cases
          354k84 Injuries to Stevedores and Other Inde-
                                                                    The standard of vessel negligence under the LHW-
pendent Contractors and Their Employees
                                                               CA section permitting recovery for such negligence is
                354k84(1) k. In General; Liability. Most
                                                               different from that of negligence under the general
Cited Cases
                                                               maritime law. Longshore and Harbor Workers' Com-
     Fixed platforms are not “vessels” for purposes of
                                                               pensation Act, § 5(b), 33 U.S.C.A. § 905(b).
the Jones Act, and workers injured on them are covered
under the LHWCA, not the Jones Act. Longshore and              [37] Shipping 354         80
Harbor Workers' Compensation Act, § 1 et seq., 33
U.S.C.A. § 901 et seq.; Jones Act, 46 App.U.S.C.A. §           354 Shipping
688.                                                               354V Rights and Liabilities of Vessels and Owners
                                                               in General
[33] Seamen 348        2                                             354k78 Torts
                                                                          354k80 k. Dangerous or Defective Condition
348 Seamen
                                                               of Vessel or Appliances. Most Cited Cases
   348k2 k. Who Are Seamen. Most Cited Cases
                                                                   The LHWCA does not permit recovery based upon




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 52 of 66
                                                                       Page 7
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




the doctrine of unseaworthiness. Longshore and Harbor          Appeals from the United States District Court for the
Workers' Compensation Act, § 5(b), 33 U.S.C.A. §               Western District of Louisiana.
905(b).
                                                               Before BENAVIDES, STEWART and CLEMENT, Cir-
[38] Federal Courts 170B         915                           cuit Judges.

170B Federal Courts
     170BVIII Courts of Appeals                                BENAVIDES, Circuit Judge:
        170BVIII(K) Scope, Standards, and Extent                    Before the Court are a number of issues stemming
            170BVIII(K)7 Waiver of Error in Appellate          from the horrific ordeal of Seth A. Becker, a young man
Court                                                          catastrophically injured while at sea on a gravel-packing
             170Bk915 k. In General. Most Cited Cases          assignment at an offshore oil rig. In a lawsuit involving
      Employer waived products liability claim against         multiple defendants and causes of action, the jury sitting
manufacturers of coflex hose and reel assembly in-             in the district court found for plaintiff, awarding him
stalled on vessel, arising from injury of employee,            damages in excess of $43 million. A number of issues,
where employer attempted to argue in brief that district       the most significant of which being whether plaintiff is
court committed reversible error by refusing to allow          a seaman under the Jones Act, 46 U.S.C. app. § 688
expert testimony regarding design defects, but employer        (2000), are before this Court on appeal. Because we de-
devoted only one paragraph to such issue, presented            termine that plaintiff is not a Jones Act seaman, it is un-
little argument, did not cite single case, and did not set     necessary to address all but one of the remaining issues.
forth applicable standard of review.                           Accordingly, the matter must be, and is, remanded to
                                                               the district court for proceedings not inconsistent with
*381 James Parkerson Roy (argued), Jamie D. Parker,            this opinion.
Domengeaux, Wright, Roy & Edwards, Lafayette, LA,
for Becker.                                                                             *382 I.
                                                                   This case concerns injuries sustained while at sea
Cliffe E. Laborde, III (argued), James D'Arensbourg            by plaintiff-appellee Seth A. Becker, a 22 year-old who
Hollier, Laborde & Neuner, Lafayette, LA, for Tidewa-          had just finished the fourth year of a five-year program
ter Inc., Twenty Grand Offshore, Inc., Tidewater Mar-          at Montana Tech University, where he was studying
ine LLC, Pental Ins. Co., Ltd. and Certain Underwriters        mechanical and petroleum engineering. For the summer
at Lloyd's Ins. Co.                                            of 1999, plaintiff accepted a full-time position working
                                                               for defendant Baker Hughes, Inc. (Baker), as he had
Robert Emmett Kerrigan, Jr. (argued), Allen F. Camp-                                            FN1
                                                               done the previous two summers.
bell, Joseph Lee McReynolds (argued), Joseph Edward
Lee, III, Deutsch, Kerrigan & Stiles, New Orleans, LA,                  FN1. Baker's business encompasses providing
for Baker Hughes Inc., Baker Oil Tools, Inc., Baker                     a broad range of oilfield services and products
Hughes Oilfield Operations, Inc. and Baker Oil Tools.                   to members of the petroleum industry.

Douglas C. Longman, Jr. (argued), George Clifford                   Plaintiff's internship began as the previous two
Plauche', Perret Doise, Lafayette, LA, for Hydra Rig.          had—plaintiff was assigned to land-based work. Spe-
                                                               cifically, Baker had planned that plaintiff engage and
Paul Joseph Politz, Lynn Louise White, Taylor, Wel-            gain knowledge in a variety of areas over the course of
lons, Politz & Duhe, New Orleans, LA, for Hydradyne            the summer, including oil pumping, screen manufactur-
Hydraulics, Inc.                                               ing for sand control, repairing fishing tools, and, appar-
                                                               ently, foremost, learning directly from Baker's team of
Randall K. Theunissen, Arthur I. Robison, Allen &
                                                               regional engineers. Of these activities, only the oil
Gooch, Lafayette, LA, for Coflexip Stena Offshore Inc.




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 53 of 66
                                                                       Page 8
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




pumping assignments implicated vessels and boating.            TIDE, Baker scheduled a twelve-hour trip to the R&B
Still, despite Baker's largely land-based plan for             Falcon/Cliffs Rig 153 (“Cliffs Rig 153”), located in the
plaintiff, a superior at Baker expressed hopefully that        Gulf of Mexico and owned by defendant Cliffs Drilling
Baker would “try to get [plaintiff] out on a boat” at          Co. and operated by defendant R&B Falcon Drilling
some point during the summer. Plaintiff spent the first        USA, Inc. (collectively*383 “Falcon”). En route to
two weeks of the internship working on land in Baker's         Cliffs Rig 153, the master of the REPUBLIC TIDE and
shop, performing relatively basic tasks such as cleaning       Tidewater employee, Captain Daniel Givens, provided
and checking equipment that had returned from the              plaintiff a minimal orientation, which took no more than
field. At a later point, plaintiff was offered the oppor-      fifteen minutes and consisted only of the general safety
tunity to observe a gravel-packing operation on a Vastar       instructions—for instance, the location of life preservers
offshore fixed platform. Before this trip, plaintiff re-       and where to abandon ship.
ceived some brief offshore safety and training informa-
tion, which included videos, personal instructions, a               Things began to go terribly wrong on the first day
written safety test, and water survival training. On the       of the mission. When the REPUBLIC TIDE arrived at
trip to the platform, plaintiff was a passenger, although      Cliffs Rig 153, the vessel was unable to drop anchor
he engaged in work for Baker upon arriving at the plat-        successfully and therefore its location had to be main-
form. As plaintiff returned from this trip, Baker determ-      tained using bow-thrusters, a fact of which plaintiff and
ined that its technology vessel, the M/V REPUBLIC              the other crew members were not notified. To begin
TIDE (“REPUBLIC TIDE”) needed two workers to re-               preparing for the gravel pack operation aboard the rig,
place two members of the requisite six-person crew who         the Baker employees, including plaintiff, unwrapped the
had served at sea for an extended period of time and           REPUBLIC TIDE's coflex hose and ran it from the RE-
were in need of time off. Baker assigned plaintiff to the      PUBLIC TIDE to Cliffs Rig 153. Although the winch
REPUBLIC TIDE, instructing him to “learn as much as            system to which the hose was connected had a compon-
you can.” Despite plaintiff's intern status, the record re-    ent manufacturer-installed emergency disconnect func-
flects that he filled one of the required six positions on     tion, the manner in which the hose had been unwrapped
the REPUBLIC TIDE, engaged in real work while on-              would prevent this mechanism from triggering. There
board, and was treated no differently than the other           was no other way to disconnect the hose quickly and the
workers on the vessel.                                         record reflects that senior employees of Baker, Tidewa-
                                                               ter, and Falcon all recognized this potential danger.
     The REPUBLIC TIDE was owned by defendant
Tidewater, Inc., but had been time-chartered by Baker               To perform work on the rig, the Baker crew was lif-
to service oil wells during gravel pack operations. Baker      ted in a basket up to the rig floor. Shortly thereafter, the
had used Tidewater's vessel as its offshore technology         REPUBLIC TIDE lost its bow-thrust and it became un-
pumping vessel since November or December 1998 and             certain how long the vessel could hold its position. As a
had specially modified it, installing tanks, generators,       result, the coflex hose needed to be disconnected from
pumps, and a high pressure winch system, which in-             the rig, and plaintiff and two other Baker employees
cluded a hydraulic power unit, reel, hydraulic piping,         were ordered to leave the rig floor and go to the main
300 feet of 6–1/2–inch steel coflex hose, and various          deck to perform this task. As plaintiff attempted to
other kinds of sophisticated equipment. This equipment,        knock the coflex hose's connections loose, the REPUB-
which was owned, operated, and maintained by Baker,            LIC TIDE began to move.
permitted Baker to use the REPUBLIC TIDE for high
                                                                    Second-in-command on the REPUBLIC TIDE,
pressure pumping operations competitive with those of
                                                               Captain Steven Lachney, was at the helm as the vessel
other vessels in the Gulf of Mexico.
                                                               drifted. With the stern moored to the rig by two six-inch
    For this particular mission on the REPUBLIC                ropes, Captain Lachney saw the six-inch rope tied to the
                                                               port stern snap. Without warning anyone, Captain Lach-




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 54 of 66
                                                                       Page 9
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




ney powered the port engine in reverse and the star-            ates then asserted a third-party demand against Baker
board engine in forward, causing the six-inch rope tied         for contractual indemnity and defense under a pre-
to the starboard stern also to snap. This, in turn, caused      existing blanket charter agreement. Baker opposed
the REPUBLIC TIDE to surge away from the rig,                   Tidewater's motion on the ground that the agreement
jerking the coflex hose tight and pinning plaintiff             did not contemplate indemnity for Tidewater's gross
against the catwalk backstop. The REPUBLIC TIDE                 negligence. Prior to the completion of discovery, the
continued to swing in the strong current and the thick          district court granted Tidewater's motion for summary
coflex hose, which had pinned plaintiff, began sawing           judgment on its indemnity claim against Baker.
through his legs to the point that they were almost en-
tirely severed from his body. After sustaining this injury           Plaintiff later amended his complaint to add as de-
and losing nine pints of blood, plaintiff, who had re-          fendants Tidewater's underwriters, Pental Insurance Co.
mained conscious throughout the ordeal, was evacuated.          Ltd.     and      certain  underwriters       at   Lloyd's
                                                                (“Underwriters”). The Underwriters cross-claimed and
     Plaintiff spent six weeks in the hospital, where he        filed a motion for summary judgment against Baker, as-
almost died. The parties stipulated that plaintiff's total      serting the same indemnity rights as Tidewater under
                                                                                                                      FN2
medical bills—including those incurred during his hos-          the blanket time charter, which motion was granted.
pital stay—amounted to $487,920.48. During the time             Baker also filed a motion for summary judgment on the
at the hospital, plaintiff's legs were amputated below the      issue of plaintiff's seaman status, which motion was
knee, leaving a great deal of scar tissue. Furthermore,         denied. Notwithstanding the district court's rulings to
plaintiff endured bone infections and will require addi-        the contrary, Baker persisted in its refusal to defend and
tional surgeries on his legs, potentially culminating with      indemnify Tidewater and the Underwriters, and contin-
above-the-knee amputations, which will exacerbate               ued to fight application of the agreement's indemnity
plaintiff's condition considerably. As a result of this ac-     clause. Thus, Tidewater defended itself at trial, during
cident, plaintiff suffers from post-traumatic stress dis-       which Baker attempted to prove Tidewater's gross neg-
order, chronic pain disorder, depression, low self-es-          ligence so as to avoid indemnification.
teem, phantom pain, stump pain, neuropsychological,
psychological, and emotional problems, short-term                       FN2. At the time the Underwriters filed their
memory loss, concentration problems, sleep disturb-                     motion, evidence had emerged in discovery
ances, and permanent brain damage due to his heavy                      that allegedly implicated Tidewater's gross
loss of blood after the accident. Most, if not all, of these            negligence. Baker opposed the Underwriters'
debilitations will persist and require ongoing treatment,               motion on the ground that Tidewater's gross
counseling,*384 and medication for the remainder of                     negligence was still a disputed issue of material
plaintiff's life, which doctors have projected will last in-            fact.
to his seventies.
                                                                     Faced with indemnifying Tidewater's liability,
     Plaintiff subsequently sued Baker pursuant to the          Baker filed third-party demands for products liability
Jones Act, 46 U.S.C. app. § 688 and, in the alternative,        against Hydra Rig and Hydradyne Hydraulics for de-
the Longshore and Harbor Workers' Compensation Act              fects in the manufacture of the coflex hose and reel as-
(LHWCA), 33 U.S.C. §§ 901–950 (2001). Plaintiff also            sembly installed on the REPUBLIC TIDE. Plaintiff then
filed suit against Tidewater, alleging a negligence claim       amended his complaint to assert similar product liability
under general maritime law and, in the alternative, un-         claims against these companies, and against Coflexip
der the LHWCA. Plaintiff also claimed that the RE-              Stena Offshore, Inc., the manufacturer of the coflex
PUBLIC TIDE was an unseaworthy vessel. Plaintiff                hose (collectively, “component manufacturers”).
further asserted negligence claims under general mari-
                                                                    In the parties' joint submission of requested jury
time law against Falcon. Tidewater and two of its affili-
                                                                charges, Baker requested an instruction on the issue of




                                © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 55 of 66
                                                                      Page 10
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




gross negligence, which was rejected. Baker also filed a          instructions regarding liability and damages reflected
motion asking the district court to reconsider the sum-           that plaintiff was a seaman and did not contemplate the
mary judgments granted to Tidewater and the Under-                alternate theories of recovery that plaintiff pled, such as
writers and urged its request for a jury charge on gross          those under the LHWCA. The jury then found that
negligence. Again, this motion was denied. Baker also             Baker was negligent under the Jones Act, the REPUB-
interposed a written objection to the line of the pro-            LIC TIDE was unseaworthy and a substantial cause of
posed verdict form allowing the jury to allot a separate          plaintiff's injuries and that Tidewater and Falcon were
amount of damages for “disfigurement and scarring,”               negligent under general maritime law. The jury assigned
which objection was ultimately denied.                            65 percent of the fault to Baker, 30 percent to Tidewa-
                                                                  ter, and 5 percent of Falcon, although the parties were
Over the course of trial, a number of other disputes              held to be jointly and severally liable. The jury found
arose, including that concerning the testimony of Jamie           further that Coflexip, Hydradyne, and Hydrarig did not
Parr, Baker's operations coordinator, as a witness for            manufacture a defective product and thus bore plaintiff
plaintiff's case-in-chief. The district court excluded            no liability. The court also concluded that these com-
testimony given by Parr as to what plaintiff's duties             panies were not liable to Baker.
would be after the trip to the Cliffs Rig 153, because
Parr admitted that he had no firsthand knowledge*385              The jury then awarded plaintiff $29 million in general
about Baker's future plans for plaintiff and also because         damages, including $7 million for disfigurement and
                                                                            FN3
Parr could not testify with certainty about the scope of          scarring.      The jury also awarded plaintiff $11 mil-
plaintiff's future duties. Also controversial was the testi-      lion in future medical and life care expenses, $3 million
mony of Captain Ronald Campana, an expert in vessel               in future lost wages, and $56,000 in past lost wages.
operations and boat-handling. The district court refused          Judgment was entered in favor of plaintiff on the jury
to allow a portion of Campana's report that Tidewater's           verdict and in favor of Tidewater and the Underwriters
senior employee, Ronald Frederick, had been “grossly              on the contractual indemnity claim. Baker timely moved
negligent in the performance of his duties,” because he           for a new trial, or remittitur, arguing that the district
determined that such a statement invaded the jury's abil-         court erred in ordering Baker to indemnify Tidewater
ity to decide an ultimate issue.                                  and the Underwriters, and that the award of damages
                                                                  was excessive and constituted an abuse of discretion.
All parties stipulated that plaintiff was an innocent vic-        These motions were denied. The judgment was later
tim and free from all fault. At the close of plaintiff's          amended to include judicial interest.
case, Baker moved for judgment as a matter of law on
the issue of plaintiff's seaman status, which motion was                   FN3. The breakdown for general damages was
denied. At the close of all evidence, the court bifurcated                 as follows:
the issues. The jury was asked first to decide whether
plaintiff was a seaman under the Jones Act. It determ-
ined that plaintiff indeed was a seaman. Once this
threshold determination was made, the remaining jury

           —past physical pain and suffering, including physical disability and impair-           $5,000,000
       ment, past loss of enjoyment of life and inconvenience on the normal pursuits and
       pleasures of life
           —future physical pain and suffering, including physical disability and impair-         $6,000,000
       ment, future loss of enjoyment of life and the effects of the injuries and inconveni-
       ence on the normal pursuits and pleasures of life
            —past mental anguish and suffering, as well as feelings of economic insecurity        $5,000,000




                                © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 56 of 66
                                                                      Page 11
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




       caused by disability
            —future mental anguish and suffering, as well as feelings of economic insecur-      $6,000,000
       ity caused by disability
           —disfigurement and scarring                                                          $7,000,000.
                                                                jured worker is a seaman under the Jones Act is a mixed
    Presented for appeal are the following five issues:         question of law and fact and it is usually inappropriate
                                                                to take the question from the jury, judgment as a matter
  (a) whether the district court erred in assigning
                                                                of law is mandated where the facts and the law will
  plaintiff seaman status under the Jones Act;
                                                                reasonably support only one conclusion. See Papai, 520
  (b) whether the district court erred in determining that      U.S. at 554, 117 S.Ct. 1535. Here, plaintiff maintains
  there was sufficient *386 evidence for finding Falcon         that the issue of his seaman status was properly given to
  5 percent liable;                                             the jury. On the other hand, Baker asserts that plaintiff,
                                                                as a matter of law, is not a seaman under the Jones Act
  (c) whether the district court erred by not remitting         and that plaintiff should be permitted to proceed only
                                                                                     FN4
  the jury's damages award;                                     under the LHWCA.

  (d) whether the district court erred by finding no fault               FN4. Plaintiff contends that Baker has waived
  in the component manufacturers' conduct; and                           the argument that he is not a seaman as a mat-
                                                                         ter of law by admitting, in response to
  (e) whether the district court erred by determining                    plaintiff's post-trial motion for judgment, that
  that Baker must indemnify Tidewater.                                   seaman status was an issue of fact for the jury
                                                                         to determine. Any such statements, however,
                             II.
                                                                         were uttered after the district court informed
                             A.
                                                                         counsel that either it would hold that plaintiff is
     [1][2] The threshold issue brought forth on this ap-
                                                                         a seaman as a matter of law or the issue would
peal is whether plaintiff is a seaman under the terms of
                                                                         go to the jury. After this choice was presented,
the Jones Act, codified at 46 U.S.C. app. § 688. Spe-
                                                                         Baker naturally argued, for the sake of that ar-
cifically, at issue is whether the district court erred by
                                                                         gument, that the issue of seaman status was a
allowing the jury to decide whether plaintiff is a sea-
                                                                         jury issue. Given this, and the fact that, with re-
man, and thus entitled to protection under the Jones Act,
                                                                         spect to this issue, Baker (i) filed a motion for
or whether he is a longshoreman and therefore under the
                                                                         summary judgment, (ii) moved for judgment as
auspices of the Longshore and Harbor Workers' Com-
                                                                         a matter of law at the close of plaintiff's case
pensation Act (LHWCA), codified at 33 U.S.C. §§ 901–
                                                                         and at the close of all the evidence, and (iii)
950. It is well-settled that the Jones Act and the LHW-
                                                                         moved for judgment notwithstanding the ver-
CA are “mutually exclusive compensation regimes.”
                                                                         dict, Baker has preserved this argument. In any
Harbor Tug and Barge Co. v. Papai, 520 U.S. 548, 553,
                                                                         event, this Court is not required to treat any
117 S.Ct. 1535, 137 L.Ed.2d 800 (1997). See also
                                                                         purported concession as binding, and we would
Chandris, Inc. v. Latsis, 515 U.S. 347, 355–56, 115
                                                                         choose not to do so here. See Pool Co. v.
S.Ct. 2172, 132 L.Ed.2d 314 (1995). That is, if plaintiff
                                                                         Cooper, 274 F.3d 173, 185 (5th Cir.2001).
satisfies the criteria for being a seaman, he is covered
by the Jones Act and not the LHWCA; if he does not, he               [6][7][8] A brief summary of the two statutes' pro-
is protected only by the LHWCA. See id. at 355–58,              visions and remedial schemes explains the litigation
115 S.Ct. 2172.                                                 posture of the parties, particularly the cross-claims of
                                                                the defendants, in this case. The Jones Act provides a
    [3][4][5] Although determination of whether an in-
                                                                cause of action permitting unlimited damages against




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 57 of 66
                                                                      Page 12
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




the negligence of a plaintiff's employer. Ferguson v.          Fritz Kopke, Inc., 417 U.S. 106, 113 n. 6, 94 S.Ct. 2174,
Moore–McCormack Lines, 352 U.S. 521, 522–23, 77                40 L.Ed.2d 694 (1974) (Under the LHWCA, “an em-
S.Ct. 457, 1 L.Ed.2d 511 (1957). Specifically, the act         ployee injured on a vessel can bring an action against
provides that “[a]ny seaman who shall suffer personal          the vessel for negligence, but the vessel's liability will
injury in the course of his employment may ... maintain        not be based upon the warranty of seaworthiness or
an action for damages at law ..., and in such action all       breach thereof.”). Thus, whether plaintiff is a seaman
statutes of the United *387 States modifying or extend-        determines which statutory scheme applies and, ulti-
ing the common-law right or remedy in cases of person-         mately, the degree and extent to which each defendant
al injury to railway employees shall apply....” 46 U.S.C.      may be liable.
app. § 688(a). A Jones Act seaman may also sue the
owner of any vessel on which he is working for a                       FN5. The LHWCA also provides for recovery
breach of the warranty of seaworthiness, regardless of                 against a worker's employer for vessel negli-
whether the vessel is owned by his employer. Parks v.                  gence if that employer is also deemed to be
Dowell Div. of Dow Chem. Corp., 712 F.2d 154,                          such. See 33 U.S.C. § 905(b); Jones & Laugh-
156–58 (5th Cir.1983). Finally, a Jones Act seaman may                 lin Steel Corp. v. Pfeifer, 462 U.S. 523, 103
also sue third parties for general maritime law negli-                 S.Ct. 2541, 76 L.Ed.2d 768 (1983).
gence. Usner v. Luckenbach Overseas Corp., 400 U.S.
                                                                       FN6. Recovery pursuant to general maritime
494, 498, 91 S.Ct. 514, 27 L.Ed.2d 562 (1971).
                                                                       law is available only from defendants outside
     [9][10][11][12][13][14] In contrast, the LHWCA                    the scope of the LHWCA's statutory scheme.
provides a cause of action for injuries sustained by a                 See 33 U.S.C. § 905(b); see also 1 Thomas J.
broad range of land-based maritime workers, excluding                  Schoenbaum, Admiralty and Maritime Law
seamen covered by the Jones Act. See Chandris, 515                     156 & n.13 (2d ed.1994) (noting that those
U.S. at 356, 115 S.Ct. 2172. First, the LHWCA                          covered by the LHWCA can only use general
provides a no-fault workers' compensation scheme                       maritime law for claims against those outside
against a worker's employer for the death or disability                the realm of the statute).
of anyone engaged in maritime employment to receive
                                                                    [15] To determine if an individual worker is a sea-
medical costs, 33 U.S.C. § 907(a), prejudgment interest,
                                                               man, and therefore entitled to the protections of the
id. § 905, and two-thirds of the worker's salary for as
                                                               Jones Act, the Supreme Court has established a two-
long as the disability persists. Id. § 908(a). Second, the
                                                               prong test. First, “an employee's duties must contribute
LHWCA permits a restrictive theory of negligence
                                                               to the function of the vessel or to the accomplishment of
against a vessel as a third party to recover damages for
                                                               its mission.” Chandris, 515 U.S. at 368, 115 S.Ct. 2172.
injuries caused by vessel negligence. 33 U.S.C. § 905(b)
                                                               Second, “a seaman must have a connection to a vessel
. See also Scindia Steam Nav. Co., Ltd. v. De Los San-
                                                               in navigation (or to an identifiable group of such ves-
tos, 451 U.S. 156, 101 S.Ct. 1614, 68 L.Ed.2d 1 (1981);
                                                               sels) that is substantial in terms of both duration and
Joseph D. Cheavens, Terminal Workers' Injury and
                                                     FN5       nature.” Id.
Death Claims, 64 Tulane L. Rev. 361, 364 (1989).
An LHWCA plaintiff may also sue nonvessel third                     [16][17] The Supreme Court in Chandris admitted
parties under general maritime law tort principles. Mel-       that satisfying the first prong of the test is relatively
erine v. Avondale Shipyards, 659 F.2d 706, 708 (5th            easy: the *388 claimant need only show that he “do[es]
Cir.1981); see also Harrison v. Flota Mercante Gran-           the ship's work.” Id. See also In re Endeavor Marine,
colombiana, S.A., 577 F.2d 968, 977 (5th Cir.1978).            Inc., 234 F.3d 287, 290 (5th Cir.2000). This threshold
FN6
      An LHWCA worker, unlike a Jones Act seaman,              requirement is “very broad,” encompassing “all who
does not have a cause of action for unseaworthiness. See       work at sea in the service of a ship.” Chandris, 515 U.S.
33 U.S.C. § 905(b). See also Cooper Stevedoring Co. v.         at 368, 115 S.Ct. 2172 (internal citations and quotation




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 58 of 66
                                                                      Page 13
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




marks omitted). Here, it is clear that plaintiff satisfies     S.Ct. 2172. The Court expounded on this status-centric
this threshold requirement: he filled one of the REPUB-        language in Papai, 520 U.S. at 555, 117 S.Ct. 1535,
LIC TIDE's crew positions and engaged in the vessel's          noting that it matters whether “the employee's duties
work while on board. Plaintiff, therefore, clears this ini-    take him to sea” and that the Jones Act's coverage is
tial Jones Act hurdle.                                         confined to “those workers who face regular exposure
                                                               to the perils of the sea.” Id. at 560, 117 S.Ct. 1535
     [18][19][20][21]    Turning    to     the   second        (emphasis added). By invoking a status-based standard,
prong—whether plaintiff has a connection to a vessel in        the Court rejected, both explicitly and by necessary im-
navigation that is substantial both in duration and            plication, a so-called “voyage test” in which “anyone
nature—it is undisputed that the REPUBLIC TIDE is a            working on board a vessel for the duration of a ‘voyage’
vessel in navigation. The only remaining question, then,       in furtherance of the vessel's mission has the necessary
is whether plaintiff's connection to the REPUBLIC              employment-related connection to qualify as a seaman.”
TIDE is substantial in duration and nature, therefore          Chandris, 515 U.S. at 358, 115 S.Ct. 2172.
warranting coverage under the Jones Act. See id. Put
differently, whether the jury erred in determining that             [22][23][24][25][26] While seaman status is not
plaintiff was a seaman turns on whether it had sufficient      simply a temporal concept, the amount of time a worker
evidence before it to conclude that plaintiff was sub-         spends aboard a vessel in navigation is helpful in de-
stantially connected to the REPUBLIC TIDE. The re-             termining if that worker has attained seaman status. See
quirement of a substantial connection to a vessel is in-       id. at 371, 115 S.Ct. 2172. This circuit has quantified
tended “to separate the sea-based maritime employees           the duration of time necessary to allow submission of
who are entitled to Jones Act protection from those            the issue of seaman status to a jury by using a 30 per-
land-based workers who have only a transitory or               cent rule of thumb. “[A]s a general rule, [a worker]
sporadic connection to a vessel in navigation.” Id. As         must show [substantial duration] by demonstrating that
the Supreme Court has noted,                                   30 percent or more of his *389 time is spent in service
                                                               of that vessel.” Roberts v. Cardinal Servs. Inc., 266
  the total circumstances of an individual's employment        F.3d 368, 375 (5th Cir.2001). The Supreme Court en-
  must be weighed to determine whether he had a suffi-         dorsed this thirty-percent rule:
  cient relation to the navigation of the vessels and the
  perils attendant thereon. The duration of the worker's         Generally, the Fifth Circuit seems to have identified
  connection to a vessel and the nature of the worker's          an appropriate rule of thumb for the ordinary case: A
  activities taken together, determine whether a mari-           worker who spends less than about 30 percent of his
  time employee is a seaman because the ultimate in-             time in the service of a vessel in navigation should
  quiry is whether the worker in question is a member            not qualify as a seaman under the Jones Act. This fig-
  of the vessel's crew or simply a land-based employee           ure of course serves as no more than a guideline es-
  who happens to be working on the vessel at a given             tablished by years of experience, and departure from
  time.                                                          it will certainly be justified in appropriate cases....
                                                                 And where undisputed facts reveal that a maritime
     Id. at 370, 115 S.Ct. 2172 (internal citations and          worker has a clearly inadequate temporal connection
quotation marks omitted). Importantly, this second               to vessels in navigation, the court may take the ques-
prong constitutes a “status-based” standard— i.e., “it is        tion from the jury by granting summary judgment or a
not the employee's particular job that is determinative          directed verdict.
[of seaman status], but the employee's connection to a
                                                                                                               FN7
vessel.” Id. at 364, 115 S.Ct. 2172. As a result, the              Chandris, 515 U.S. at 371, 115 S.Ct. 2172.       Im-
Court speculated that under this standard even a ship          portantly, the Supreme Court has articulated an excep-
repairman, who may know nothing about boating or               tion to temporal guidelines, such as our thirty-percent
sailing, could qualify as a seaman. Id. at 363–64, 115         benchmark. Id. at 372, 115 S.Ct. 2172. First, an employ-




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 59 of 66
                                                                      Page 14
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




ee who has worked for years in an employer's shoreside         erage under the Jones Act occurs only when the status
headquarters and who is then reassigned to a ship in a         of the worker changes, not simply because a worker
classic seaman's job qualifies for seaman status even if       happens to serve on a vessel before returning to work on
he is injured shortly after reassignment. Id. Second, a        land. See Chandris, 515 U.S. at 363, 115 S.Ct. 2172.
worker who has been reassigned to a land-based job             Thus, for plaintiff to qualify for the Jones Act's protec-
cannot claim seaman status based on prior service at           tions, he must have undergone a substantial change in
sea. Id. The Court summed up these two exceptions by           status, not simply serve on a boat sporadically. To give
noting that “[i]f a maritime employee receives a new           teeth to the Chandris opinion's rejection of a voyage
work assignment in which his essential duties are              *390 test, it must be held that merely serving an assign-
changed, he is entitled to have the assessment of the          ment on a vessel in navigation does not alter a worker's
substantiality of his vessel-related work made on the          status. If that were not the case, Chandris in fact would
basis of his activities in his new position.” Id. Thus, a      have established a voyage test. This conclusion is con-
worker who, over the course of his employment, has             sistent with the language of Chandris, which instructs
worked in the service of a vessel in navigation well un-       that “we do not believe that any maritime worker on a
der thirty percent of his time may still qualify for sea-      ship at sea as part of his employment is automatically a
man status if he has been reassigned to a new position         member of the crew within the meaning of the statutory
that meets this temporal requirement. See id. It is this       scheme.” Id. at 358, 115 S.Ct. 2172.
exception that plaintiff now tries to utilize, claiming
that his assignment to the REPUBLIC TIDE constituted                [28][29] Plaintiff attempts to fit himself into the
the requisite fundamental change in his status.                first Chandris exception to the Fifth Circuit's general 30
                                                               percent temporal requirement. As plaintiff bears the
         FN7. After Chandris, this circuit reaffirmed the      burden of proof for establishing seaman status, he ac-
         30–percent rule. In Nunez v. B&B Dredging,            cordingly must show that he fits within the framework
                                                                             FN8
         Inc., 288 F.3d 271, 277 (5th Cir.2002), it was        of Chandris.       He argues that although in the past he
         held that because the plaintiff spent only ap-        did not work on sea vessels at all (let alone for 30 per-
         proximately 10 percent of his work time aboard        cent of his time), he was assigned to the REPUBLIC
         a vessel in navigation, he did not qualify for        TIDE and, at that point, underwent a change in status
         seaman status as a matter of law.                     and became a seaman. If we are to be persuaded by this
                                                               theory, we would need to conclude that (i) when
     [27] This exception, however, creates a potential         plaintiff was assigned to the REPUBLIC TIDE, he was
problem: any worker who works intermittently on ves-           removed from his former position of land-based intern
sels in navigation and who sustains an injury in the           and assigned to a new, sea-based position, (ii) this reas-
course of doing so will claim seaman status if he is in-       signment permanently changed his status, and (iii) by
jured while at sea. For instance, a worker whose duties        serving in this new position, plaintiff would spend at
sometimes take him to sea could claim that the start of        least 30% of his time aboard a vessel.
each voyage establishes a reassignment to a sea-based
position and that his return to shore again shifts his                 FN8. See Barrett v. Chevron, U.S.A., Inc., 752
status back to a land-based worker. It appears that the                F.2d 129, 132 (5th Cir.1985) (“An injured per-
Supreme Court attempted to preempt such arguments by                   son claiming the benefits of the Jones Act, 46
specifically rejecting a “voyage test” of seaman status                App.U.S.C. § 688 (1976), has the burden of es-
under which a worker could “walk into and out of cov-                  tablishing seaman status.”) (citing Bernard v.
erage in the course of his regular duties.” Id. at 363, 115            Binnings Const. Co., Inc., 741 F.2d 824 (5th
S.Ct. 2172 (citing Barrett v. Chevron, U.S.A., Inc., 781               Cir.1984); Billings v. Chevron U.S.A. Inc., 618
F.2d 1067, 1075 (5th Cir.1986)). Rather, the Court's                   F.2d 1108, 1109 (5th Cir.1980)).
opinion in Chandris contemplates that a change in cov-
                                                                   On this record, the evidence is insufficient for a




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 60 of 66
                                                                      Page 15
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




finder of fact to conclude that plaintiff has proven his       a Jones Act seaman. First, evidence that plaintiff was
status at Baker fundamentally changed when he was as-          given training in offshore work and safety is not suffi-
signed to the REPUBLIC TIDE. As such, no reasonable            cient to establish seaman status. Even temporary work-
jury could conclude that, under Supreme Court and              ers have to be trained if they are expected to assist in
Fifth Circuit precedent, plaintiff is a Jones Act seaman.      the function or mission of the vessel. The idea that re-
Indeed, the record indicates that the superiors at Baker       ceiving training would create seaman status is inconsist-
had planned that plaintiff would gain exposure to a            ent with the demands of Chandris, which holds that
number of areas over the course of the summer, includ-         merely serving aboard a boat is not sufficient, in itself,
ing oil pumping, screen manufacturing for sand control,        to warrant seaman status. See Chandris, 515 U.S. at
fishing tools, and, apparently foremost, learning directly     361, 115 S.Ct. 2172. And, one could contemplate situ-
from regional engineers. The latter three of these duties,     ations in which individuals who are clearly not sea-
by plaintiff's own admission, have nothing to do with          men—such as observers or guests—aboard a vessel
being on a vessel in navigation. Furthermore, the testi-       would receive some safety training. Plaintiff's receiving
mony indicates that plaintiff's assignment to the RE-          safety training is therefore insufficient to establish sea-
PUBLIC TIDE was not a fundamental change in status,            man status.
but rather an opportunity presented to him during the
course of the internship. Indeed, plaintiff testified that          [31][32][33][34] Second, plaintiff's work on the
his superiors at Baker “would try to get me out on a           Vastar platform does not establish seaman status. Fixed
boat.” And, when the REPUBLIC TIDE needed two                  platforms are not vessels, and workers injured on them
men to replace two other workers who had been work-            are covered under the LHWCA, not the Jones Act. See,
ing for too many hours, plaintiff was assigned to fill in,     e.g., Demette v. Falcon Drilling Co., 280 F.3d 492 (5th
being told to “learn as much as you can.” Thus, the re-        Cir.2002). Third, testimony that plaintiff was as much a
cord paints a picture that plaintiff's placement onboard       part of the crew as any other person is insufficient to es-
the REPUBLIC TIDE was one of many activities to                tablish seaman status. Seaman status does not attach to
take place during the course of the summer. And, while         a worker simply because he is necessary to the vessel's
it is impossible to know with complete certainty how           mission at the time of injury. See Chandris, 515 U.S. at
events would have unfolded had plaintiff not suffered          358, 115 S.Ct. 2172. Chandris holds that temporary
this terrible accident, there is absolutely no evidence        workers are not seamen, although such workers may be
that plaintiff's assignment served to alter Baker's overall    treated as regular crew members by their peers. See id.
plan for him, which comprised land-based work almost
                                                                    Finally, the mere fact that plaintiff was ordered to
exclusively. Thus, plaintiff cannot carry his burden that
                                                               work a crew position aboard the REPUBLIC TIDE is
he was reassigned from his job as a summer engineering
                                                               not sufficient as a matter of law to establish a substan-
intern to a regular and continuous sea-based employ-
                                                               tial connection to that vessel, absent evidence that his
ment position aboard the REPUBLIC TIDE.
                                                               essential duties as an intern had changed. See Chandris,
     [30] This conclusion withstands plaintiff's argu-         515 U.S. at 358, 115 S.Ct. 2172 (rejecting a “voyage
ments to the contrary. In support*391 of plaintiff's as-       test” under which anyone working on board a vessel for
sertion that he is a seaman, plaintiff notes (1) his parti-    the duration of the voyage in furtherance of the vessel's
cipation in an offshore training and safety course, (2) a      mission would have necessary employment-related con-
one-day visit to a Vastar platform, (3) testimony that on      nection to qualify as seaman). Indeed, there is no evid-
his trip to the Falcon rig for the gravel-pack job he was      ence that plaintiff's planned activities were permanently
as much a member of the crew of the REPUBLIC TIDE              changed or that his essential duties as an intern had
as anyone else, and (4) his work aboard the vessel dur-        been altered by his assignment to the REPUBLIC TIDE.
ing the job. None of these arguments furthers plaintiff's      Plaintiff's mission aboard the REPUBLIC TIDE was in
assertion that his status had changed and that he became       fact neither planned nor permanent, despite the fact that




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 61 of 66
                                                                      Page 16
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




he served as a necessary member of the crew and en-            for seaman status. Id. Put differently, an employer's
gaged in Baker's work. Rather, plaintiff's position on the     claim that an employee “could have been assigned to
REPUBLIC TIDE arose by happenstance, to relieve two            other work locations” does not preclude that employee's
weary workers who needed rest. In light of the work            seaman status. Id. The facts here are distinguishable
plaintiff performed over his previous summer intern-           from those in Manuel. Here, plaintiff had engaged, and
ships with Baker, and the work planned for him that            was scheduled to engage, in primarily land-based activ-
summer, plaintiff's work aboard the REPUBLIC TIDE              ities during the course of his employment at Baker. In
does not constitute the kind of regular or continuous          short, plaintiff was a land-based worker who happened
commitment of his labor to the service of that vessel          to be assigned to a mission on a vessel; he was not a
that regularly exposed him to the perils of the sea within     sea-based worker, like the plaintiff in Manuel, whose
the meaning of Chandris.                                       only connection to land-based employment was the
                                                               mere possibility of being transferred to such a position
     Although it could be argued that plaintiff's merely                                        FN9
                                                               at an indeterminate future date.
being assigned to the REPUBLIC TIDE is evidence
enough from which a reasonable jury could conclude                     FN9. Also at issue in this appeal is whether the
that his status had changed, this argument fails for two               district court properly excluded as speculative
reasons. First, it is clear from the record that Baker's               some of the testimony of Jamie Parr, Baker's
plan for plaintiff may have included his being placed on               operations coordinator, specifically Parr's claim
a boat. Thus, plaintiff's assignment to the REPUBLIC                   that plaintiff's appointment to the REPUBLIC
TIDE would not necessitate that the structure of                       TIDE was temporary. In the testimony that was
plaintiff's *392 largely land-based internship had been                excluded, Parr explained that workers were as-
fundamentally altered. Second, if plaintiff's assignment               signed to the crew position filled by plaintiff
to the REPUBLIC TIDE constitutes sufficient evidence                   on a rotation system, and the practice was for
to conclude that plaintiff's status had changed, then the              them to leave the boat when the job was fin-
burden of proof would effectively be placed on defend-                 ished and return to the district office. It was
ants to prove that plaintiff would be transferred away                 possible that plaintiff might have been re-
from the vessel and that the assignment was only tem-                  assigned to another vessel later, but only if his
porary, rather than requiring plaintiff to show that his               name happened to be placed at the top of the
status had changed. Such an outcome would be incon-                    rotation schedule. Because Parr could not say
sistent with Barrett, which assigns the burden of proof                with certainty that plaintiff would not have re-
to the plaintiff. See Barrett, 752 F.2d at 132.                        turned to the vessel in the future and because
                                                                       Parr could not testify with certainty about the
     Finally, this case is clearly distinguishable from our            scope of plaintiff's future duties, the district
holding in Manuel v. P.A.W. Drilling & Well Service,                   court excluded this testimony as speculation.
Inc., 135 F.3d 344, 352 (5th Cir.1998). In Manuel, the
plaintiff was injured while working full-time on defend-                 Plaintiff and Tidewater agree with the district
ant's vessel, as he had done for the duration of his em-                 court that this testimony was speculative be-
ployment with the defendant. There, the defendant                        cause Parr could not testify with absolute
claimed that because it was possible that the plaintiff                  certainty whether plaintiff would be sent
might have been transferred to a land-based position at                  back on a vessel or not. On the other hand,
some point in the future, he could not be a Jones Act                    Baker notes that testimony about future
seaman. We rejected the defendant's argument, estab-                     events is not inadmissable unless it rises to
lishing that merely being “subject to reassignment [to a                 the level of “dubious projections into the fu-
non-seaman role or status] ... at some later time is of no               ture or questionable surmises about what
moment” and does not in itself defeat a worker's prayer                  might have happened had the facts been dif-




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 62 of 66
                                                                      Page 17
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




           ferent.” 1 McCormick on Evidence § 185. As          improper.
           the operations coordinator, responsible for
           assigning workers on the REPUBLIC TIDE,                                         B.
           Parr would appear to have the requisite                  [36][37] The next question, then, is how to proceed
           knowledge and foundation to testify about           after having determined that the district judge improp-
           Baker's scheduling practices. His testimony         erly permitted the jury to determine the issue of seaman
           was relevant and probative evidence under           status. As this matter should have proceeded as an LH-
           Rule 406, Fed.R.Evid., bearing on the total         WCA claim, rather than as a Jones Act claim, the dis-
           circumstances surrounding plaintiff's em-           trict court must reevaluate plaintiff's claims in light of
           ployment-connection to a vessel. Parr's ex-         the rights and remedies available to LHWCA plaintiffs
           cluded testimony supports the reasonable in-        with respect to both liability and damages, keeping in
           ference that plaintiff's assignment to the RE-      mind the appropriate theories of recovery and the ap-
                                                                                                  FN10
           PUBLIC TIDE, and to Baker's fleet gener-            plicable standards of negligence.          It is, therefore,
           ally, was only temporary, and not substantial       necessary to vacate the findings of liability against
           in duration, regular, or continuous. Accord-        Baker, Tidewater, and Falcon, as the jury's instructions
           ingly, it would appear that the district court      on liability and damages did not contemplate plaintiff's
           should not have excluded such testimony.            status as an LHWCA worker rather than a Jones Act
                                                               seaman. Accordingly, this matter must be remanded for
           We need not find error here, however, be-           proceedings not inconsistent with this opinion.
           cause Parr's excluded testimony tends to
           prove that plaintiff is not a seaman. And, as                FN10. For instance, the LHWCA provides re-
           we have concluded that plaintiff is indeed not               covery pursuant to a no-fault compensation
           a seaman, such excluded testimony becomes                    scheme against a plaintiff's employer. See 33
           superfluous.                                                 U.S.C. § 901 et seq. Furthermore, as Section
                                                                        905(b) of the LHWCA permits recovery for
     [35] Thus, circuit precedent and the Supreme                       vessel negligence, the district court will have to
Court's holdings in Chandris and *393 Papai require                     determine which defendant—or defend-
the determination that plaintiff is not a seaman as a mat-              ants—may be liable under this theory of negli-
ter of law under the Jones Act. A reasoned review of the                gence, rather than under other negligence doc-
evidence compels only the conclusion that plaintiff was                 trines such as that of general maritime law.
a land-based worker who had been assigned to a mis-                     Note that the standard of vessel negligence pur-
sion on a vessel at sea. And, merely serving on such a                  suant to Section 905(b) is different from that of
voyage does not warrant Jones Act protection. Reaching                  negligence under the general maritime law. See
this conclusion does not mean that plaintiff was not a                  Pimental v. LTD Canadian Pacific Bulk, 965
valued employee who engaged in difficult and, unfortu-                  F.2d 13, 15 (5th Cir.1992); Melerine v.
nately, dangerous work. While it is all too apparent that               Avondale Shipyards, Inc., 659 F.2d 706, 708
plaintiff was exposed to the risks of working at sea, our               (5th Cir.1981). Moreover, the LHWCA does
precedent nevertheless instructs that “[s]eaman status is               not permit recovery based upon the doctrine of
not coextensive with seaman's risks.” Chandris, 515                     unseaworthiness. See 33 U.S.C. § 905(b). See
U.S. at 361, 115 S.Ct. 2172 (citing Easley v. Southern                  also Cooper Stevedoring Co. v. Fritz Kopke,
Shipbuilding Corp., 965 F.2d 1, 4–5 (5th Cir.1992)).                    Inc., 417 U.S. 106, 113 n. 6, 94 S.Ct. 2174, 40
Accordingly, the district court erred in allowing the is-               L.Ed.2d 694 (1974).
sue of plaintiff's seaman status under the Jones Act go
to the jury. Rather, because plaintiff is not a seaman un-                                C.
der the Jones Act, the jury's finding to the contrary was          [38] As the issue of liability and damages with re-
                                                               spect to Baker, Tidewater, and Falcon should be vacated




                               © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
      Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 63 of 66
                                                                      Page 18
335 F.3d 376, 2003 A.M.C. 1653
(Cite as: 335 F.3d 376)




and remanded to the district court, only one of the re-                  U.S.C. § 905(b)-(c), given that we have vacated
                                                       FN11
maining four issues on appeal need be addressed,                         the defendants' liability and it has yet to be de-
namely, whether the component manufacturers are li-                      termined which defendant, or defendants, may
able to Baker. As an *394 initial matter, it appears that                be liable to this plaintiff under the terms of the
Baker has waived any such claim against these parties.                   LHWCA. Also yet to be determined is whether
In its brief, Baker attempts to argue that the district                  the evidence will show proof of gross negli-
court committed reversible error by refusing to allow                    gence by any of the defendants. Finally, the
expert testimony regarding design defects. Baker's brief,                question of whether damages should be remit-
however, devotes only one paragraph to the issue and                     ted is rendered moot as the liability of Baker,
presents little, if any, in the way of argument. Baker as-               Tidewater, and Falcon has been vacated.
serts only that the district court's refusal to allow its ex-
pert to testify regarding alleged design defects in the                                     III.
reel and hose assembly was “reversible error,” de-                    Thus, we reverse the district court's decision allow-
priving Baker of “substantial rights as a litigant.” Baker       ing the jury to determine whether plaintiff is a Jones
does not cite a single case in support of its position nor       Act seaman and hold that plaintiff is not a seaman as a
does it set forth the applicable standard of review.             matter of law. Accordingly, we vacate the findings of li-
Baker's brief further provides no discussion explaining          ability and damages with respect to Baker, Tidewater,
why the district court's determination constitutes revers-       and Falcon and remand this case to the district court so
ible error. Furthermore, Baker does not clarify its claim        that the matter may proceed as an LHWCA case in a
                                                                                                              FN12
that it was “deprived of substantial rights as a litigant,”      manner not inconsistent with this opinion.         We af-
leaving the component manufacturers—and this                     firm the determination that the component manufactur-
Court—to speculate about the nature of the issues to be          ers are not liable to Baker. These holdings render moot
addressed. It appears clear that this argument has not           all other remaining issues on appeal.
been adequately raised and, as such, is deemed waived.
                                                                         FN12. Accordingly, the motion filed by Falcon
See Hidden Oaks Ltd. v. City of Austin, 138 F.3d 1036,
                                                                         seeking permission to file a supplemental brief
1045 (5th Cir.1998); Melton v. Teachers Insurance and
                                                                         that pertains to damages issues is dismissed as
Annuity Ass'n of America, 114 F.3d 557, 561 (5th
                                                                         moot.
Cir.1997).

         FN11. The other three issues on appeal need             C.A.5 (La.),2003.
         not be addressed for the following reasons.             Becker v. Tidewater, Inc.
         First, the issue whether the jury had sufficient        335 F.3d 376, 2003 A.M.C. 1653
         evidence to conclude that Falcon was negligent
         under general maritime law and therefore 5              END OF DOCUMENT
         percent accountable for plaintiff's injuries is
         now moot because the determination that
         plaintiff is a seaman was erroneous. Accord-
         ingly, Falcon, the owner of Cliffs Rig 153, may
         have to be pursued under the terms of Section
         905(b) of the LHWCA for vessel negligence,
         not under general maritime law. Second, now
         that it is established that the LHWCA governs,
         the question whether Baker must indemnify
         Tidewater must be considered anew, consistent
         with the statutory scheme articulated in 33




                                 © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
 Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 64 of 66

                                                                                                         Page 1
405 F.3d 257, 2005 A.M.C. 1113, 61 Fed.R.Serv.3d 432
(Cite as: 405 F.3d 257)




                                                             170BVIII Courts of Appeals
                                                                 170BVIII(K) Scope, Standards, and Extent
          United States Court of Appeals,                           170BVIII(K)4 Discretion of Lower Court
                    Fifth Circuit.                                        170Bk817 k. Parties; Pleading. Most
       Seth A. BECKER, Plaintiff-Appellee,                Cited Cases
                          v.                                  District court's order, granting employee leave
      TIDEWATER, INC., et al., Defendants.                to amend his complaint and reassert declaration
  Tidewater, Inc.; Cliffs Drilling Co.; R&B Falcon        identifying his claim as admiralty or maritime claim
 Drilling USA, Inc.; Twenty Grand Offshore, Inc.;         and requesting bench trial, would be reviewed for
Tidewater Marine LLC; Pental Insurance Company,           abuse of discretion. Fed.Rules Civ.Proc.Rules 9(h),
Ltd.; Certain Underwriters at Lloyds Insurance Co.;       39, 28 U.S.C.A.
 Subscribing to Risk No. LE010620O, Defendants-
                     Appellees,                           [2] Jury 230       14(1.4)
                          v.
 Baker Hughes, Inc.; Baker Oil Tools, Inc., a divi-       230 Jury
sion of Baker Hughes Oilfield Operations, Inc., De-           230II Right to Trial by Jury
                fendants-Appellants.                             230k14 Particular Actions and Proceedings
                                                                       230k14(1.4) k. Employment and Labor
                 No. 04-30243.                            Relations Cases. Most Cited Cases
                 March 30, 2005.                               Offshore oil well operator had no right to jury
                                                          trial on employee's LHWCA and negligence claims,
Background: Injured employee sued employer un-            after Court of Appeals had reversed jury verdict in
der Jones Act, and, in the alternative, under Long-       favor of employee on his Jones Act claim and re-
shore and Harbor Workers' Compensation Act                manded for further consideration of his LHWCA
(LHWCA) and for negligence. Following reversal            and negligence claims, inasmuch as post-remand
of jury verdict in favor of employee on Jones Act         LHWCA and negligence claims did not alter histor-
claims, and remand, 335 F.3d 376, the United              ical exclusion of jury trials for admiralty suits, and
States District Court for the Western District of         employee never asserted any basis of jurisdiction
Louisiana, Richard T. Haik, Sr., Chief Judge, gran-       that would provide employer with Seventh Amend-
ted employee leave to amend complaint and reas-           ment right to jury trial. U.S.C.A. Const.Amend. 7;
sert declaration asking for bench trial. Employer         Fed.Rules Civ.Proc.Rule 38(e), 28 U.S.C.A.
appealed.
                                                          [3] Jury 230       14(1.4)
Holding: The Court of Appeals, Edith Brown
Clement, Circuit Judge, held that employer had no         230 Jury
right to jury trial on employee's LHWCA and negli-           230II Right to Trial by Jury
gence claims.                                                    230k14 Particular Actions and Proceedings
                                                                       230k14(1.4) k. Employment and Labor
    Affirmed.                                             Relations Cases. Most Cited Cases
                                                              District court did not abuse its discretion in re-
                 West Headnotes
                                                          fusing to provide offshore oil well operator with
[1] Federal Courts 170B       817                         jury trial on employee's LHWCA and negligence
                                                          claims, after Court of Appeals had reversed jury
170B Federal Courts                                       verdict in favor of employee on his Jones Act claim




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 65 ofPage
                                                                        66 2
405 F.3d 257, 2005 A.M.C. 1113, 61 Fed.R.Serv.3d 432
(Cite as: 405 F.3d 257)




and remanded for further consideration of his LH-         Appeal from the United States District Court for the
WCA and negligence claims, given that Court of            Western District of Louisiana.
Appeals had not required jury trial in remand order,
and none of employee's available claims post-re-          Before JONES, WIENER, and CLEMENT, Circuit
mand provided such right. U.S.C.A. Const.Amend.           Judges.
7; Fed.Rules Civ.Proc.Rule 38(e), 28 U.S.C.A.
                                                          EDITH BROWN CLEMENT, Circuit Judge:
[4] Federal Courts 170B        612.1
                                                               [1] As a result of his horrific injuries suffered
170B Federal Courts                                       aboard the rig M/V REPUBLIC TIDE, plaintiff-ap-
    170BVIII Courts of Appeals                            pellee Seth Becker filed suit against defendant-ap-
       170BVIII(D) Presentation and Reservation in        pellee Tidewater, Inc., the owner of the rig, defend-
Lower Court of Grounds of Review                          ant-appellant Baker Hughes, Inc. (“Baker
             170BVIII(D)1 Issues and Questions in         Hughes”), Becker's employer, and defendant-ap-
Lower Court                                               pellee R&B Falcon Drilling USA, the rig's operator.
             170Bk612 Nature or Subject-Matter of         See Becker v. Tidewater, Inc., 335 F.3d 376, 381-86
Issues or Questions                                       (5th Cir.2003) (“Becker I”) (recounting the factual
                    170Bk612.1 k. In General. Most        and procedural history). Becker asserted claims un-
Cited Cases                                               der the Jones Act, under which Becker asked for a
     Court of Appeals had no power to review em-          jury trial. Becker also brought, in the alternative,
ployer's argument that district judge displayed pre-      claims under the Longshore Harbor Workers' Com-
judice in favor of employee, and that LHWCA case          pensation Act (“LHWCA”), as well as negligence
thus should be transferred to another district judge      claims under general maritime law. The jury found
in event of bench trial, where employee failed to         that Becker was a seaman and subsequently reached
raise such argument below. Longshore and Harbor           a verdict in his favor for $43 million in damages for
Workers' Compensation Act, § 1 et seq., 33                violation of the Jones Act. On appeal, a panel of
U.S.C.A. § 901 et seq.; 28 U.S.C.A. § 144.                this Circuit ruled that Becker was not a seaman and
                                                          thus could have no remedy under the Jones Act, re-
*258 James Parkerson Roy (argued), Domengeaux,            versing and remanding for further proceedings re-
Wright, Roy & Edwards, Lafayette, LA, for Becker.         garding only the LHWCA and negligence claims.
                                                          Id. at 393. On remand, the district court granted
*259 Cliffe E. Laborde, III (argued), James               Becker leave to amend his complaint and “reassert”
D'Arensbourg Hollier, Laborde & Neuner, Lafay-            a Rule 9(h) declaration, under which he asked for a
ette, LA, for Tidewater, Inc., Twenty Grand Off-          bench trial for his remaining claims. Baker Hughes
shore, Inc., Tidewater Marine LLC, Pental Ins. Co.        objects, and has filed this interlocutory appeal. We
and Certain Underwriters at Lloyds.                       review the district court's order for abuse of discre-
                                                          tion. See Fed.R.Civ.P. 39; Hernandez v. Hill Coun-
Delos Edward Flint, Jr., Fowler, Rodriguez &
                                                          try Tel. Co-op., Inc., 849 F.2d 139, 144-45 (5th
Chalos, New Orleans, LA, for Cliffs Drilling Co.
                                                          Cir.1988).
and R&B Falcon Drilling USA, Inc.
                                                               [2] Baker Hughes has no right to a jury trial.
Edwin G. Preis, Jr., Jennifer Elmer Michel
                                                          Becker's post-Becker I LHWCA and negligence
(argued), Tammy B. Scelfo, Preis, Kraft & Roy,
                                                          claims do not alter the historical exclusion of jury
Lafayette, LA, for Baker Hughes, Inc. and Baker
                                                          trials for admiralty suits. Importantly, Becker never
Oil Tools, Inc.
                                                          asserted diversity jurisdiction, or any other basis of
                                                          jurisdiction which would provide Baker Hughes a




                          © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
  Case 2:10-md-02179-CJB-DPC Document 4457-60 Filed 11/01/11 Page 66 ofPage
                                                                        66 3
405 F.3d 257, 2005 A.M.C. 1113, 61 Fed.R.Serv.3d 432
(Cite as: 405 F.3d 257)




right to a jury trial under the Seventh Amendment.         ently reasonable to expect such an occurrence-had
See Rachal v. Ingram Corp., 795 F.2d 1210, 1216            the jury found Becker to be a longshoreman rather
(5th Cir.1986). Despite Baker Hughes's rhetoric            than a seaman, the judge would have been the fact
that because factual diversity exists the right to a       finder in a non-jury trial. This role would have been
jury trial vests in Baker Hughes, it is well settled       inappropriate given his discrete knowledge of the
that the plaintiff is master of his complaint, and         parties' evaluation of their respective financial posi-
Becker has the exclusive power to invoke diversity         tions on settlement. After that possibility material-
jurisdiction. See, e.g., Allen v. R&H Oil & Gas Co.,       ized, he should have been recused, either by offer-
63 F.3d 1326, 1335 (5th Cir.1995). By failing to do        ing to do so sua sponte or by granting a recusal mo-
so, the possible factual existence of diversity            tion filed by a party. See, e.g., Woodson v. Surgitek,
between parties does not give rise to the legal exist-     Inc., 57 F.3d 1406, 1413 n. 10 (5th Cir.1995)
ence of diversity jurisdiction. Thus, Baker Hughes         (noting that the district court judge recused himself
has no constitutionally or statutorily based right to      in similar circumstances); Tucker by Tucker v. Cal-
a jury trial, and Baker Hughes cannot use the Fed-         loway County Bd. of Educ., 136 F.3d 495, 503 (6th
eral Rules to create such a right where one does not       Cir.1998) (same). However, we have no power to
already exist. FED.R.CIV.P. 38(e) (“These rules            review Baker Hughes's argument because it failed
shall not be construed to create a right to trial by       to raise the issue below, let alone meet the stringent
jury of the issues in an admiralty or maritime             procedural requirements set forth in 28 U.S.C. §
claim.”).                                                  144. See also Horton v. Bank One, N.A., 387 F.3d
                                                           426, 435 (5th Cir.2004) (“Arguments not raised in
     *260 [3] In Becker I, this Court provided for         the district court cannot be asserted for the first
the scope of the proceedings on remand:                    time on appeal.”) (quoting In re Liljeberg Enters.,
                                                           Inc., 304 F.3d 410, 427 n. 29 (5th Cir.2002)).
  [T]he district court must reevaluate plaintiff's
  claims in light of the rights and remedies avail-                 FN1. See Hearing Transcripts,             No.
  able to LHWCA plaintiffs with respect to both li-                 99-CV-1198 (October 11, 2001).
  ability and damages.
                                                              The decision of the district court is AF-
    335 F.3d at 393. Simply put, this Court did not        FIRMED.
require a jury trial for Becker II, and the district
court did not abuse its discretion in refusing to          C.A.5 (La.),2005.
provide one where none of Becker's available               Becker v. Tidewater, Inc.
claims post-Becker I provided such a right.                405 F.3d 257, 2005 A.M.C. 1113, 61 Fed.R.Serv.3d
                                                           432
     [4] Finally, Baker Hughes conclusionally al-
leges, for the first time on appeal, that the district     END OF DOCUMENT
judge displayed prejudice in favor of Becker, ur-
ging that if a bench trial is to be held, the case
should be transferred to another district judge. Ap-
parently at the request of the parties, the district
judge appears to have mediated the settlement con-
         FN1
ference,      in the course of which he would have
gained significant knowledge of the parties' settle-
ment positions. When the settlement negotiations
failed, the judge was faced with the possibility of
also becoming the trier of fact. Indeed, it was emin-




                           © 2011 Thomson Reuters. No Claim to Orig. US Gov. Works.
